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     Figure 75. A e at first use and duration of use: harm/benefit ratio of OC use on incidence


                                          Harm/Benefit: Incidence
                                0.8
                        11'1
                        ~
                        Qj
                           0.7
                         ~ 0.6                                                         • 15
                        co
                        .S      0.5                                                   • 20
                        .
                        11'1
                        E 0.4
                        Ill
                        :c 0.3
                                                                                       .6. 25
                       ....0                                                           X 30
                        0       0.2
                       ·p
                        t;_ 0.1                                                        ::t: 35
                                  0
                                                                                       e 40
                                      0    2        4            6        8      10
                                                Duration of Use (years)

     OC = oral contraceptive


     Figure 76. A e at first use and duration of use: harm/benefit ratio of OC use on mortality


                                          Harm/Benefit: Mortality
                                0.5
                       ~
                        11'1


                       ~ 0.4
                        Qj
                                           •                                            • 15
                       co
                       .S11'1                                                           • 20
                       ~
                        E
                                0.3

                                0.2
                                                          •                             .6. 25
                       ....
                        0                                                               X 30
                       ._g      0.1
                        Ill                                                             ::t:: 35
                       a::
                                  0 --- - - - - - - - - - - - - - - - - - -             e 40
                                      0    2        4            6        8      10
                                                Duration of Use (years)



     OC = oral contraceptive


     Harm/Benefit Acceptability
          To assess the impact of uncertainty of the estimates of the relative risks associated with QC
     use on the tradeoffs between benefits and harms, we ran a series of simulations where the value
     for each relative risk was drawn from the distributions described in Table 60 (200 draws from
     these distributions, with 10,000 "subjects" per draw, for a total of 2 million simulations).This
     method allows us to generate estimates of the effect of uncertainty in the parameter estimates on
     the uncertainty in the output. For example, Figure 77 compares the distribution of the difference
     in life expectancy in the general population model between modeling QC effects as ever versus


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     never, versus dependent on duration of exposure for ovarian cancer and time since last use for
     breast cancer. Consistent with the results presented earlier, modeling QC effects based on time
     results in a greater mean gain in life expectancy. The probabilistic analysis shows this clearly,
     and also shows the distribution of outcomes, including the small proportion of simulations using
     ever versus never use which results in net loss of life expectancy.

     Figure 77. Distribution of net life expectancy difference due to OC effectsa


                                         Distribution of Life Expectancy
                                          Difference due to OC Effects
                                30
                         "'C
                         0      25
                        ·.i::
                         RI
                        :i 20
                        E
                        vi 15
                        ....0                                                                      • Duratio n
                        ....C   10
                         Qj
                         ...u    5
                                                                                                   • Ever Never
                         Qj
                        a..
                                 0
                                     -2 -1   0   1   2   3   4   5   6     7   8   9 10 11 12
                                      Diffe rence in Life Expectancy compared to No OC Effect s (Weeks)



     OC = oral contraceptive
     aBased on OC use in the general population for 100 simulations, where OC effects are either time-dependent for breast and
     ovarian cancer, or modeled simply as ever versus never.

         For the analysis of net benefits, we present the results as acceptability curves-the y-axis
     represents the proportion of simulations where a given scenario was optimal at a given
     "willingness-to-pay" (WTP) in terms of harms incurred versus benefits gained; in other words,
     the sum of all adverse outcomes divided by the sum of all desired outcomes. The point where the
     lines cross represents the point where half of the simulations favor QC use and half favor nonuse.
     At a WTP threshold below the point on the x-axis where the lines cross, the majority of
     simulations favor not using QCs, and, above that point, QC use is favored. The ratio of harms to
     benefits ranges from 0 (no excess harms) to I (harms equal to benefits).
         Figures 78 and 79 show the curves for incidence cases and mortality, respectively. The
     acceptability threshold where QC use is favored is lower for mortality then for incidence, but for
     both it is below 0.5. For mortality, the model is based on duration of use results in a slightly,
     more favorable threshold for QC use: the proportion of simulations where a given acceptability
     threshold was reached was consistently higher because of the higher estimate of ovarian cancers
     prevented and the lower number of excess breast cancers.




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                                                                                                                                   00803538
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                                       Harm/Benefit Acceptabil ity: Incidence
                                100%
                                90%
                        "'C     80%
                        0
                       ·.i::
                         ra     70%
                       :i
                        E 60%                                                      -     -   OC : Ever/N ever
                       vi
                       ....0    50%
                                                                                   - -       No OC: Ever/N ever
                        ....C   40%

                        .
                        Qj
                        u
                        Qj
                        C.
                                30%
                                20%
                                                                                   -         oc: Durati on
                                10%                                                - - No OC: Durati on
                                 0%
                                       0.0    0.2    0.4     0.6     0.8     1.0
                                         Acceptable Rati o of Harm to Benefi t



     OC = oral contraceptive


     Figure 79. Harm/benefit acceptability for mortality, modeled as ever/never use or duration of use

                                       Harm/Benefit Acceptability: Mortality
                                100%
                                90%
                        "'C     80%
                        0
                       ·.i::
                         ra     70%
                       :i
                        E 60%                                                      -     -   OC: Ever/N ever
                       vi
                       ....0    50%
                                                                                   - -       No OC : Ever/N ever
                        ....C   40%

                        .
                        Qj
                        u
                        Qj
                        C.
                                30%
                                20%
                                                                                   -         oc: Durati on
                                10%                                                - - N o OC : Durati on
                                 0%
                                       0.0    0.2    0.4     0.6     0.8     1.0
                                         Acceptable Rati o of Harm t o Benefi t

     OC = oral contraceptive




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         We then explored the relative impact of different components of harm and benefit on
     acceptability by systematically removing different conditions from the numerator or denominator
     of the harm/benefit ratio and comparing the proportion of simulations where OC use was favored
     at a given WTP threshold. For ease of visualization, we present only the proportion of
     simulations where OC use was acceptable for each combination of harms and benefits at a given
     WTP threshold; implicitly, the proportion of simulations where OC use was not acceptable at
     that threshold is 100 percent minus the value for OC use.
         In these figures, we sequentially remove groups of harms from the numerator, leaving all
     benefits, then sequentially remove benefits, leaving all harms. The lines represent the following
     outcomes:
         • Harms (incident cases and mortality)
                 o   "All combined": breast and cervical cancer, DVT, PE, stroke, MI
                 o   "No vascular events": breast and cervical cancer only
                 o   "No cancers": DVT, PE, stroke, MI only
         • Benefits (prevented incident cases and deaths)
                 o   "All combined": ovarian, colorectal, and endometrial cancers
                 o   "Ovarian and colorectal": ovarian and colorectal cancers only
                 o   "Ovarian only": ovarian cancer only
         Removing vascular events from the harms results in a shift to the left of the acceptability
     curve for incidence. An even greater shift is seen with removal of breast cancer and cervical
     cancer (Figure 80). Given the very low absolute increase in cervical cancer incidence associated
     with OCs, this effect is almost entirely due to breast cancer. This is due to several factors. First,
     although the relative risk of breast cancer attributable to OC use is relatively small, the absolute
     number of cases is larger than for vascular events. Second, the degree of uncertainty around the
     risk estimate for breast cancer is larger than it is for vascular events, with a lower bound very
     close to 1, so that removing the effect of this uncertainty leads to a greater number of simulations
     favoring OCs at a given threshold. Conversely, removing colorectal and endometrial cancer
     resulted in a marked shift of the curve to the right-40 percent of the simulations resulted in a
     harm/benefit ratio (number of harms incurred per case of ovarian cancer prevented) of 1. 0
     (Figure 81 ). This suggests that it is more likely that, for OC use solely for ovarian cancer
     prevention, the number of harms in terms of incident cases is likely to exceed the benefit (of
     course, the case might be different if patient preferences for the specific harms and benefits were
     included). Adding colorectal cancer improved the threshold somewhat, but the major effect was
     seen by replacing endometrial cancer into the equation. These results are consistent with the
     tables presented above, where the number needed to prevent one endometrial cancer case is
     substantially lower than for colorectal or ovarian cancer.




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     Figure 80. Effect of specific harms on harm/benefit acceptability for incidence (duration model
     only)

                                         Harm/Benefit Acceptability for Incidence:
                                             Contribution of Different Harms
                                   100%
                                    90%
                   "'C
                   0
                  ·p                80%
                   ra               70%
                  :i
                   E                60%
                  ;;;;
                  ....0             50%
                  ....C             40%
                                    30%
                   ...ucucu         20%
                  c..
                                    10%
                                     0%
                                          0 .0                0.2             0.4           0 .6                0.8          1.0
                                                                     Acceptable Ratio of Harm to Benefit




     Figure 81. Effect of specific benefits on harm/benefit acceptability for incidence (duration model
     only)

                                         Harm/Benefit Acceptability for Incidence:
                                            Contribution of Different Benefits
                                       100%
                               "'C                  ••••••Ovarian only
                               0



                                                                                                                      --
                              ·p       80%
                              .!!!                  -   -   Ovarian + Co lorectal
                               ::::,
                               E 60%
                              ;;;;                                                                   _,,,,,
                              ....0
                                                                                        -... ...--.............
                                                    - All co mbined
                              ....C    40%
                              cu
                              u
                               ...
                              cu       20%
                              c..
                                        0%
                                              0.0             0.2            0.4          0.6             0.8          1.0
                                                                    Acceptable Ratio of Harm to Benefit



         Results for harms related to mortality were qualitatively similar, but showed an interesting
     pattern (Figure 82). Removing vascular events actually resulted in decrease in the acceptability
     threshold at WTO values below 0.1. This is due to the consistent model prediction of increased
     incidence but decreased mortality from stroke in OC users discussed above: because strokes are
     included as harms, the net harm in terms of lifetime deaths is smaller when vascular events are
     included then when they are not. As discussed, these results are due to modeled changes in age-
     specific incidence leading to changes in age-specific mortality. Taken at face value, these results
     raise an important point about the limitations of simply counting harms and benefits-clearly,


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     the potential morbidity from a stroke at a young age is substantial, even if mortality is lower, and
     this needs to be taken into account by decisionmakers at every level, whether through an
     informal weighting process or formal methods such as quality-adjusted life expectancy. On the
     benefit side, the pattern was similar to that seen for incident benefits, although the relative
     contribution of ovarian cancer alone was much greater (Figure 83).

     Figure 82. Effect of specific harms on harm/benefit acceptability for mortality (duration model
     only)

                                  Harm/Benefit Acceptability for Mortality:
                          -c          Contribution of Different Harms
                          ...0
                          Cl.I




                          -
                                 100%
                          >
                          IU      90%
                          I ll    80%
                          u
                          0       70%                               ••••••Vasc ul ar Event s Only
                                  60%
                                  50%                               -   -   Cancers Only
                                  40%
                                                                    - A l l co mbi ned
                                  30%
                                  20%
                                  10%
                                   0%
                                         0.0    0.2          0.4            0.6             0.8            1.0

                                               Acceptable Ratio of Harm to Benefit



     Figure 83. Effect of specific benefits on harm/benefit acceptability for mortality (duration model
     only)

                                  Harm/Benefit Acceptability for Mortality:
                                     Contribution of Different Benefits

                   "'C
                           100%
                            90%                                ......             .........
                   0        80%
                  ·p
                   Ill
                            70%
                  :i
                  E         60%                                              ••••••Ovari an Only
                  vi
                  ....0
                  ...
                   C
                   Qj
                            50%
                            40%
                            30%
                                                                             -      -   Ovari an + Co lorecta l

                   ...u
                   Qj       20%                                              - All co mbined
                  c..       10%
                             0%
                                   0.0         0.2            0.4                 0.6             0.8             1.0
                                                      Acceptable Ratio of Harm to Benefit




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     Discussion
         Previous sections of this report have provided discussion of the findings, limitations, and
     clinical and public health implications of the detailed analyses of QC use and ovarian cancer
     (Section 2), QC use and other cancers (Section 3), and QC use and vascular events (Section 4).
     In Section 5, we used mathematical modeling methods to integrate the results of the systematic
     reviews and meta-analyses of these individual outcomes to better understand the combined
     effects. In Section 5, we also:
         • Summarize the findings of the evidence synthesis
         • Compare the results with previous studies
         • Discuss the uncertainties, limitations, and subsequent future research needs
         • Discuss the clinical and public health implications of the findings, given the uncertainties
              and limitations

     Summary of the Evidence Synthesis
          The following are key points from our systematic review and meta-analyses:
          • The incidences of ovarian cancer, colorectal cancer, and endometrial cancer were
             significantly reduced among women who used QCs, with the magnitude of reduction in
             ovarian cancer risk significantly associated with duration of use (risk declined with
             longer duration of use, with no evidence of a threshold effect); endometrial cancer risk
             was also reduced by longer duration of use. The meta-analysis also found a statistically
             significant effect of time since last use (protective effect decreased as time since last use
             increased) but not for other characteristics of QC use including ages at use or
             formulation.
          • The reduction in ovarian cancer risk was consistent in different subgroups of women,
             including BRCAI and BRCA2 carriers.
          • The incidence of breast cancer was significantly increased among women who used QCs,
             with the magnitude of the increase significantly associated with time since last use (risk
             decreased with increasing time since last use). The meta-analyses did not find statistically
             significant effects of other characteristics of QC use including ages at use or formulation.
          • The increase in breast cancer risk was consistent in different subgroups of women,
             including BRCAI and BRCA2 carriers.
          • The incidence of cervical cancer was increased among women who used QCs, although
             this result was not statistically significant in the meta-analysis.
          • The incidences ofDVT (including PE) and ischemic stroke were significantly increased
             among current users of QCs. Risk was associated with increasing estrogen dose, but the
             meta-analyses did not identify a significant effect of progestin formulation.
          • The incidence of MI was increased among women who use QCs, although the results
             were not statistically significant in the meta-analysis. Again, risk was associated with
             increasing estrogen dose and, potentially, progestin formulation.
          • All of these results are derived from observational studies and may be affected by
             unmeasured or uncorrected biases.

     Modeling Analysis
          Key points from our modeling analysis are:




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          •   Using the point estimates for the odds ratios from the meta-analyses (including MI and
              cervical cancer, where confidence intervals included 1) and adjusting for the age-specific
              prevalence of QC use, we found the following differences in peak incidence between ever
              users and never users (for cancers) and current users versus nonusers (for vascular
              events):
          •   There was a relatively large absolute increase (maximum increase in annual age-specific
              incidence 22 per 100,000) in breast cancer risk despite a small relative risk.
          •   The largest reduction in incidence was in endometrial cancer (maximum decrease in
              annual age-specific incidence of 55 per 100,000), followed by colorectal cancer
              (maximum decrease in annual age-specific incidence of 50 per 100,000), and finally
              ovarian cancer (maximum decrease in annual age-specific incidence of 20 per 100,000),
              reflecting their relative frequency in women.
          •   By far the largest absolute increase for any harm was for venous thromboembolism,
              particularly deep venous thrombosis (maximum increase in annual age-specific incidence
              of 120 per 100,000); maximum increases in the annual age-specific incidence of PE,
              stroke, and acute MI were all 30 per 100,000 or less.
          •   Using a simulation model and these point estimates as well as probabilistic sampling of
              the age-specific incidence of relevant other events (including hysterectomy,
              oophorectomy, tubal ligation, and other-cause mortality) to model estimated patterns of
              QC use in terms of age of starting and duration of use in the general population, we found
              that:
                   o  The net effect of QC use on these outcomes was to extend mean life expectancy
                      by approximately 1 month, which is consistent with other cancer prevention
                              . m
                      strategies  . t he genera1 popu1at10n.
                                                         . 376
                   o  Modeling the association between QC use and ovarian cancer as a function of
                      duration of use, and between QC use and breast cancer as a function of time since
                      last use, resulted in slightly greater gains in life expectancy compared with
                      modeling these results as a function of ever versus never use, due to a greater
                      reduction in ovarian cancer incidence combined with a lower increase in breast
                      cancer incidence when compared with a model where QC effects were solely
                      based on ever versus never use.
                   o  Incorporating the joint effects of duration of use and time since last use decreased
                      the population-level effects of QC use on ovarian cancer incidence and overall
                      mortality slightly compared with duration of use alone, but higher than a simple
                      ever/never model.
                   o  The largest population effect of QC use on incidence of benefits was on colorectal
                      and endometrial cancers rather than ovarian cancers, while reductions in mortality
                      were similar across all three cancers. The largest effect of QC use on both
                      incidence and mortality due to increased risk was seen in breast cancer.
                   o  For all harms, increases in mortality were much smaller than increases in
                      incidence (and, in some simulations, actually lower with QC use), likely due to a
                      shift in incidence to younger ages, when age-specific mortality from all harms
                      (including cancer) is lower.
                   o  Assuming a pattern of use similar to the general population, estimated increases in
                      life expectancy were greatest for BRCAl carriers (approximately 10 months), due
                      to the much higher incidence of ovarian cancer. Estimates for BRCA2 carriers



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                      were approximately equivalent to those for the general population, due to the
                       much larger increase in breast cancer risk relative to the increased ovarian cancer
                       risk.
                  o   Directly modeling ever versus never use results in larger positive effects of OCs
                       compared with alternative methods to simulate lower exposure to OC use.
          •   When age at first OC use and duration of use were systematically varied, we found that:
                  o   Estimates of the effect on life expectancy were positive for durations of use of 2
                      years or less and positive for women under age 35 for 5 years of use. Longer
                       duration of use led to either lower life expectancy (women 30 and older) or
                       smaller increases in life expectancy for all except women who started at age 15.
                  o   Estimates for both incidence and mortality for harms (particularly vascular
                       events) were unstable for shorter duration of use across all ages, converging with
                      increasing duration; this is a function of the very low probability of events at
                      younger ages and the assumption of constant risk during use.
                  o    The total reduction in ovarian, colorectal, and endometrial cancer incidence and
                       mortality was directly related to increased duration, which is largely due to the
                       explicitly modeled association between duration and ovarian cancer incidence.
          •   Using a probabilistic analysis incorporating the range of uncertainty around the relative
              risk estimates, we found that:
                  o   When the association between OC use and ovarian cancer risk was modeled as a
                      function of duration of use, 45 percent of simulations resulted in a life expectancy
                      gain of I and 2 months, while 44 percent resulted in gains of 2 to 3 months. When
                       modeled as a function of ever versus never use, 62 percent of gains were between
                       I and 2 months, while only I percent was greater than 2 months; 2 percent had a
                       net loss of life expectancy of I week.
                  o   For incident harms, breast cancer was the largest contributor. Conversely, for
                      incident benefits, ovarian cancer had almost no effect relative to colorectal and
                       endometrial cancers.
                  o   For mortality, breast cancer was by far the biggest contributor to uncertainty;
                       removing deaths from vascular events had minimal effect. On the benefit side, the
                       contributions of ovarian, colorectal, and endometrial cancers were roughly
                       equivalent.




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     Comparison With Previous Modeling Studies
          Comparison of the results of the individual meta-analyses with other studies is provided in
     previous sections of this report. In general, our results were largely consistent with the recent
     literature, with most of the difference attributable to different inclusion/exclusion criteria.
          Our modeling results are roughly consistent with previous U.S.-based studies, which have
     generally found minimal harms and small-to-moderate net noncontraceptive benefits of OC
     use-although our overall estimate suggests somewhat larger net benefits, especially in terms of
     mortality. We briefly describe the main differences in outcomes and approach here.
                         351
          Fortney et al. used a life table approach to estimate net effects on life expectancy,
     assuming 5 years of use and varying age at first use from 15 to 44 years of age in 5-year
     increments, and concluded that there was essentially no net effect, with gains of 4 days for
     women under age 0, and losses of 18 days for women in their 30s up to 80 days for women over
     age 45. In contrast, we found an overall net increase of 1 to 2 months across all age groups. The
     following are possible reasons for this discrepancy:
          • The paper by Fortney et al. was published in 1986, so we were able to include
              subsequently published papers. We also used a more formal set of inclusion/exclusion
              criteria; the authors excluded a condition if there were less than two papers with a
              significant association, which eliminated breast cancer for consideration, and used formal
              meta-analysis methods to synthesize the results.
          • Fortney et al. did not include breast or colorectal cancer, DVT, or PE, but did include
              complications of pregnancy, benign gallbladder disease, pelvic inflammatory disease, and
              rheumatoid arthritis.
          • We used different methods for estimating incidence. Although the baseline estimates
              presented in Table 1 of the paper are reported as those for women not using OCs, it is
              unclear from either the table or the paper whether these results were adjusted for the
              prevalence of OC use or simply the overall rates that were subsequently multiplied by the
              relative risk estimate. Given the high prevalence of a history of OC use, population-based
              rates-which are the weighted average of the rates in exposed and unexposed-will be
              much closer to the rates in ever users compared with never users, all else (such as a
              history of smoking or an inherited thrombophilia) being equal. Thus, simply multiplying
              the population rate by the relative risk will overestimate the magnitude of the effect of the
              exposure in users. We estimated expected incidence based both relative risk and
              prevalence of exposure.
          • We modeled competing risks.
          • Fortney et al. applied relative risks derived from incidence to mortality. As shown in our
              results, the increase in mortality for a given outcome resulting from increased incidence
              in younger ages attributable to OC use may not result in equivalent increases in mortality
              because of the effect of age on outcome-specific mortality.
          Schlesselman66 used meta-analytic methods to estimate relative risks related to duration of
     use and time since last use and applied these estimates using life-table methods and durations of
     use of 4, 8, and 12 years to estimate the effect of OCs on ovarian, endometrial, cervical, breast,
     and liver cancers for women 20 to 54 years of age. The estimated mean number of breast and
     cervical cancers per 100,000 were similar to ours, but the estimates for ovarian and endometrial
     cancers were significantly lower.
          Differences in approach include:


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          •  As with the paper by Fortney et al., we were able to include papers published subsequent
             to this 1995 analysis. It is also possible that there were differences in inclusion/exclusion
             criteria and potential differences in the meta-analytic approach, although this is difficult
             to ascertain from the paper.
         • Schlesselman included estimates of duration of use and time since last use effects for all
             cancers; we included only those which were statistically significant in the meta-analysis
             (duration for ovarian cancer, time since last use for breast cancer). As seen in our
             analysis, this had a noticeable effect on outcomes, and, accumulated across multiple
             cancers, could result in even greater difference.
         • We used a different time horizon of IO to I 00 years compared with Schlesselman' s 20 to
             54 year range. Depending on the size of any effect of time since last use, this could have
             a substantial effect. This is likely one of the reasons for the similar results for cervical
             and breast cancers, which have higher incidences when women are in their 40s and 50s
             compared with ovarian and endometrial cancers.
         • We included different nonreproductive cancers. Schlesselman included liver cancer,
             which is much less common than colorectal cancer; our analysis shows that a protective
             effect against colorectal cancer would have a marked impact on overall benefits. It is not
             clear from the paper how competing risks were modeled.
         Sonnenberg et al. 350 used a Monte Carlo simulation model to estimate the cost-effectiveness,
     in dollars per QALY, for a wide range of contraceptive methods. Although the modeling
     approach is similar to the one we used, the results cannot be directly compared primarily because
     the results are presented as net effects in terms of QALY s without estimates of individual event
     rates. The following are other differences:
         • Sonnenberg et al. included contraceptive effects, and other contraceptive methods, some
             of which were assumed to have similar vascular effects as OCs.
         • We included papers published subsequent to this 2000 analysis, used different
             inclusion/exclusion criteria, and used formal meta-analytic methods to derive risk
             estimates.
         • Sonnenberg et al. adjusted for smoking prevalence and the potential interaction between
             smoking and OC use on relevant outcomes
         • They did not include effects on colorectal cancer.
         • Data are not provided on the ranges and distributions used in the Monte Carlo simulation.
         • The time horizon was very short, only 2 to 5 years, and did not extend past age 50.

     Limitations and Uncertainties
         The single most important limitation of this analysis is that it is "synthetic"-it is a synthesis
     of observational data using statistical and mathematical modeling techniques, rather than a
     directly observed controlled trial designed to minimize potential biases and optimized to detect a
     clinically significant effect. Women who use OCs are likely to be different from women who
     never use OCs in a variety of ways that may affect estimates of the association between OCs and
     a given outcome. For example, concerns about an increased risk for vascular events among obese
     women may make providers less likely to prescribe oral contraceptives; to the extent that obesity
     is associated with increased risk for many cancers, this would lead to an overestimation of a
     protective effect or an underestimation of an increased risk. Although the effect of these
     differences on the estimate can be mitigated by appropriate study design and analytic methods,
     they cannot be eliminated.


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          The majority of evidence we identified was consistent in both direction and magnitude of
     effect size, showed some evidence of a duration relationship and was adjusted for known
     confounders. However, this was also the case for hormone replacement therapy as primary
     prevention for cardiovascular disease. When synthesized into high-quality models, the results
     strongly suggested a beneficial effect for most women, 377•378 which were subsequently disproven
     by a randomized trial. 379
         For most women who are considering QCs for contraception, or who have QCs
     recommended for indications for which there is strong evidence of effectiveness, the lack of
     RCT data on QCs and potentially fatal outcomes is important, especially if an increased baseline
     risk of a particular outcome would affect the decision whether or not to use QCs. Given recent
     evidence on the comparative effectiveness of QCs and long-acting, reversible contraceptives in
     terms of pregnancy prevention, 380 consideration of the noncontraceptive benefits and harms of
     QC use relative to other contraceptive methods may become an even greater factor for helping
     women choose appropriate contraceptive methods. However, quite appropriately, the ultimate
     decision about using QCs for contraception or as treatment for other conditions should primarily
     be based on consideration of evidence for their effectiveness for that indication, weighed against
     the potential harms and other relevant attributes (convenience, duration of effectiveness, etc.).
          The considerations are somewhat different when the question being considered is whether to
     recommend QCs primarily to prevent ovarian cancer; here, the potential for bias in the estimates
     of both benefits and harms also is particularly critical. As noted in the introduction, ovarian
     cancer has a high mortality rate; there are no effective screening interventions (and, given the
     biology of the disease, the prospect of effective screening for most women is poor); and surgical
     removal of the tubes and ovaries carries risks of operative morbidity and the potential effects of
     early menopause. (We note that the observed reduction in QC risk with tubal ligation is roughly
     equivalent to that seen with QC use, even with adjustment of QC use among women with tubal
     ligation-further evaluation of the potential role of tubal ligation as primary prevention for
     ovarian cancer for women who have completed childbearing is an important area for future
     research). Approximately 15 percent of women have never used QCs by age 44, 172 and based on
     the distribution reported in the Nurses' Health Study, 357 another 10 percent of users have taken
     QCs for less than 12 months. Given the high mortality of ovarian cancer and the lack of proven
     alternative strategies for prevention that do not involve removal of the ovaries, a course of QCs
     as primary prevention is potentially a reasonable strategy but one which warrants further
     research. Even without the potential for biased estimates from the observational studies in the
     review, the modeling results indicate substantial remaining uncertainty about the balance of
     harms and benefits of QC use solely for the prevention of ovarian cancer.
         Despite the desirability of an unbiased estimate of risk, a formal prospective trial would face
     numerous, perhaps insurmountable, challenges, as described below.
          Sample size and duration of followup, particularly if ovarian cancer is the primary
     outcome. For example, in a trial targeting women aged 35 to 39 for prevention of ovarian cancer
     incidence, the expected incidence ovarian cancer by age 55 would be 0.2 percent; assuming a 70-
     percent reduction in incidence, a trial would require 20 years of followup of over 70,000 subjects
     per arm using an alpha of 0.05 and a beta of0.2. For mortality to be the endpoint, the trial would
     need to be extended an additional 5 years. Even if endometrial and colorectal cancer were added
     as trial outcomes, sample sizes would be over 5,000 per arm for a 20-year study to detect
     differences in incidence and 25,000 for a 25-year study to detect differences in mortality. None




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     of these estimates includes correction for loss to followup or hysterectomy or oophorectomy for
     other causes.
          Although alternative statistical analyses or composite outcomes might reduce sample size
     somewhat, a trial of OCs versus placebo or another method would still require, at the very least,
     a similar sample size to the Women's Health Initiative with at least twice the length of followup.
     Maintaining followup in a study of that size for that duration would be challenging, to say the
     least. Another issue with a study of such long duration would be the inherent problem of
     applicability: by the time the study was done, alternative methods of contraception (including
     OC formulations) may well be available and preferred to the formulations tested in the trial.
          Recruitment and inclusion/exclusion criteria. In addition to the normal difficulties of
     recruitment, a substantial proportion of women who are either never users of OCs or used OCs
     for less than 12 months would be women who had medical contraindications, religious or other
     objections to OC use, or who stopped OC use because of side effects. Recruitment is always an
     issue for any randomized trial; one that uses a daily oral medication with known side effects and
     potential serious short- and long-term harms for primary prevention of a relatively rare cancer
     would face more difficulty than usual.
          Choice of comparator. For reproductive-age women not using another contraceptive
     method, placebo alone would not be acceptable, further complicating trial logistics if women in
     both arms would be required to use an alternative contraceptive method. If some of those
     methods are also effective against ovarian cancer, or increase risk of vascular events, sample size
     would need to be increased even more. Given the recognizable effects of OCs on menstrual
     symptoms, blinding would be difficult.
          Safety monitoring. The Women's Health Initiative used a complex composite endpoint that
     included both benefits and harms; a trial of OCs for primary prevention of ovarian cancer would
     likely require a similar design. However, establishing appropriate safety monitoring, particularly
     rules for stopping, would be even more complex since the majority of the vascular harms would
     occur during treatment, while benefits would not be seen for 15 to 25 years.
          These daunting challenges create a dilemma. Ovarian cancer is a disease with high mortality
     where both the disease itself and the treatments have a profound negative impact on quality-of-
     life in the time between diagnosis and death-and there are no effective preventive strategies. On
     one hand, the current evidence, while highly suggestive, has inherent limitations that may be
     leading to incorrect estimates of OC effectiveness. Even ignoring those limitations, there is a
     high degree of remaining uncertainty about harm/benefit tradeoffs. Future research to fill in the
     evidence gaps discussed below should improve the ability of researchers to synthesize the
     available evidence from observational studies, but ultimately the inherent biases associated with
     observational studies means that some uncertainty will remain even if all the evidence gaps
     related to observational studies are filled. On the other hand, a definitive trial to address the
     question would be, in the best-case scenario, hugely expensive and complex. One option might
     be a trial in a high-risk population, such as BRCAl and BRCA 2 carriers, where higher incidence
     rates would substantially reduce sample size. However, there are different challenges with a
     study in this population, particularly the choice of appropriate comparator; given the known high
     risk of these conditions and the availability of other treatment options, a placebo-controlled study
     might face substantial recruitment challenges, and, without a placebo group, it would be very
     difficult to draw any inferences about the potential applicability of results in BRCA carriers to
     the general population.




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         One important next step in developing a research agenda is to formally identify the situations
     where a decision to start or continue OCs would be done primarily for the purpose of preventing
     ovarian cancer (and potentially other cancers) and assess how much certainty would be required
     to make a recommendation for or against this use. One potential future application of the
     microsimulation model developed for this review is to address some of these issues
     quantitatively, to help determine the ultimate feasibility of a definitive trial. A first step might be
     to apply value-of-information analysis to further quantitate the relative contribution of the
     uncertainties about the tradeoffs between harms and benefits and evaluate the efficiency of
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     Model Limitations and Evidence Gaps
         The limitations of the model and its results can be divided into limitations of the model
     structure-the type of model, the methods for converting the available literature into
     probabilities that the model can use, the assumptions about the relationship between different
     parameters, the methods for analysis-and of the model parameters, which derive from the
     availability and quality of the data. Because both of these types of limitations are ultimately
     driven by the data, we discuss how future research can address these limitations in each section.

     Model Structure Limitations
     Design
         We used a semi-Markov state-transition model, which reflects current practice. Instead of
     running the model as a cohort analysis, where the model provided estimates of the probability of
     the events of interest based on the parameter values, we ran the model as a microsimulation,
     where multiple simulations of a series of"individual" subjects with characteristics drawn from
     appropriate distributions are performed. The main advantage of this approach is that the
     conditional probability of a transition from one state to another can be conditioned on the
     underlying state, the time spent in the simulation, and events in past states in a tractable model
     structure. The main disadvantage is the computational time required to perform the simulations.
     Some of this time may be due to the specific software package used, which we chose primarily
     for its ease of programming; using an alternative program would increase the efficiency of
     calculations, but would be more difficult to program. Because of the computational time required
     for some of the analyses, we limited the number of "subjects" for a particular analysis (for
     example, 5000 per each age at first use and duration of use combination). This resulted in
     unstable results, especially for rare events. However, even this limitation is helpful, since it
     reinforces the importance of adequate sample size in achieving stable estimates of rare events,
     which certainly fits the description of vascular events in young women. More iterations would
     narrow the confidence intervals for the model-based estimates further-but it is worth
     considering that if the effect size is small enough to require a very large number of simulations,
     the individual clinical risk, and public health impact, is likely to be relatively small.

     Independence of Risks
         We assumed that the risk estimates obtained from the meta-analyses, most of which were
     derived from individual studies with multivariate analyses, were independent of each other-in
     other words, the estimate for the relative risk for ovarian cancer associated with OC use was
     independent of any other patient characteristics, such as parity. However, this may not be the
     case. This may be particularly important for hysterectomy, which is a competing risk for ovarian,


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     cervical, and endometrial cancer, and which may be affected by QC use. We also modeled
     individual cancer risks independently, but this is clearly not the case, for both familial cancer
     syndromes and sporadic cancers, which may share risk factors. Ideally, the model would be run
     using parameter estimates that incorporated correlations where appropriate.
         The model-predicted lifetime incidence for cancers, adjusted for population-level estimates
     of QC use and relative risks estimated from the meta-analyses, closely approximates estimates
     based directly on age-specific incidence (Appendix F), which provides some reassurance that the
     assumption of independence is not resulting in substantial bias.

     Other States and Other Contraceptive Methods
         We originally included other relevant health states, including menarche and pregnancy, and
     the range of other contraceptive methods with their effectiveness against pregnancy. For the
     purposes of this analysis, we excluded these states and other methods for several reasons. First,
     there is a lack of data on the dynamics of contraceptive method switching; because the majority
     of the data on QC use and the outcomes of interest was based on comparisons between QC users
     and all other methods combined, the assumptions and extra work required to derive reasonable
     estimates would not have added any extra reliability or precision to our analysis.
          Second, during early model runs, it became apparent that pregnancy was also a potential
     competing risk, one which had different probabilities based on age and contraceptive method.
     Because parity was almost universally adjusted for in the studies included in the meta-analyses,
     we elected to eliminate pregnancy as a state. However, for a more comprehensive analysis of the
     combined harms and benefits of QCs, adding pregnancy (including pregnancy-specific vascular
     event rates) is an important next step. Including other reproductive states, such as menarche and
     lactation, would also allow modeling the effect of reduction in ovulation, rather than QC use
     alone, as a modifier of ovarian cancer risk. However, incorporating these into the model will be
     facilitated by more standardized reporting, as discussed further below.
         Finally, the model, which estimates mortality based on age- and race-specific survival after
     detection of an incidence case, consistently underestimates lifetime mortality risk compared with
     estimates derived from death certificate data. This is consistent with other "incidence-based
     mortality" models, where overall mortality estimates are derived from specific survival functions
     based on patient or tumor characteristics. 384•385 There are multiple explanations for this, including
     (1) the effect of competing risks for other cause mortality within the model after diagnosis, (2)
     age/period/cohort effects in the death certificate data that are not reflected in the model
     estimates, (3) the fact that SEER incidence and survival data represent a sample of the
     population, while the mortality data are derived from the entire population, and (4) inadequate
     modeling of mortality more than 5 years after survival (particularly for breast cancer). Since the
     potential underestimation of cancer mortality affects both potential harms of QC use (breast and
     cervical cancer) and benefits (ovarian, endometrial, and colorectal), the net effect on the overall
     balance of mortality harm and benefit is likely to be small but is clearly worthy of further
     exploration.

     Other Potential Confounders and Effect Modifiers
        We did not model the potential effect of other characteristics, particularly smoking and
     obesity, which could plausibly affect contraceptive method choice, risk of different cancers or
     vascular events, or the association between QC use and these outcomes. The potential impact of
     smoking status and obesity on estimated risks, both at the individual patient level and at the
     population level, should be incorporated in future modeling studies.


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     Ever Versus Never Exposure Versus Time-Dependent Effects
         Although the qualitative results were similar whether ovarian and breast cancer risks were
     modeled as ever/never exposure versus time dependent, the time-dependent approach resulted in
     better outcomes (greater life expectancy, lower threshold for acceptable harm/benefit ratios),
     suggesting that how exposure is modeled (and, implicitly, how exposure is measured in studies)
     could have a more substantial impact on model predictions if it held for additional outcomes.
     Conversely, because the increased risk of vascular events during current OC use was assumed to
     be constant over time, longer duration of OC use resulted in greater risk of a vascular event. If,
     as some of the studies reviewed suggest, risk is highest in early use, then this assumption
     overestimates the harms associated with longer duration.

     Model Structure Evidence Gaps
          The following are key future research needs for a model structure:
          • Needed are better estimates of correlations between parameters; for example, using the
             covariate estimates from logistic regression models derived from pooled analyses for all
             relevant variables instead of the adjusted odds ratios. This would require publication
             (perhaps in an online appendix), or access to, the actual models used rather than the
             summary odds ratios and confidence limits typically reported.
          • One advantage of microsimulation is that it can generate simulated data sets of
             individuals, with characteristics such as age of events, history of past events, and so on.
             These data sets could be used to explore some of these issues related to correlation as
             well as issues related to study design, sample size, etc. For example, one could simulate a
             large number of individuals using a fixed estimate of relative risk, then sample the data
             set using different study designs and sample sizes to identify any systematic effects on
             bias or precision.
          • Incorporate additional reproductive history into models; again, use of simulated data sets
             could be helpful in exploring the relationship between ovulatory cycles, OC use, and
             ovarian cancer risk.
          • To the extent possible, observational studies should report associations as functions both
             of ever versus never, or current versus non current use, and duration of use. Pooled
             analyses, such as those of the Collaborative Group on Epidemiological Studies of
             Ovarian Cancer, 21 are an excellent way to address some of these limitations. Although
             access to the raw data is extremely useful, the ability to overcome inconsistencies in
             reporting is ultimately dependent on how consistently the data was collected. As noted
             below, some standardization of how duration of use and other potentially relevant
             parameters are both recorded and reported would also be extremely helpful.

     Model Parameter Limitations
     Data Reporting/Quality
         Data limitations for specific outcomes are noted in the individual sections, but there are
     general issues that apply to most of the data, particularly for the risk data.
         Imprecision and bias. Using a stochastic modeling approach-where data values are drawn
     from appropriate distributions describing the data-is one way to incorporate the effects of
     imprecision in estimates resulting from small studies, particularly for rare events, since the
     effects of the imprecision in the input values are reflected in the distribution of output values.
     However, even the most precise estimates are not helpful if they are biased in some way;


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     although models can potentially be used to evaluate a possible effect of bias, and to potentially
     correct for it, there are no clear standards for this.
         Data structure. One limitation common to many simulations where age is an important
     factor affecting probabilities is that available data on age-specific event probabilities are cross-
     sectional and may represent cohort effects that are not captured in the model. As the figures in
     Section I show, there is some suggestion of a cohort effect in ovarian cancer incidence due to
     increasing use of OCs; if this is the case, then the reduction in risk predicted by any model that
     uses these data to generate age-specific probabilities will overestimate the impact of OC use in
     the future. Some of this effect may also be seen even with harms from vascular events-for
     example, age-specific probabilities may decrease with time, as awareness of the possibility of
     complications leads to more selective use of OCs, or increase with time, especially for less
     severe cases, where a higher index of suspicion on the part of clinicians would lead to a lower
     threshold for testing to make a definitive diagnosis.
         Inconsistency in reporting. As noted in the individual sections, there was wide disparity in
     how various potential confounders or effect modifiers, such as parity, duration of OC use, time
     since last use, woman's age, etc., were described in published papers. While we recognize that
     the needs of specific studies or the idiosyncrasies of particular data sets may require different
     categorization of relevant parameters during analysis, it would be extremely helpful for meta-
     analysis and simulation modeling if there were reporting standards that allowed consistent
     comparison across studies, which could be presented as an alternate to the categorization selected
     for the main analysis. Again, this could be presented online.

     Data Choices and Available Data
         There were minimal data available for some important potential parameters. For others,
     available data sources may have inherent biases that affect the model.
         Data Sources. We used hospitalization rates, and in-hospital mortality, to derive age-specific
     probabilities of vascular events. To the extent that these outcomes, in particular DVT, may be
     managed on an outpatient basis, this will underestimate the rates. Similarly, hysterectomy is
     increasingly being performed in outpatient settings, and hospital-based data may underestimate
     true population rates. Use of in-hospital mortality may underestimate longer term mortality due
     to vascular events, although, to the extent the risk of recurrence is reduced by stopping pills,
     long-term mortality after QC-associated vascular events may be lower than after events
     associated with other causes. For cancers, we assumed cure after 5 years and did not incorporate
     the risk of longer term recurrence, which may underestimate total mortality, particularly for
     breast cancer.
         Utilities/Preferences. Quality-adjusted life expectancy is a generally well-accepted method
     among health policy researchers for integrating the effects of interventions on both quality-of-life
     and life expectancy. Although estimates for utilities for all of the relevant outcomes were
     available, we did not identify any utilities for the use of OCs. The studies that incorporated
     QALYs in their analyses implicitly assumed that OC use has a utility of 1.0; given that a
     substantial proportion of women who start OCs discontinue due to side effects, this is clearly not
     the case.
         On the other hand, many women may have improvement in quality of life because of OC
     effects on menstrual symptoms. Some estimate of the effect of OC use on quality of life in the
     context of use for prevention purposes is needed. Although groups making recommendations
     typically focus on a semiquantitative assessment of harms versus benefits with some
     consideration of quality of life, appropriately capturing patient preferences is especially


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     important for primary prevention. Our acceptability analysis shows that the different harms and
     benefits contribute differently to incidence (where quality of life is a major factor) compared
     with mortality. Given that vascular events contribute much more to incidence than mortality
     (because of the lower age-specific mortality), the potential impact oflong-term morbidity from
     stroke and MI, in particular, should ultimately be considered.
          Another factor that needs to be incorporated in any preference/quality-of-life study is time
     preference. In the setting of OCs for primary prevention of cancer, the benefits occur much later
     in the future than the potential risks. Deriving empirically-driven discount rates is an important
     component of future research.
          Progestin-only pills. Because the risk of vascular events appears to primarily be related to
     the estrogen component of combined OCs (Section 4), and because there is evidence from both
     basic science 170 and observational studies (Section 2) that the progestational component of OCs
     is the primary factor affecting reduction in ovarian cancer risk, use of progestin-only pills as the
     OC of choice for reducing OC risk seems attractive. However, largely because there is little use
     of progestin-only pills, there is a paucity of evidence regarding their effects, particularly on long-
     term outcomes.
          Other patterns of use. Although there is no biological reason to suspect that continuous OC
     use (i.e., no week without pills to allow menses) would have differential effects on any of these
     outcomes, data to confirm this would be useful. In addition, more data on both the frequency of
     use and the outcomes of use for OCs in women over 45 would be extremely helpful.

     Model Parameters Evidence Gaps
          The following evidence gaps for model parameters should be addressed:
          •  Consensus among researchers and editors on standardized reporting of key variables
             would be extremely helpful. One approach would be through the development of
             consensus data collection and reporting standards under the sponsorship of one or more
             organizations with an interest in the area, such as the American Cancer Society, NIH,
             WHO, etc.
          • More precise estimates of longer term outcomes are needed .
          • Patient preferences for relevant outcomes, as well as for the use of OCs, need to be
             incorporated into models used for estimating the outcomes of OC use. Ideally, these
             would include both utilities derived from standard methods of utility elicitation, as well
             as by methods such as conjoint analysis which allow elicitation of preferences for
             multiple attributes. 386
          • More data are needed on the potential effects of progestin-only pills on long-term
             outcomes. However, given our findings that vascular events make a minimal contribution
             to the harm/benefit ratio in terms of mortality, the value of further research into the
             potential of progestin-only pills for primary prevention should be assessed first. This
             could be facilitated by better data on the long-term quality-of-life impact of vascular
             events in young women.

     Potential Next Steps
         Although we did not perform a formal value-of-information analysis, the results of our
     evidence synthesis and modeling do suggest that addressing certain research needs first would
     have a greater impact in reducing uncertainty about the relative harms and benefits of OCs for



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     primary prevention of ovarian cancer. Within the context of specific issues discussed above, we
     would suggest the following broad areas be given priority.
         Assessing patient preferences, including those related to regular use of QCs for
     noncontraceptive purposes. Given the finding that vascular events contribute little to uncertainty
     about the harm/benefit ratio in terms of mortality, a better understanding of how long-term
     morbidity associated with these events in younger women, would be extremely helpful. This
     research area also has the advantage ofrequiring considerably fewer resources than, for example,
     a 20-year randomized trial of more than 140,000 subjects.
         Achieving greater certainty about the importance of time-related effects relative to ever-
     never exposure. This could be facilitated by consensus on reporting standards. In terms of
     cancers, we would suggest prioritizing colorectal cancer and breast cancer because (a) there is
     greater certainty regarding the time-dependent effects of ovarian cancer, (b) although
     endometrial cancer is an important contributor to the mortality harm/benefit ratio, there is less
     uncertainty about the benefits of QC use, and (c) increased cervical cancer risk has almost no
     contribution to the overall mortality risk (note that this is not likely to be true in settings where
     adequate screening, or widespread population coverage with vaccination against oncogenic
     human papillomavirus, is unavailable). In terms of vascular events, the most important
     uncertainty is the extent to which risk may or may not decrease with increasing duration of use.
         Another need is for better understanding of the potential effects of QC formulation on breast
     and colorectal cancer risks. Again, these two contribute substantially to the harm/benefit ratio in
     terms of mortality. Particularly in the context of the potential use of progestin-only pills, greater
     certainty about the potential effects relative to combination QCs on these two cancers would be
     particularly helpful.

     Clinical and Public Health Implications of the Findings
          The overall strength of evidence for the literature review was moderate to low with
     applicability for current practice affected by two major factors. First, there was a large number of
     studies (many of higher quality) performed outside of the United States, where several
     differences may affect observed associations-differences in available QC formulations; in
     population patterns of contraceptive use; in genetic factors (e.g., inherited thrombophilias) and
     acquired factors (e.g., prevalence of smoking) that interact with QC effects; and in health system
     attributes, particularly regarding population coverage for screen-detectable cancers. Second,
     particularly for cancers, the long period between exposure to QCs and development of the cancer
     means that much of the available literature is based on exposure to QC formulations that are no
     longer on the market-which has implications for both harms and benefits.
          Although there are published guidelines for assessing the quality of modeling studies, 387
     there is no consensus on how to consider the "strength of evidence" of the results of modeling
     studies. In most cases, modeling is done because randomized trials are not available and, even in
     the best-case scenario, will be based on evidence from lesser quality studies. Given the inherent
     limitations of modeling, many of which are discussed above and in Appendix F, the strength of
     evidence for even the most sophisticated model will be at best moderate and, realistically, low in
     most cases. That is certainly the case with these results, which are based on low-moderate quality
     evidence for the most important parameters of interest.
          With these caveats, based on our synthesis of the best available literature, the clinical and
     public health implications of our review include the following:



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          •   Assuming that the general estimates of increased or decreased risk are not overly biased
              by observational studies, the net effects on cancers and vascular events of current patterns
              of OC use in the general population likely result in a net increase in life expectancy of 1-
              2 months, which is comparable to many other preventive interventions. 376 This is in
              addition to any effects from prevention of unwanted pregnancy. In our probabilistic
              analysis, OC use resulted in net loss in life expectancy in less than 5 percent of
              simulations.
          •   The model predicts similar net gains in BRCAl and BRCA2 carriers; in BRCAl carriers,
              who have marked elevation in ovarian cancer risk, the gain may be as high as 10 months.
          •   These results should be reassuring to women who are considering OC use for
              contraceptive purposes or who are prescribed OCs for treatment of other conditions.
          •   Other than for ovarian cancer, the effects of increasing duration of use for individual
              outcomes is unclear. The modeling results suggest that the net benefits of OC use
              decrease between 5 years of use (the approximate mean duration of use in the population)
              when they are generally positive, especially at younger ages, and 10 years of use for all
              but the youngest women. This may be a function of a conservative assumption about
              constant risk over time for exposed women, but based on the available data, there is less
              confidence in the net benefits of duration of use longer than 5 years for women at average
              risk of ovarian cancer. For a woman who has used OCs for 5 years and is considering
              other contraceptive methods, there is insufficient evidence to suggest continuing to use
              OCs solely for their effect on ovarian cancer risk-particularly since there is consistent
              evidence that at least one other method (tubal sterilization) reduces risk by a similar order
              of ma~nitude and recent evidence that other nonpermanent methods may also reduce
              risk.12
          •   For a woman who has never used OCs for contraception, and who otherwise does not
              have a contraindication to their use, there is insufficient evidence to recommend for or
              against a course of OCs solely for ovarian cancer prevention, regardless of her age or the
              potential duration of use. The estimated net benefits of OC use on mortality are equally
              distributed between prevention of ovarian cancer (relatively low incidence but high
              mortality), colorectal cancer (intermediate incidence and mortality), and endometrial
              cancer (high incidence but low mortality), while the net harms are driven by breast cancer
              (high incidence but relatively low mortality). In terms of incidence, the net benefits of
              OC use are largely driven by endometrial and colorectal cancer, while the net harms are
              largely due to the increased incidence of breast cancer. We did not include the potential
              impact of specific harms on quality of life-for example, a stroke at an early age, even if
              less likely to be fatal, may have a profound negative impact on quality of life.




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Exhibit 163                                                                                                       JA-0003114
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Exhibit 163                                                                                                       JA-0003116
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Exhibit 163                                                                                                       JA-0003118
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Exhibit 163                                                                                                       JA-0003119
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Exhibit 163                                                                                                       JA-0003120
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                                   Abbreviations
      AHRQ           Agency for Healthcare Research and Quality
      BMI            body mass index
      BRCA           breast cancer genetic mutation
      BSO            bilateral sal pingo-oophorectomy
      BTL            bilateral tubal ligation
      CDC            Centers for Disease Control and Prevention
      CI             confidence interval
      DMV            Department of Motor Vehicles
      DVT            deep venous thrombosis
      ER             estrogen receptor
      FIGO           International Federation of Gynecology and Obstetrics
      GCT            granulosa cell tumor
      HPV            human papilloma virus
      HR             hazard ratio
      HRT            hormone replacement therapy
      IRR            incidence rate ratio
      IUD            intrauterine device
      KQ             Key Question
      MI             myocardial infarction
      mo             month/months
      NA             not applicable
      NCHS           National Center for Health Statistics
      NHB            net health benefits
      NIS            Nationwide Inpatient Sample
      NMB            net monetary benefits
      NNH            number needed to harm
      NNP            number needed to prevent
      NR             not reported
      NS             nonsignificant
      NSFG           National Survey of Family Growth
      NZ             New Zealand
      OC             oral contraceptive
      OR             odds ratio
      PE             pulmonary embolism
      PICOTS         population, interventions, comparators, outcomes, timing, settings
      PR             progesterone receptor
      QALY           quality-adjusted life year
      RR             risk ratio
      SEER           Surveillance, Epidemiology, and End Results registry
      SOE            strength of evidence
      TEP            Technical Expert Panel
      UK             United Kingdom
      VTE            venous thromboembolism




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Exhibit 163                                                                               JA-0003121
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       WHO           World Health Organization
       WTP           willingness to pay
       yr            year/years




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Exhibit 163                                                            JA-0003122
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                          Appendix A. Exact Search Strings

     PubMed® search strategy (June 29, 2012)
     (((("contraceptive agents, female"[MeSH Terms] OR ("contraceptive"[AII Fields] AND "agents"[AII Fields]
     AND "female"[AII Fields]) OR "female contraceptive agents"[AII Fields] OR ("female"[AII Fields] AND
     "contraceptive"[AII Fields] AND "agents"[AII Fields]) OR "contraceptive agents, female"[Pharmacological
     Action]) OR ("contraceptives, oral"[MeSH Terms] OR ("contraceptives"[AII Fields] AND "oral"[AII Fields])
     OR "oral contraceptives"[AII Fields] OR ("oral"[AII Fields] AND "contraceptives"[AII Fields]) OR
     "contraceptives, oral"[Pharmacological Action])) AND (("ovarian neoplasms"[MeSH Terms] OR
     ("ovarian"[AII Fields] AND "neoplasms"[AII Fields]) OR "ovarian neoplasms"[AII Fields] OR ("ovarian"[AII
     Fields] AND "cancer"[AII Fields]) OR "ovarian cancer"[AII Fields]) OR ("granulosa cell tumour''[AII Fields]
     OR "granulosa cell tumor"[MeSH Terms] OR ("granulosa"[AII Fields] AND "cell"[AII Fields] AND
     "tumor"[AII Fields]) OR "granulosa cell tumor"[AII Fields]) OR ("luteoma"[MeSH Terms] OR "luteoma"[AII
     Fields]) OR ("meigs syndrome"[MeSH Terms] OR ("meigs"[AII Fields] AND "syndrome"[AII Fields]) OR
     "meigs syndrome"[AII Fields]) OR ("sertoli leydig cell tumour"[AII Fields] OR "sertoli-leydig cell
     tumor"[MeSH Terms] OR ("sertoli-leydig"[AII Fields] AND "cell"[AII Fields] AND "tumor"[AII Fields]) OR
     "sertoli-leydig cell tumor"[AII Fields] OR ("sertoli"[AII Fields] AND "leydig"[AII Fields] AND "cell"[AII Fields]
     AND "tumor"[AII Fields]) OR "sertoli leydig cell tumor"[AII Fields] OR "Sertoli-Leydig Cell Tumor"[MeSH
     Terms] OR ("Sertoli-Leydig"[AII Fields] AND "Cell"[AII Fields] AND "Tumor"[AII Fields]) OR "Sertoli-Leydig
     Cell Tumor"[AII Fields] OR ("sertoli"[AII Fields] AND "leydig"[AII Fields] AND "cell"[AII Fields] AND
     "tumor"[AII Fields]) OR "sertoli leydig cell tumor"[AII Fields] OR "Sertoli Leydig Cell Tumor"[MeSH Terms]
     OR ("Sertoli"[AII Fields] AND "Leydig"[AII Fields] AND "Cell"[AII Fields] AND "Tumor"[AII Fields]) OR
     "Sertoli Leydig Cell Tumor"[AII Fields] OR ("sertoli"[AII Fields] AND "leydig"[AII Fields] AND "cell"[AII
     Fields] AND "tumor"[AII Fields])) OR ("thecoma"[MeSH Terms] OR "thecoma"[AII Fields]) OR "ovarian
     cysts"[MeSH Terms:noexp] OR ("pregnancy"[MeSH Terms] OR "pregnancy"[AII Fields]) OR ("venous
     thrombosis"[MeSH Terms] OR ("venous"[AII Fields] AND "thrombosis"[AII Fields]) OR "venous
     thrombosis"[AII Fields] OR ("deep"[AII Fields] AND "vein"[AII Fields] AND "thrombosis"[AII Fields]) OR
     "deep vein thrombosis"[AII Fields]) OR DVT[AII Fields] OR ("budd-chiari syndrome"[MeSH Terms] OR
     ("budd-chiari"[AII Fields] AND "syndrome"[AII Fields]) OR "budd-chiari syndrome"[AII Fields] OR
     ("budd"[AII Fields] AND "chiari"[AII Fields] AND "syndrome"[AII Fields]) OR "budd chiari syndrome"[AII
     Fields]) OR ("retinal vein occlusion"[MeSH Terms] OR ("retinal"[AII Fields] AND "vein"[AII Fields] AND
     "occlusion"[AII Fields]) OR "retinal vein occlusion"[AII Fields]) OR ("thrombophlebitis"[MeSH Terms] OR
     "thrombophlebitis"[AII Fields]) OR ("venous thromboembolism"[MeSH Terms] OR ("venous"[AII Fields]
     AND "thromboembolism"[AII Fields]) OR "venous thromboembolism"[AII Fields]) OR (("veins"[MeSH
     Terms] OR "veins"[AII Fields] OR "venous"[AII Fields]) AND ("thromboembolism"[MeSH Terms] OR
     "thromboembolism"[AII Fields] OR ("thromboembolic"[AII Fields] AND "event"[AII Fields]) OR
     "thromboembolic event"[AII Fields])) OR VTE[AII Fields] OR ("cerebrovascular disorders"[MeSH Terms]
     OR ("cerebrovascular"[AII Fields] AND "disorders"[AII Fields]) OR "cerebrovascular disorders"[AII Fields])
     OR ("stroke"[MeSH Terms] OR "stroke"[AII Fields]) OR ((("brain"[MeSH Terms] OR "brain"[AII Fields]) OR
     ("cerebrum"[MeSH Terms] OR "cerebrum"[AII Fields] OR "cerebral"[AII Fields] OR "brain"[MeSH Terms]
     OR "brain"[AII Fields])) AND (("infarction"[MeSH Terms] OR "infarction"[AII Fields]) OR ("ischaemia"[AII
     Fields] OR "ischemia"[MeSH Terms] OR "ischemia"[AII Fields]) OR ("embolism"[MeSH Terms] OR
     "embolism"[AII Fields]) OR ("thrombosis"[MeSH Terms] OR "thrombosis"[AII Fields]))) OR
     ("meningioma"[MeSH Terms] OR "meningioma"[AII Fields]) OR ("melanoma"[MeSH Terms] OR
     "melanoma"[AII Fields]) OR ("breast neoplasms"[MeSH Terms] OR ("breast"[AII Fields] AND
     "neoplasms"[AII Fields]) OR "breast neoplasms"[AII Fields] OR ("breast"[AII Fields] AND "cancer"[AII
     Fields]) OR "breast cancer"[AII Fields]) OR ("uterine neoplasms"[MeSH Terms] OR ("uterine"[AII Fields]
     AND "neoplasms"[AII Fields]) OR "uterine neoplasms"[AII Fields]) OR ("uterine cervical neoplasms"[MeSH
     Terms] OR ("uterine"[AII Fields] AND "cervical"[AII Fields] AND "neoplasms"[AII Fields]) OR "uterine
     cervical neoplasms"[AII Fields] OR ("cervical"[AII Fields] AND "cancer"[AII Fields]) OR "cervical cancer"[AII
     Fields]) OR ("endometrial neoplasms"[MeSH Terms] OR ("endometrial"[AII Fields] AND "neoplasms"[AII
     Fields]) OR "endometrial neoplasms"[AII Fields] OR ("endometrial"[AII Fields] AND "cancer"[AII Fields])



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Exhibit 163                                                                                                     JA-0003123
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     OR "endometrial cancer"[AII Fields]) OR ("endometriosis"[MeSH Terms] OR "endometriosis"[AII Fields])
     OR ("endometrial hyperplasia"[MeSH Terms] OR ("endometrial"[AII Fields] AND "hyperplasia"[AII Fields])
     OR "endometrial hyperplasia"[AII Fields]) OR ("metrorrhagia"[MeSH Terms] OR "metrorrhagia"[AII Fields]
     OR ("dysfunctional"[AII Fields] AND "uterine"[AII Fields] AND "bleeding"[AII Fields]) OR "dysfunctional
     uterine bleeding"[AII Fields]) OR ("metrorrhagia"[MeSH Terms] OR "metrorrhagia"[AII Fields]) OR
     ("menorrhagia"[MeSH Terms] OR "menorrhagia"[AII Fields]) OR ("hypermenorrhoea"[AII Fields] OR
     "menorrhagia"[MeSH Terms] OR "menorrhagia"[AII Fields] OR "hypermenorrhea"[AII Fields]) OR
     ("menstruation disturbances"[MeSH Terms] OR ("menstruation"[AII Fields] AND "disturbances"[AII Fields])
     OR "menstruation disturbances"[AII Fields]) OR ("amenorrhoea"[AII Fields] OR "amenorrhea"[MeSH
     Terms] OR "amenorrhea"[AII Fields]) OR ("dysmenorrhoea"[AII Fields] OR "dysmenorrhea"[MeSH Terms]
     OR "dysmenorrhea"[AII Fields]) OR "painful menstruation"[AII Fields] OR "menstrual pain"[AII Fields] OR
     ("oligomenorrhoea"[AII Fields] OR "oligomenorrhea"[MeSH Terms] OR "oligomenorrhea"[AII Fields]) OR
     ("premenstrual syndrome"[MeSH Terms] OR ("premenstrual"[AII Fields] AND "syndrome"[AII Fields]) OR
     "premenstrual syndrome"[AII Fields]) OR PMS[AII Fields] OR "premenstrual dysphoric disorder"[AII Fields]
     OR PMDD[AII Fields] OR ("uterine haemorrhage"[AII Fields] OR "uterine hemorrhage"[MeSH Terms] OR
     ("uterine"[AII Fields] AND "hemorrhage"[AII Fields]) OR "uterine hemorrhage"[AII Fields]) OR "uterine
     bleeding"[AII Fields] OR ("acne vulgaris"[MeSH Terms] OR ("acne"[AII Fields] AND "vulgaris"[AII Fields])
     OR "acne vulgaris"[AII Fields] OR "acne"[AII Fields]) OR ("colorectal neoplasms"[MeSH Terms] OR
     ("colorectal"[AII Fields] AND "neoplasms"[AII Fields]) OR "colorectal neoplasms"[AII Fields] OR
     ("colorectal"[AII Fields] AND "cancer"[AII Fields]) OR "colorectal cancer"[AII Fields]) OR ("colonic
     neoplasms"[MeSH Terms] OR ("colonic"[AII Fields] AND "neoplasms"[AII Fields]) OR "colonic
     neoplasms"[AII Fields] OR ("colon"[AII Fields] AND "cancer"[AII Fields]) OR "colon cancer"[AII Fields]) OR
     ("rectal neoplasms"[MeSH Terms] OR ("rectal"[AII Fields] AND "neoplasms"[AII Fields]) OR "rectal
     neoplasms"[AII Fields] OR ("rectal"[AII Fields] AND "cancer"[AII Fields]) OR "rectal cancer"[AII Fields]) OR
     ("anus neoplasms"[MeSH Terms] OR ("anus"[AII Fields] AND "neoplasms"[AII Fields]) OR "anus
     neoplasms"[AII Fields] OR ("anus"[AII Fields] AND "cancer"[AII Fields]) OR "anus cancer"[AII Fields]) OR
     ("myocardial infarction"[MeSH Terms] OR ("myocardial"[AII Fields] AND "infarction"[AII Fields]) OR
     "myocardial infarction"[AII Fields] OR ("heart"[AII Fields] AND "attack"[AII Fields]) OR "heart attack"[AII
     Fields]) OR ("myocardial infarction"[MeSH Terms] OR ("myocardial"[AII Fields] AND "infarction"[AII
     Fields]) OR "myocardial infarction"[AII Fields]) OR ("liver neoplasms"[MeSH Terms] OR ("liver"[AII Fields]
     AND "neoplasms"[AII Fields]) OR "liver neoplasms"[AII Fields] OR ("liver"[AII Fields] AND "cancer"[AII
     Fields]) OR "liver cancer"[AII Fields]) OR ("mortality"[Subheading] OR "mortality"[AII Fields] OR
     "mortality"[MeSH Terms]) OR ("mortality"[Subheading] OR "mortality"[AII Fields] OR ("death"[AII Fields]
     AND "rate"[AII Fields]) OR "death rate"[AII Fields] OR "mortality"[MeSH Terms] OR ("death"[AII Fields]
     AND "rate"[AII Fields]) OR "death rate"[AII Fields]) OR ("survival rate"[MeSH Terms] OR ("survival"[AII
     Fields] AND "rate"[AII Fields]) OR "survival rate"[AII Fields]) OR ("survival analysis"[MeSH Terms] OR
     ("survival"[AII Fields] AND "analysis"[AII Fields]) OR "survival analysis"[AII Fields]) OR ("fatal
     outcome"[MeSH Terms] OR ("fatal"[AII Fields] AND "outcome"[AII Fields]) OR "fatal outcome"[AII Fields])
     OR ("life expectancy"[MeSH Terms] OR ("life"[AII Fields] AND "expectancy"[AII Fields]) OR "life
     expectancy"[AII Fields])) AND (randomized controlled trial[pt] OR controlled clinical trial[pt] OR
     randomized[tiab] OR placebo[tiab] OR "clinical trials as topic"[MeSH Terms:noexp] OR randomly[tiab] OR
     trial[ti] OR ("cohort studies"[MeSH Terms] OR ("cohort"[AII Fields] AND "studies"[AII Fields]) OR "cohort
     studies"[AII Fields] OR ("cohort"[AII Fields] AND "study"[AII Fields]) OR "cohort study"[AII Fields]) OR
     cohort[AII Fields] OR longitudinal[AII Fields] OR "follow up"[AII Fields] OR "prospective"[AII Fields] OR
     ("case-control studies"[MeSH Terms] OR ("case-control"[AII Fields] AND "studies"[AII Fields]) OR "case-
     control studies"[AII Fields] OR ("case"[AII Fields] AND "control"[AII Fields] AND "study"[AII Fields]) OR
     "case control study"[AII Fields]) OR ("case-control studies"[MeSH Terms] OR ("case-control"[AII Fields]
     AND "studies"[AII Fields]) OR "case-control studies"[AII Fields] OR ("case"[AII Fields] AND "control"[AII
     Fields] AND "studies"[AII Fields]) OR "case control studies"[AII Fields]) OR systematic[sb])) NOT
     (Editorial[ptyp] OR Letter[ptyp] OR Case Reports[ptyp])) NOT ("animals"[MeSH Terms] NOT
     "humans"[MeSH Terms]) AND (English[lang] AND ("1990"[PDAT] : "3000"[PDAT]))




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Exhibit 163                                                                                                JA-0003124
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     Embase® search strategy (June 29, 2012)
     Platform: Embase.com

     [embase]/lim NOT [medline]/lim AND ('oral contraceptive agent'/exp OR 'oral contraceptives') AND ('ovary
     tumor'/exp OR 'ovarian cancer':ti OR 'ovarian cancer':ab OR 'granulosa cell tumor':ti OR 'granulosa cell
     tumor':ab OR dysgerminoma:ti OR dysgerminoma:ab OR 'meigs syndrome':ti OR 'meigs syndrome':ab
     OR luteoma:ti OR luteoma:ab OR 'androblastoma'/exp OR 'sertoli-leydig cell tumor':ti OR 'sertoli-leydig
     cell tumor':ab OR thecoma:ti OR thecoma:ab OR 'ovary cyst'/de OR 'ovarian cyst':ti OR 'ovarian cyst':ab
     OR 'pregnancy'/exp OR pregnancy:ti OR pregnancy:ab OR 'vein thrombosis'/exp OR 'venous
     thrombosis':ti OR 'venous thrombosis':ab OR 'deep vein thrombosis':ti OR 'deep vein thrombosis':ab OR
     dvt:ti OR dvt:ab OR 'budd chiari syndrome'/exp OR 'budd chiari syndrome':ti OR 'budd chiari
     syndrome':ab OR 'vein occlusion'/exp OR 'retinal vein occlusion':ti OR 'retinal vein occlusion':ab OR
     thrombophlebitis:ti OR thrombophelbitis:ab OR 'venous thromboembolism'/exp OR 'venous
     thromboembolism':ti OR 'venous thromboembolism':ab OR 'venous thromboembolic event':ti OR 'venous
     thromboembolic event':ab OR vte:ti OR vte:ab OR 'cerebrovascular disease'/exp OR stroke:ti OR
     stroke:ab OR (brain:ti OR brain:ab OR cerebral:ti OR cerebral:ab AND (infarction:ti OR infarction:ab OR
     ischemia:ti OR ischemia:ab OR embolism:ti OR embolism:ab OR thrombosis:ti OR thrombosis:ab OR
     hemorrhage:ti OR hemorrhage:ab OR hematoma:ti OR hematoma:ab)) OR 'meningioma'/exp OR
     meningioma:ti OR meningioma:ab OR 'melanoma'/exp OR melanoma:ti OR melanoma:ab OR 'breast
     cancer'/exp OR 'breast cancer':ti OR 'breast cancer':ab OR 'uterus cancer'/exp OR 'uterine cancer':ti OR
     'uterine cancer':ab OR 'uterine cervix cancer'/exp OR 'cervical cancer':ti OR 'cervical cancer':ab OR
     'endometrium cancer'/exp OR 'endometrial cancer':ti OR 'endometrial cancer':ab OR 'endometriosis'/exp
     OR endometriosis:ti OR endometriosis:ab OR 'endometrium hyperplasia'/exp OR 'endometrial
     hyperplasia':ti OR 'endometrial hyperplasia':ab OR menorrhagia:ti OR menorrhagia:ab OR metrorrhagia:ti
     OR metrorrhagia:ab OR hypermenorrhea:ti OR hypermenorrhea:ab OR 'dysfunctional uterine bleeding':ti
     OR 'dysfunctional uterine bleeding':ab OR 'menstruation disorder'/exp OR amenorrhea:ti OR
     amenorrhea:ab OR oligomenorrhea:ti OR oligomenorrhea:ab OR dysmenorrhea:ti OR dysmenorrhea:ab
     OR 'premenstrual dysphoric disorder':ti OR 'premenstrual dysphoric disorder':ab OR pmdd:ti OR pmdd:ab
     OR 'premenstrual syndrome':ti OR 'premenstrual syndrome':ab OR pms:ti OR pms:ab OR 'painful
     menstruation':ti OR 'painful menstruation':ab OR 'menstrual pain':ti OR 'menstrual pain':ab OR 'uterus
     bleeding'/exp OR 'uterine hemorrhage':ti OR 'uterine hemorrhage':ab OR 'uterine bleeding':ti OR 'uterine
     bleeding':ab OR 'acne'/exp OR acne:ti OR acne:ab OR 'colon cancer'/exp OR 'colon cancer':ti OR 'colon
     cancer':ab OR 'colorectal cancer':ti OR 'colorectal cancer':ab OR 'rectum cancer'/exp OR 'rectal cancer':ti
     OR 'rectal cancer':ab OR 'anus cancer'/exp OR 'anus cancer':ti OR 'anus cancer':ab OR 'anal cancer':ti
     OR 'anal cancer':ab OR 'heart infarction'/exp OR 'heart attack':ti OR 'heart attack':ab OR 'myocardial
     infarction':ti OR 'myocardial infarction':ab OR 'liver cancer'/exp OR 'liver cancer':ti OR 'liver cancer':ab OR
     'mortality'/exp OR mortality:ti OR mortality:ab OR 'death rate':ti OR 'death rate':ab OR 'survival'/exp OR
     survival:ti OR survival:ab OR 'fatality'/exp OR fatality:ti OR fatality:ab OR 'life expectancy':ti OR 'life
     expectancy':ab OR 'life expectancy'/exp) AND ('controlled study'/exp OR 'randomized controlled trial':ti
     OR 'randomized controlled trial':ab OR randomized:ti OR randomized:ab OR placebo:ti OR placebo:ab
     OR randomly:ti OR randomly:ab OR trial:ti OR 'cohort analysis'/exp OR 'controlled clinical trial'/exp OR
     'case control study'/exp OR 'intervention study'/exp OR 'longitudinal study'/exp OR 'prospective study'/exp
     OR 'cohort study':ti OR 'cohort study':ab OR longitudinal:ti OR longitudinal:ab OR 'follow up':ti OR 'follow
     up':ab OR prospective:ti OR prospective:ab OR 'case control':ti OR 'case control':ab OR 'systematic
     review'/exp OR 'meta analysis'/exp) NOT 'case report'/exp AND [humans]/lim AND [english]/lim AND
     [1990-2011 ]/py



     Cochrane search strategy (June 29, 2012)
     Platform: Wiley
     Database searched: Cochrane Database of Systematic Reviews

     Oral contraceptives [in title-abstract-keywords]


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Exhibit 163                                                                                                   JA-0003125
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     ClinicalTrials.gov search strategy (December 15, 2012)
     Platform: www.clinicaltrials.gov

     Search #1:
            Intervention: oral contraceptive
            Outcome Measures: ovarian cancer OR myocardial infarction OR MI OR
            thromboembolism OR VTE OR PE OR DVT OR pulmonary embolism OR stroke OR
            cervical cancer OR endometrial cancer OR breast cancer OR colorectal cancer
     Search #2:
            General search terms (all fields): oral contraceptive AND ovarian cancer




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Exhibit 163                                                                          JA-0003126
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                    Appendix B. Data Abstraction Elements

     I. Study Characteristics
          •   Other articles used in this abstraction
          •   Last Name of First Author
          •   Publication Year
          •   Study dates
                  o Date enrollment started
                  o Date follow-up ended
          •   Study site information
                  o Single center, multicenter, or pooled analysis
                  o If single center, city and state (U.S.) or city and country (outside U.S.)
                  o If multicenter
                           •   Number of sites
                           •   Location/ geographic region(s) (Select all that apply)
                                   • U.S.
                                   • Canada
                                   • U.K.
                                   • Europe
                                   • S. America
                                   • Asia
                                   • Africa
                                   • Australia/New Zealand
                                   • Unclear/Not reported
                                   • Other (specify)
                  o If pooled analysis, number of studies included
          •   Funding (Select all that apply)
                  o Government
                  o Private
                  o Foundation
                  o Industry
                  o Unclear/Not reported
                  o Other (specify)
          •   Indications for OCs (Select all that apply, assume contraception if not otherwise stated)
                  o Contraception
                  o Prevention of ovarian cancer
                  o Other stated indication (specify)
          •   Outcomes Assessed (Select all that apply)
                  o Ovarian cancer (Select all that apply)
                           •   Invasive
                           •   Borderline/Low Malignant Potential
                           •   Unclear/Not reported
                  o Breast cancer
                  o Colorectal cancer
                  o Cervical cancer
                  o Endometrial cancer
                  o Other cancer (specify)



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Exhibit 163                                                                                               JA-0003127
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                  o   Stroke (Select all that apply)
                          •   Hemorrhagic stroke
                          •   Thrombotic stroke
                          •   Unclear/Not reported
                  o Myocardial infarction
                  o Deep venous thrombosis
                  o Pulmonary embolism
          •   Study design
                  o Randomized controlled trial (RCT)
                  o Cohort
                  o Case-control
                  o Patient-level pooled analysis (Select design of component studies)
                          •   Case-control
                          •   Cohort
          •   Comments

     II. Cohort Study Details
          •   Total number of subjects (Enter total N for each category, NR for not reported, or NA for not
              applicable)
                  o Number reported as (Select one): Subjects/Person-years
                  o Record the following for both OCP exposed and OCP non-exposed groups:
                          •  Initially screened
                          •  Enrolled
                          •  Excluded for other specified reason
                          •  Lost to follow-up
                          •  N for analysis
                          •  Source of subjects reported (Y es/NR)
                                  • If yes, select source
                                           o Hospital
                                           o Population
                                           o Other (specify)
          •   Subject Age Reported (Yes/NR)
                  o Record age in years for both OCP exposed and OCP non-exposed groups
                          •  Mean
                          •  Median
                          •  SD
                          •  Min. age
                          •  Max. age
                          • 25% IQR
                          •  75% IQR
                          •  Categorical reporting (specify)
                          •  Other (specify)
                  o p-value between groups
          •   Subject Race Reported (Yes/NR)
                  o Record the following for both OCP exposed and OCP non-exposed groups
                          •  American Indian or Alaska Native (Nor%)
                          •  Asian (Nor%)
                          •  Black or African American (Nor%)
                          •  Hispanic (Nor%)
                          •  Native Hawaiian or other Pacific Islander (Nor%)



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Exhibit 163                                                                                               JA-0003128
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                        •    White (Nor%)
                        •     Multiracial (Nor%)
                 o p-values between groups
          •   Medical History
                 o Record the following for both OCP exposed and OCP non-exposed groups
                         •    Age at menarche reported (Yes/NR)
                                  • Mean
                                  • SD
                                  • Min age
                                  • Maxage
                                  • Median
                                  • 25%IQR
                                  • 75%IQR
                                  • Categorical reporting (specify)
                                  • Other (specify)
                         •    Gravidity reported (Yes/NR)
                                  • Mean
                                  • SD
                                  • Min age
                                  • Maxage
                                  • Median
                                  • 25%IQR
                                  • 75%IQR
                                  • Categorical reporting (specify)
                                  • Other (specify)
                         •    Parity reported (Yes/NR)
                                  • Mean
                                  • SD
                                  • Min age
                                  • Max age
                                  • Median
                                  • 25%IQR
                                  • 75%IQR
                                  • Categorical reporting (specify)
                                  • Other (specify)
                         •    Menopausal status reported (Yes/NR)
                                  • Premenopausal (%)
                                  • Postmenopausal (%)
                                  • Perimenopausal (%)
                                  • Unknown
                         •    Breastfeeding reported (Yes/NR)
                                  • Yes(%)
                                  • No(%)
                         •    Hysterectomy reported (Yes/NR)
                                  • Yes
                                  • No
                         •    Oophorectomy reported (Yes/NR)
                                  • Yes


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Exhibit 163                                                                               JA-0003129
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                                  • No
                                  • Excluded
                         •   Family history of ovarian cancer reported (Yes/NR)
                                  • Yes
                                  • No
                         •   BrCAl status reported (Yes/NR)
                                  • Positive
                                  • Negative
                         •   BrCA2 status reported (Yes/NR)
                                  • Positive
                                  • Negative
                         •   Other genetic risk factor reported (Yes/NR)
                                  • Family history of primary outcome
                                  • Factor V Leiden
                                  • Other thrombogenic genotype
                                  • Other genetic risk factor (specify)
                 o p-values between groups
          •   Contraception data reported (Yes/NR)
                 o Non-Oral Contraceptive Group(s)
                         •   Record N and % for the following:
                                  • Barrier method
                                  • IUD
                                  • Injectable/implantable hormones
                                  • Female sterilization
                                  • Male sterilization
                 o Oral Contraceptives
                          •  For each OC type reported, record the following:
                                  • Estrogen formulation (Select one)
                                          o Estradiol valerate
                                          o Ethinyl estradiol
                                          o Mestranol
                                          o None
                                  • Estrogen Dose (Select one)
                                          o High
                                          o Low
                                          o Not applicable
                                  • Progestin formulation (Select one)
                                          o Desogestrel
                                          o Dienogest
                                          o Drospirenone
                                          o Ethynodiol diacetate
                                          o Levonorgestrel
                                          o Norethindrone
                                          o Norethindrone diacetate
                                          o Norgestimate
                                          o Norgestrel
                                  • Progestin Generation (Select one)
                                          0   1
                                          0   2



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Exhibit 163                                                                       JA-0003130
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                                   0   3
                                   0   4
                                   o Unclear/Not Reported
                           • Progestin Dose (Select one)
                                   o High
                                   o Low
                                   o Not applicable
                           • N and % of subjects using this type of OC
                   •   Duration of OC use (record the following, if reported):
                           • Minimum
                           • Maximum
                           • Mean
                           • Median
                           • SD
                           • p-value
                           • Categorical reporting (specify)
                   •   Ages OCs used (record the following, if reported):
                           • Minimum
                           • Maximum
                           • Mean
                           • Median
                           • SD
                           • p-value
                           • Categorical reporting (specify)
                   •   Time since last OC use & assessment of outcome status (record the following, if
                       reported):
                           • Minimum
                           • Maximum
                           • Mean
                           • Median
                           • SD
                           • p-value
                           • Categorical reporting (specify)
                   •   Pattern of OC use (record the following, if reported):
                           • Number of episodes of use
                           • Number of continuous months
                           • Minimum
                           • Maximum
                           • Mean
                           • Median
                           • SD
                           • p-value
                           • Categorical reporting (specify)
                   •   Number of months between OC uses (record the following, ifreported):
                           • Minimum
                           • Maximum
                           • Mean
                           • Median


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Exhibit 163                                                                                      JA-0003131
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                                  •   SD
                                  •   p-value
                                  •   Categorical reporting (specify)
          •   Comments

     III. Case-Control Study Details
          •   Total number of subjects (Enter total N for each category, NR for not reported, or NA for not
              applicable)
                  o Number reported as (Select one): Subjects/Person-years
                  o Record the following for both cases and controls:
                          •   Initially screened
                          •   Declined to participate
                          •   Excluded based on criteria
                          •  N for analysis
                          •   Source of subjects reported (Yes/NR)
                                   • If yes, select source
                                            o Hospital
                                            o Population
                                            o Other (specify)
          •   Subject Age Reported (Yes/NR)
                  o Record age in years for both cases and controls
                          •   Mean
                          •   Median
                          • SD
                          •   Min. age
                          •   Max. age
                          •   25% IQR
                          •   75% IQR
                          •   Categorical reporting (specify)
                          •   Other (specify)
                  o p-value between groups
          •   Subject Race Reported (Yes/NR)
                  o Record the following for both cases and controls
                          •   American Indian or Alaska Native (Nor%)
                          •   Asian (Nor%)
                          •   Black or African American (Nor%)
                          •   Hispanic (Nor%)
                          •  Native Hawaiian or other Pacific Islander (Nor%)
                          •  White (Nor%)
                          •   Multiracial (Nor%)
                  o p-values between groups
          •   Medical History
                  o Record the following for both cases and controls
                          •   Age at menarche reported (Yes/NR)
                                   • Mean
                                   • SD
                                   • Min age
                                   • Maxage
                                   • Median
                                   • 25%IQR


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                                                                                                              00803590
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                          •     75%IQR
                          •     Categorical reporting (specify)
                          •     Other (specify)
                   •   Gravidity reported (Yes/NR)
                           • Mean
                           • SD
                           • Min age
                           • Max age
                           • Median
                           • 25%IQR
                           • 75%IQR
                           • Categorical reporting (specify)
                           • Other (specify)
                   •   Parity reported (Yes/NR)
                           • Mean
                           • SD
                           • Min age
                           • Maxage
                           • Median
                           • 25%IQR
                           • 75%IQR
                           • Categorical reporting (specify)
                           • Other (specify)
                   •   Menopausal status reported (Yes/NR)
                           • Premenopausal (%)
                           • Postmenopausal (%)
                           • Perimenopausal (%)
                           • Unknown
                   •   Breastfeeding reported (Yes/NR)
                           • Yes(%)
                           • No(%)
                   •   Hysterectomy reported (Yes/NR)
                           • Yes
                           • No
                   •   Oophorectomy reported (Yes/NR)
                           • Yes
                           • No
                           • Excluded
                   •   Family history of ovarian cancer reported (Yes/NR)
                           • Yes
                           • No
                   •   BrCAl status reported (Yes/NR)
                           • Positive
                           • Negative
                   •   BrCA2 status reported (Yes/NR)
                           • Positive
                           • Negative
                   •   Other genetic risk factor reported (Yes/NR)



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                                                                              00803591
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                                  • Family history of primary outcome
                                  • Factor V Leiden
                                  • Other thrombogenic genotype
                                  • Other genetic risk factor (specify)
                 o p-values between groups
          •   Contraception data reported (Yes/NR)
                 o Record the following for both cases and controls:
                          •  Record N and% of subjects utilizing the following non-OC contraceptive
                             methods:
                                  • Barrier method
                                  • IUD
                                  • Injectable/implantable hormones
                                  • Female sterilization
                                  • Male sterilization
                          •  Oral Contraceptives
                                  • For each OC type reported, record the following:
                                          o Estrogen formulation (Select one)
                                                 •   Estradiol valerate
                                                 •   Ethinyl estradiol
                                                 •   Mestranol
                                                 •   None
                                          o Estrogen Dose (Select one)
                                                 •   High
                                                 •   Low
                                                 •   Not applicable
                                          o Progestin formulation (Select one)
                                                 •   Desogestrel
                                                 •   Dienogest
                                                 •   Drospirenone
                                                 •   Ethynodiol diacetate
                                                 •   Levonorgestrel
                                                 •   Norethindrone
                                                 •   Norethindrone diacetate
                                                 •   Norgestimate
                                                 •   Norgestrel
                                          o Progestin Generation (Select one)
                                                 •   1
                                                 •   2
                                                 •   3
                                                 •   4
                                                 •   Unclear/Not Reported
                                          o Progestin Dose (Select one)
                                                 •   High
                                                 •   Low
                                                 •   Not applicable
                                          o N and % of subjects using this type of OC
                          •  Duration of OC use (record the following, if reported):
                                  • Minimum
                                  • Maximum
                                  • Mean


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                                                                                                        00803592
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                                 • Median
                                 • SD
                                 • p-value
                                 • Categorical reporting (specify)
                         •   Ages OCs used (record the following, if reported):
                                 • Minimum
                                 • Maximum
                                 • Mean
                                 • Median
                                 • SD
                                 • p-value
                                 • Categorical reporting (specify)
                         •   Time since last OC use & assessment of outcome status (record the following, if
                             reported):
                                 • Minimum
                                 • Maximum
                                 • Mean
                                 • Median
                                 • SD
                                 • p-value
                                 • Categorical reporting (specify)
                         •   Pattern of OC use (record the following, if reported):
                                 • Number of episodes of use
                                 • Number of continuous months
                                 • Minimum
                                 • Maximum
                                 • Mean
                                 • Median
                                 • SD
                                 • p-value
                                 • Categorical reporting (specify)
                         •   Number of months between OC uses (record the following, ifreported):
                                 • Minimum
                                 • Maximum
                                 • Mean
                                 • Median
                                 • SD
                                 • p-value
                                 • Categorical reporting (specify)
          •   Comments

     IV. Outcomes Reporting Form
         • Select outcome being reported
               o Ovarian Cancer
               o Breast Cancer
               o Colorectal Cancer
               o Cervical Cancer
               o Endometrial Cancer



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                  o    Deep venous thrombosis
                  o    Pulmonary embolus
                  o    Stroke
                  o    Myocardial infarction
                  o    Is this data for disease incidence or disease-specific mortality?
                            •   Incidence
                            •   Disease-specific mortality
                  o Is this data for a special population (Yes/No)
                            •   If yes, indicate the population
                  o Is this data for a subgroup of the overall study population (Yes/No)
                            •   If yes, indicate the subgroup population
          •   For this outcome
                  o Enter N analyzed for cases or OC exposed group
                  o Enter N analyzed for controls or OC non-exposed group
                  o Record the following data for OC ever use
                            • Crude OR and 95% CI
                            •   Adjusted OR and 95% CI
                                     • Indicate adjustment factors:
                                              o Age
                                              o Race
                                              o Parity
                                              o Menopausal status
                                              o BMI
                                              o Family History
                                              o Age at menarche
                                              o Smoking
                                              o Breastfeeding
                                              o Other (specify)
                  o Data reported by OC duration (Yes/NR)
                            •   Does this data represent recency of use (Yes/No)
                            •   Record the following for all duration categories reported:
                                     • Crude OR and 95% CI
                                     • Adjusted OR and 95% CI
                                              o Indicate adjustment factors:
                                                      •   Age
                                                      •   Race
                                                      •   Parity
                                                      •   Menopausal status
                                                      •   BMI
                                                      •   Family History
                                                      •   Age at menarche
                                                      •   Smoking
                                                      •   Breastfeeding
                                                      •   Other (specify)
                  o Data reported by age at first use (Yes/NR)
                            •   Record the following for all categories reported:
                                     • Crude OR and 95% CI
                                     • Adjusted OR and 95% CI
                                              o Indicate adjustment factors:
                                                      •   Age



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                                                                                               00803594
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                                                  •   Race
                                                  •   Parity
                                                  •   Menopausal status
                                                  •   BMI
                                                  •    Family History
                                                  •    Age at menarche
                                                   •   Smoking
                                                   •   Breastfeeding
                                                   •   Other (specify)
                 o   Data reported by age at last use (Yes/NR)
                        •    Record the following for all categories reported:
                                 • Crude OR and 95% CI
                                 • Adjusted OR and 95% CI
                                         o Indicate adjustment factors:
                                                   •   Age
                                                   • Race
                                                   •   Parity
                                                   •   Menopausal status
                                                  •   BMI
                                                  •  Family History
                                                  •  Age at menarche
                                                 •   Smoking
                                                 •   Breastfeeding
                                                 •   Other (specify)
                 o   Data reported by formulation (Yes/NR)
                        •    Record the following for all categories reported:
                                 • Crude OR and 95% CI
                                 • Adjusted OR and 95% CI
                                         o Indicate adjustment factors:
                                                 •   Age
                                                 •   Race
                                                 •   Parity
                                                 •   Menopausal status
                                                  •   BMI
                                                  • Family History
                                                  • Age at menarche
                                                •   Smoking
                                                •   Breastfeeding
                                                •   Other (specify)
                 o   Subgroup/Stratified Analyses performed? (Yes/No)
                 o   Stratification Variables
                         •    Age
                         •    Race
                         •    Parity
                         •    Menopausal status
                         •   BMI
                         •   Family history
                         •   Other (specify)
          •   Comments




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     V. Cohort Studies Quality Assessment
          •   Selection Bias
                  o Was there any attempt to balance the allocation between the groups? (Yes/No/Unclear)
                  o Did the study apply inclusion/exclusion criteria uniformly to all comparison groups?
                       (Yes/No/Unclear)
                  o Is the selection of the comparison group appropriate? (Yes/No/Unclear)
                  o Did the strategy for recruiting participants into the study differ across study groups?
                       (Yes/No/Unclear)
                  o Are baseline characteristics similar between groups? If not, did the analysis control for
                       differences? (Yes/No/Unclear)
                  o Does the design or analysis control account for important confounding and modifying
                       variables? (Yes/No/Unclear)
          •   Performance Bias
                  o Did researchers rule out any impact from a concurrent intervention or an unintended
                       exposure that might bias results?
                  o Did variation from the study protocol compromise the conclusions of the study?
          •   Attrition Bias
                  o Is the length of follow-up different between the groups?
                  o Was there a high rate of differential or overall attrition?
                  o Is the analysis conducted on an intention-to-treat (ITT) basis?
          •   Detection Bias
                  o Were the outcome assessors blinded to the intervention or exposure status of participants?
                  o Are the inclusion/exclusion criteria measured using valid and reliable measures,
                       implemented consistently across all study participants?
                  o Are interventions/exposures assessed using valid and reliable measures, implemented
                       consistently across all study participants?
                  o Are primary outcomes assessed using valid and reliable measures, implemented
                       consistently across all study participants?
                  o Are confounding variables assessed using valid and reliable measures, implemented
                       consistently across all study participants?
          •   Reporting Bias
                  o Are the potential outcomes pre-specified by the researchers? Are all pre-specified
                       outcomes reported?
          •   Record any additional comments relating to potential sources of bias or other study limitations.
          •   Summary Quality Rating
                  o Good
                  o Fair
                  o Poor
                  o If the study is rated as "Fair" or "Poor," provide rationale for decision.

     VI. Case-Control Studies Quality Assessment
          •   Selection Bias
                  o Did the study apply inclusion/exclusion criteria uniformly to all comparison groups?
                      (Yes/No/Unclear)
                  o Is the selection of the comparison group appropriate? (Yes/No/Unclear)
                  o Does the design or analysis control account for important confounding and modifying
                      variables? (Yes/No/Unclear)
          •   Performance Bias




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                  o   Did researchers rule out any impact from a concurrent intervention or an unintended
                      exposure that might bias results?
                  o Did variation from the study protocol compromise the conclusions of the study?
          •   Detection Bias
                  o Were the outcome assessors blinded to the intervention or exposure status of participants?
                  o Are the inclusion/exclusion criteria measured using valid and reliable measures,
                      implemented consistently across all study participants?
                  o Are interventions/exposures assessed using valid and reliable measures, implemented
                      consistently across all study participants?
                  o Are primary outcomes assessed using valid and reliable measures, implemented
                      consistently across all study participants?
                  o Are confounding variables assessed using valid and reliable measures, implemented
                      consistently across all study participants?
          •   Reporting Bias
                  o Are the potential outcomes pre-specified by the researchers? Are all pre-specified
                      outcomes reported?
          •   Record any additional comments relating to potential sources of bias or other study limitations.
          •   Summary Quality Rating
                  o Good
                  o Fair
                  o Poor
                  o If the study is rated as "Fair" or "Poor," provide rationale for decision.

     VII. Cohort Applicability Assessment
          •   Population (P)
                  o Age at OC use
                          •    At least 25 % of study population age 35 years or older
                          •    <25% of study population age 35 or older
                  o Baseline risk for ovarian cancer
                          •    Risk factors described (e.g., family history)
                          •    Risk factors not described
          •   Intervention (I)
                  o OC formulation
                          •    Currently available in U.S.
                          •    Not currently available in U.S.
                          • NR
          •   Comparator (C)
                  o Other contraceptive
                          •    Currently available in U.S.
                          •    Not currently available in U.S.
                          • NR
          •   Setting (S)
                  o Location
                          •   U.S.
                          •   Non-U.S.

     VIII. Case-Control Applicability Assessment
          •   Population (P)
                 o Age at OC use
                          •  At least 25 % of study population age 35 years or older



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                          •    <25% of study population age 35 or older
                  o    Baseline risk for ovarian cancer
                          •    Risk factors described (e.g., family history)
                          •    Risk factors not described
          •   Intervention (I)
                  o OC formulation
                          •    Currently available in U.S.
                          •    Not currently available in U.S.
                          • NR
          •   Comparator (C)
                  o Other contraceptive
                          •    Currently available in U.S.
                          •    Not currently available in U.S.
                          •    NR
          •   Setting (S)
                  o Location
                          •   U.S.
                          •   Non-U.S.




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Exhibit 163                                                                    JA-0003140
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                                Appendix C. Included Studies
                                                                    Organization Collaborative Study of Cardiovascular
     Althuis MD, Brogan DD, Coates RJ, et al. Breast
                                                                    Disease and Steroid Hormone Contraception. Lancet.
     cancers among very young premenopausal women
                                                                    1995;346(8990):1575-82. PMlD: 7500748.
     (United States). Cancer Causes Control.
     2003;14(2):151-60. PMlD: 12749720.                             Antoniou AC, Rookus M, Andrieu N, et al.
                                                                    Reproductive and hormonal factors, and ovarian
     Althuis MD, Brogan DR, Coates RJ, et al. Hormonal
                                                                    cancer risk for BRCAl and BRCA2 mutation
     content and potency of oral contraceptives and breast
                                                                    carriers: results from the International BRCAl/2
     cancer risk among young women. Br J Cancer.
                                                                    Carrier Cohort Study. Cancer Epidemiol Biomarkers
     2003;88(1):50-7. PMID: 12556959.
                                                                    Prev. 2009;18(2):601-10. PMID: 19190154.
     Andersen BS, Olsen J, Nielsen GL, et al. Third
                                                                    Austin H, Lally C, Benson JM, et al. Hormonal
     generation oral contraceptives and heritable
                                                                    contraception, sickle cell trait, and risk for venous
     thrombophilia as risk factors of non-fatal venous
                                                                    thromboembolism among African American women.
     thromboembolism. Thromb Haemost. 1998;79(1):28-
                                                                    Am J Obstet Gynecol. 2009;200(6):620 el-3. PMID:
     31. PMID: 9459317.
                                                                    19306959.
     Anonymous. Acute myocardial infarction and
                                                                    Badawy YA and Bayoumi DM. An epidemiologic
     combined oral contraceptives: results of an
                                                                    study of ovarian cancer. Part 11: Oral contraceptive
     international multicentre case-control study. WHO
                                                                    use and menstrual events. J Egypt Public Health
     Collaborative Study of Cardiovascular Disease and
                                                                    Assoc. 1992;67(5-6):579-91. PMID: 1294683.
     Steroid Hormone Contraception. Lancet.
     1997;349(9060):1202-9. PMID: 9130941.                          Barinagarrementeria F, Gonzalez-Duarte A, Miranda
                                                                    L, et al. Cerebral infarction in young women:
     Anonymous. Cardiovascular disease and use of oral
                                                                    analysis ofl30 cases. EurNeurol. 1998;40(4):228-
     and injectable progestogen-only contraceptives and
                                                                    33. PMID: 9813407.
     combined injectable contraceptives. Results of an
     international, multicenter, case-control study. World          Barnett GC, Shah M, Redman K, et al. Risk factors
     Health Organization Collaborative Study of                     for the incidence of breast cancer: do they affect
     Cardiovascular Disease and Steroid Hormone                     survival from the disease?. J Clin Oncol.
     Contraception. Contraception. 1998;57(5):315-24.               2008;26(20):3310-6. PMID: 18612147.
     PMID: 9673838.
                                                                    Barsoum MK, Heit JA, Ashrani AA, et al. Is
     Anonymous. Effect of different progestagens in low             progestin an independent risk factor for incident
     oestrogen oral contraceptives on venous                        venous thromboembolism? A population-based case-
     thromboembolic disease. World Health Organization              control study. Thromb Res. 2010;126(5):373-8.
     Collaborative Study of Cardiovascular Disease and              PMID: 20833412.
     Steroid Hormone Contraception. Lancet.
                                                                    Beard CM, Hartmann LC, Atkinson EJ, et al. The
     1995;346(8990):1582-8. PMID: 7500749.
                                                                    epidemiology of ovarian cancer: a population-based
     Anonymous. Haemorrhagic stroke, overall stroke                 study in Olmsted County, Minnesota, 1935-1991.
     risk, and combined oral contraceptives: results of an          AnnEpidemiol. 2000;10(1):14-23. PMID: 10658685.
     international, multicentre, case-control study. WHO
                                                                    Beral V, Doll R, Hermon C, et al. Ovarian cancer and
     Collaborative Study of Cardiovascular Disease and
                                                                    oral contraceptives: collaborative reanalysis of data
     Steroid Hormone Contraception. Lancet.
                                                                    from 45 epidemiological studies including 23,257
     1996;348(9026):505-10. PMID: 8757152.
                                                                    women with ovarian cancer and 87,303 controls.
     Anonymous. Ischaemic stroke and combined oral                  Lancet. 2008;371(9609):303-14. PMID: 18294997.
     contraceptives: results of an international,
                                                                    Beral V, Hermon C, Kay C, et al. Mortality
     multicentre, case-control study. WHO Collaborative
                                                                    associated with oral contraceptive use: 25 year follow
     Study of Cardiovascular Disease and Steroid
                                                                    up of cohort of 46 000 women from Royal College of
     Hormone Contraception. Lancet.
                                                                    General Practitioners' oral contraception study. BMJ.
     1996;348(9026):498-505. PMlD: 8757151.
                                                                    1999;318(7176):96-100. PMID: 9880284.
     Anonymous. Venous thromboembolic disease and
                                                                    Bernholtz S, Laitman Y, Kaufman B, et al. Cancer
     combined oral contraceptives: results of international
                                                                    risk in Jewish BRCAl and BRCA2 mutation carriers:
     multicentre case-control study. World Health



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Exhibit 163                                                                                                         JA-0003141
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     Effects of oral contraceptive use and parental origin          Chiaffarino F, Pelucchi C, Parazzini F, et al.
     of mutation. Breast Cancer Research and Treatment.             Reproductive and hormonal factors and ovarian
     2011;129(2):557-563. PMID: 2011504819.                         cancer. Ann Oncol. 2001;12(3):337-41. PMID:
                                                                    11332145.
     Bloemenkamp KW, Rosendaal FR, Buller HR, et al.
     Risk of venous thrombosis with use of current low-             Colditz GA Oral contraceptive use and mortality
     dose oral contraceptives is not explained by                   during 12 years of follow-up: the Nurses' Health
     diagnostic suspicion and referral bias. Arch Intern            Study. Ann Intern Med. 1994;120(10):821-6. PMID:
     Med. 1999;159(1):65-70. PMID: 9892332.                         8154642.
     Bloemenkamp KW, Rosendaal FR, Helmerhorst FM,                  Conard J, Flu-Bureau G, Bahi N, et al. Progestogen-
     et al. Enhancement by factor V Leiden mutation of              only contraception in women at high risk of venous
     risk of deep-vein thrombosis associated with oral              thromboembolism. Contraception. 2004;70(6):437-
     contraceptives containing a third-generation                   41. PMID: 15541404.
     progestagen. Lancet. 1995;346(8990): 1593-6. PMID:
                                                                    Dinger J, Assmann A, Mohner S, et al. Risk of
     7500751.
                                                                    venous thromboembolism and the use of dienogest-
     Bloemenkamp KW, Rosendaal FR, Helmerhorst FM,                  and drospirenone-containing oral contraceptives:
     et al. Higher risk of venous thrombosis during early           results from a German case-control study. J Fam
     use of oral contraceptives in women with inherited             Plann Reprod Health Care. 2010;36(3):123-9. PMID:
     clotting defects. Arch Intern Med. 2000;160(1):49-             20659364.
     52. PMID: 10632304.
                                                                    Dinger JC, Heinemann LA and Kuhl-Habich D. The
     Bosetti C, Negri E, Trichopoulos D, et al. Long-term           safety of a drospirenone-containing oral
     effects of oral contraceptives on ovarian cancer risk.         contraceptive: final results from the European Active
     Int J Cancer. 2002;102(3):262-5. PMID: 12397647.               Surveillance Study on oral contraceptives based on
                                                                    142,475 women-years of observation. Contraception.
     Boyce EA, Costaggini I, Vitonis A, et al. The
                                                                    2007;75(5):344-54. PMID: 17434015.
     epidemiology of ovarian granulosa cell tumors: a
     case-control study. Gynecol Oncol. 2009;115(2):221-            Dolle JM, Daling JR, White E, et al. Risk factors for
     5. PMID: 19664811.                                             triple-negative breast cancer in women under the age
                                                                    of 45 years. Cancer Epidemiol Biomarkers Prev.
     Braem MG, Onland-Moret NC, van den Brandt PA,
                                                                    2009;18(4):1157-66. PMID: 19336554.
     et al. Reproductive and hormonal factors in
     association with ovarian cancer in the Netherlands             Dorjgochoo T, Shu XO, Li HL, et al. Use of oral
     cohort study. Am J Epidemiol. 2010;172(10):1181-9.             contraceptives, intrauterine devices and tubal
     PMID: 20861144.                                                sterilization and cancer risk in a large prospective
                                                                    study, from 1996 to 2006. Int J Cancer.
     Brohet RM, Goldgar DE, Easton DF, et al. Oral
                                                                    2009;124(10):2442-9. PMID: 19170208.
     contraceptives and breast cancer risk in the
     international BRCAl/2 carrier cohort study: a report           Dossus L, Allen N, Kaaks R, et al. Reproductive risk
     from EMBRACE, GENEPSO, GEO-HEBON, and                          factors and endometrial cancer: the European
     the IBCCS Collaborating Group. J Clin Oncol.                   Prospective Investigation into Cancer and Nutrition.
     2007;25(25):3831-6. PMID: 17635951.                            Int J Cancer. 2010;127(2):442-51. PMID: 19924816.
     Campbell PT, Newcomb P, Gallinger S, et al.                    Dumeaux V, Alsaker E and Lund E. Breast cancer
     Exogenous hormones and colorectal cancer risk in               and specific types of oral contraceptives: a large
     Canada: associations stratified by clinically defined          Norwegian cohort study. Int J Cancer.
     familial risk of cancer. Cancer Causes Control.                2003;105(6):844-50. PMID: 12767072.
     2007;18(7):723-33. PMID: 17549595.
                                                                    Dumeaux V, Fournier A, Lund E, et al. Previous oral
     Chang CL, Donaghy M and Poulter N. Migraine and                contraceptive use and breast cancer risk according to
     stroke in young women: case-control study. The                 hormone replacement therapy use among
     World Health Organisation Collaborative Study of               postmenopausal women. Cancer Causes Control.
     Cardiovascular Disease and Steroid Hormone                     2005;16(5):537-44. PMID: 15986108.
     Contraception. BMJ. 1999;318(7175):13-8. PMID:
                                                                    Dunn N, Thorogood M, Faragher B, et al. Oral
     9872876.
                                                                    contraceptives and myocardial infarction: results of
     Chen Y, Wu PC, Lang JH, et al. Risk factors for                the MICA case-control study. BMJ.
     epithelial ovarian cancer in Beijing, China. Int J             1999;318(7198):1579-83. PMID: 10364115.
     Epidemiol. 1992;21(1):23-9. PMID: 1544753.


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Exhibit 163                                                                                                           JA-0003142
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     Dunn NR, Arscott A and Thorogood M. The                         Gallagher LG, Davis LB, Ray RM, et al.
     relationship between use of oral contraceptives and             Reproductive history and mortality from
     myocardial infarction in young women with fatal                 cardiovascular disease among women textile workers
     outcome, compared to those who survive: results                 in Shanghai, China. Int J Epidemiol.
     from the MICA case-control study. Contraception.                2011;40(6):1510-8. PMID: 22158661.
     2001;63(2):65-9. PMID: 11292469.
                                                                     Godard B, Foulkes WD, Provencher D, et al. Risk
     Dunn NR, Faragher B, Thorogood M, et al. Risk of                factors for familial and sporadic ovarian cancer
     myocardial infarction in young female smokers.                  among French Canadians: a case-control study. Am J
     Heart. 1999;82(5):581-3. PMID: 10525513.                        Obstet Gynecol. 1998;179(2):403-10. PMID:
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Exhibit 163                                                                                                           JA-0003143
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                                                                     Nyante SJ, Gammon MD, Malone KE, et al. The
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     contraceptives and the risk of breast cancer in                 lobular and ductal breast cancer in young women. Int
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                                                                     Parazzini F, Restelli C, La Vecchia C, et al. Risk
     and Tubal Ligation, and Risk of Ovarian Cancer. Ann
                                                                     factors for epithelial ovarian tumours of borderline
     Epidemiol. 2011;21(3):188-96. PMID: 21109450.
                                                                     malignancy. Int J Epidemiol. 1991;20(4):871-7.
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                                                                     Parkin L, Sharples K, Hernandez RK, et al. Risk of
     ovarian cancer. Epidemiology. 2000;11(2):111-7.
                                                                     venous thromboembolism in users of oral
     PMID: 11021606.
                                                                     contraceptives containing drospirenone or
     Ness RB, Grisso JA, Klapper J, et al. Risk of ovarian           levonorgestrel: nested case-control study based on
     cancer in relation to estrogen and progestin dose and           UK General Practice Research Database. BMJ.
     use characteristics of oral contraceptives. SHARE               2011;342:d2139. PMID: 21511804.
     Study Group. Steroid Hormones and Reproductions.
                                                                     Parslov M, Lidegaard 0, Klintorp S, et al. Risk
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                                                                     factors among young women with endometrial
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                                                                     cancer: a Danish case-control study. Am J Obstet
     Ness RB, Grisso JA, Vergona R, et al. Oral                      Gynecol. 2000;182(1 Pt 1):23-9. PMID: 10649152.
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                                                                     Petitti DB, Sidney S, Bernstein A, et al. Stroke in
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                                                                     Phillips LS, Millikan RC, Schroeder JC, et al.
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                                                                     Reproductive and hormonal risk factors for ductal
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                                                                     carcinoma in situ of the breast. Cancer Epidemiol
     PMID: 12918077.
                                                                     Biomarkers Prev. 2009;18(5):1507-14. PMID:
     Nichols HB, Trentham-Dietz A, Egan KM, et al. Oral              19423528.
     contraceptive use and risk of breast carcinoma in situ.
                                                                     Pike MC, Pearce CL, Peters R, et al. Hormonal
     Cancer Epidemiol Biomarkers Prev.
                                                                     factors and the risk of invasive ovarian cancer: a
     2007;16(11):2262-8. PMID: 18006914.
                                                                     population-based case-control study. Fertil Steril.
     Nichols HB, Trentham-Dietz A, Hampton JM, et al.                2004;82(1):186-95. PMID: 15237010.
     Oral contraceptive use, reproductive factors, and



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                                                                                                                           00803606
Exhibit 163                                                                                                           JA-0003148
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     Polychronopoulou A, Tzonou A, Hsieh CC, et al.                   study. Breast Cancer Res. 2006;8(1):Rl 1. PMID:
     Reproductive variables, tobacco, ethanol, coffee and             16507159.
     somatometry as risk factors for ovarian cancer. Int J
                                                                      Rosenblatt KA, Gao DL, Ray RM, et al.
     Cancer. 1993;55(3):402-7. PMID: 8375923.
                                                                      Contraceptive methods and induced abortions and
     Purdie DM, Siskind V, Bain CJ, et al. Reproduction-              their association with the risk of colon cancer in
     related risk factors for mucinous and nonmucinous                Shanghai, China. Eur J Cancer. 2004;40(4):590-3.
     epithelial ovarian cancer. Am J Epidemiol.                       PMID: 14962728.
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                                                                      Rosenblatt KA, Gao DL, Ray RM, et al. Oral
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     for invasive epithelial ovarian cancer by histologic             and site-specific cancers in Shanghai. Cancer Causes
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                                                                      Rosenblatt KA, Thomas DB and Noonan EA High-
     Riman T, Dickman PW, Nilsson S, et al. Risk factors              dose and low-dose combined oral contraceptives:
     for epithelial borderline ovarian tumors: results of a           protection against epithelial ovarian cancer and the
     Swedish case-control study. Gynecol Oncol.                       length of the protective effect. The WHO
     2001;83(3):575-85. PMID: 11733975.                               Collaborative Study ofNeoplasia and Steroid
                                                                      Contraceptives. Eur J Cancer. 1992;28A(ll):1872-6.
     Riman T, Dickman PW, Nilsson S, et al. Risk factors
                                                                      PMID: 1389530.
     for invasive epithelial ovarian cancer: results from a
     Swedish case-control study. Am J Epidemiol.                      Royar J, Becher Hand Chang-Claude J. Low-dose
     2002;156(4):363-73. PMID: 12181107.                              oral contraceptives: protective effect on ovarian
                                                                      cancer risk. Int J Cancer. 2001;95(6):370-4. PMID:
     Risch HA, Marrett LD and Howe GR. Parity,
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     contraception, infertility, and the risk of epithelial
     ovarian cancer. Am J Epidemiol. 1994;140(7):585-                 Salazar-Martinez E, Lazcano-Ponce EC, Gonzalez
     97. PMID: 7942759.                                               Lira-Lira G, et al. Reproductive factors of ovarian
                                                                      and endometrial cancer risk in a high fertility
     Risch HA, Marrett LD, Jain M, et al. Differences in
                                                                      population in Mexico. Cancer Res.
     risk factors for epithelial ovarian cancer by histologic
                                                                      1999;59(15):3658-62. PMID: 10446978.
     type. Results of a case-control study. Am J
     Epidemiol. 1996;144(4):363-72. PMID: 8712193.                    Samuelsson E and Hagg S. Incidence of venous
                                                                      thromboembolism in young Swedish women and
     Rosenberg L, Boggs DA, Wise LA, et al. Oral
                                                                      possibly preventable cases among combined oral
     contraceptive use and estrogen/progesterone
                                                                      contraceptive users. Acta Obstet Gynecol Scand.
     receptor-negative breast cancer among African
                                                                      2004;83(7):674-81. PMID: 15225194.
     American women. Cancer Epidemiol Biomarkers
     Prev. 2010;19(8):2073-9. PMID: 20647407.                         Sanderson M, Williams MA, Weiss NS, et al. Oral
                                                                      contraceptives and epithelial ovarian cancer. Does
     Rosenberg L, Palmer JR, Rao RS, et al. Low-dose
                                                                      dose matter?. J Reprod Med. 2000;45(9):720-6.
     oral contraceptive use and the risk of myocardial
                                                                      PMID: 11027080.
     infarction. Arch Intern Med. 2001;161(8):1065-70.
     PMID: 11322840.                                                  Santos C, Munoz N, Klug S, et al. HPV types and
                                                                      cofactors causing cervical cancer in Peru. Br J
     Rosenberg L, Palmer JR, Zauber AG, et al. A case-
                                                                      Cancer. 2001;85(7):966-71. PMID: 11592767.
     control study of oral contraceptive use and invasive
     epithelial ovarian cancer. Am J Epidemiol.                       Schildkraut JM, Calingaert B, Marchbanks PA, et al.
     1994;139(7):654-61. PMID: 8166126.                               Impact of progestin and estrogen potency in oral
                                                                      contraceptives on ovarian cancer risk. J Natl Cancer
     Rosenberg L, Zhang Y, Coogan PF, et al. A case-
                                                                      Inst. 2002;94(1):32-8. PMID: 11773280.
     control study of oral contraceptive use and incident
     breast cancer. Am J Epidemiol. 2009;169(4):473-9.                Schwartz SM, Petitti DB, Siscovick DS, et al. Stroke
     PMID: 19074777.                                                  and use of low-dose oral contraceptives in young
                                                                      women: a pooled analysis of two US studies. Stroke.
     Rosenberg LU, Magnusson C, Lindstrom E, et al.
                                                                      1998;29(11):2277-84. PMID: 9804634.
     Menopausal hormone therapy and other breast cancer
     risk factors in relation to the risk of different                Schwartz SM, Siscovick DS, Longstreth WT, Jr., et
     histological subtypes of breast cancer: a case-control           al. Use oflow-dose oral contraceptives and stroke in




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Exhibit 163                                                                                                           JA-0003149
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     young women. Ann Intern Med. 1997;127(8 Pt                       Siritho S, Thrift AG, McNeil JJ, et al. Risk of
     1):596-603. PMID: 9341057.                                       ischemic stroke among users of the oral contraceptive
                                                                      pill: The Melbourne Risk Factor Study (MERFS)
     Seeger JD, Loughlin J, Eng PM, et al. Risk of
                                                                      Group. Stroke. 2003;34(7):1575-80. PMID:
     thromboembolism in women taking
                                                                      12805499.
     ethinylestradiol/drospirenone and other oral
     contraceptives. Obstet Gynecol. 2007;110(3):587-93.              Siskind V, Green A, Bain C, et al. Beyond ovulation:
     PMID: 17766604.                                                  oral contraceptives and epithelial ovarian cancer.
                                                                      Epidemiology. 2000; 11(2): 106-10. PMID: 11021605.
     Setiawan VW, Pike MC, Kolonel LN, et al.
     Racial/etlmic differences in endometrial cancer risk:            Soegaard M, Jensen A, Hogdall E, et al. Different
     the multietlmic cohort study. Am J Epidemiol.                    risk factor profiles for mucinous and nonmucinous
     2007;165(3):262-70. PMID: 17090617.                              ovarian cancer: results from the Danish MALOYA
                                                                      study. Cancer Epidemiol Biomarkers Prev.
     Shantakumar S, Terry MB, Paykin A, et al. Age and
                                                                      2007;16(6): 1160-6. PMID: 17548679.
     menopausal effects of hormonal birth control and
     hormone replacement therapy in relation to breast                Spannagl M, Heinemann LA and Schramm W. Are
     cancer risk. Am J Epidemiol. 2007;165(10):1187-98.               factor V Leiden carriers who use oral contraceptives
     PMID: 17337757.                                                  at extreme risk for venous thromboembolism?. Eur J
                                                                      Contracept Reprod Health Care. 2000;5(2): 105-12.
     Shapiro S, Rosenberg L, Hoffman M, et al. Risk of
                                                                      PMID: 10943572.
     breast cancer in relation to the use of injectable
     progestogen contraceptives and combined                          Spitzer WO, Lewis MA, Heinemann LA, et al. Third
     estrogen/progestogen contraceptives. Am J                        generation oral contraceptives and risk of venous
     Epidemiol. 2000;151(4):396-403. PMID: 10695598.                  thromboembolic disorders: an international case-
                                                                      control study. Transnational Research Group on Oral
     Shapiro S, Rosenberg L, Hoffman M, et al. Risk of
                                                                      Contraceptives and the Health of Young Women.
     invasive cancer of the cervix in relation to the use of
                                                                      BMJ. 1996;312(7023):83-8. PMID: 8555935.
     injectable progestogen contraceptives and combined
     estrogen/progestogen oral contraceptives (South                  Steinberg KK, Smith SJ, Stroup DF, et al.
     Africa). Cancer Causes Control. 2003;14(5):485-95.               Comparison of effect estimates from a meta-analysis
     PMID: 12946044.                                                  of summary data from published studies and from a
                                                                      meta-analysis using individual patient data for
     Shields TS, Brinton LA, Burk RD, et al. A case-
                                                                      ovarian cancer studies. Am J Epidemiol.
     control study of risk factors for invasive cervical
                                                                      1997;145(10):917-25. PMID: 9149663.
     cancer among U.S. women exposed to oncogenic
     types of human papillomavims. Cancer Epidemiol                   Suissa S, Blais L, Spitzer WO, et al. First-time use of
     Biomarkers Prev. 2004;13(10):1574-82. PMID:                      newer oral contraceptives and the risk of venous
     15466972.                                                        thromboembolism. Contraception. 1997;56(3):141-6.
                                                                      PMID: 9347203.
     Sidney S, Petitti DB, Quesenberry CP, Jr., et al.
     Myocardial infarction in users of low-dose oral                  Suissa S, Spitzer WO, Rainville B, et al. Recurrent
     contraceptives. Obstet Gynecol. 1996;88(6):939-44.               use of newer oral contraceptives and the risk of
     PMID: 8942831.                                                   venous thromboembolism. Hum Reprod.
                                                                      2000;15(4):817-21. PMID: 10739826.
     Sidney S, Petitti DB, Soff GA, et al. Venous
     thromboembolic disease in users of low-estrogen                  Suter NM, Malone KE, Daling JR, et al. Androgen
     combined estrogen-progestin oral contraceptives.                 receptor (CAG)n and (GGC)n polymorphisms and
     Contraception. 2004;70(1):3-10. PMID: 15208046.                  breast cancer risk in a population-based case-control
                                                                      study of young women. Cancer Epidemiol
     Sidney S, Siscovick DS, Petitti DB, et al. Myocardial
                                                                      Biomarkers Prev. 2003;12(2):127-35. PMID:
     infarction and use oflow-dose oral contraceptives: a
                                                                      12582022.
     pooled analysis of 2 US studies. Circulation.
     1998;98(11):1058-63. PMID: 9736591.                              Sweeney C, Giuliano AR, Baumgartner KB, et al.
                                                                      Oral, injected and implanted contraceptives and
     Silvera SA, Miller AB and Rohan TE. Oral
                                                                      breast cancer risk among U.S. Hispanic and non-
     contraceptive use and risk of breast cancer among
                                                                      Hispanic white women. Int J Cancer.
     women with a family history of breast cancer: a
                                                                      2007;121(11):2517-23. PMID: 17657739.
     prospective cohort study. Cancer Causes Control.
     2005;16(9):1059-63. PMID: 16184471.                              Tanis BC, van den Bosch MA, Kemmeren JM, et al.
                                                                      Oral contraceptives and the risk of myocardial


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Exhibit 163                                                                                                            JA-0003150
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     infarction. N Engl J Med. 2001;345(25):1787-93.                 risk by histologic type: a multiethnic case-control
     PMID: 11752354.                                                 study. Am J Epidemiol. 2003;158(7):629-38. PMID:
                                                                     14507598.
     Tao MH, Xu WH, Zheng W, et al. Oral contraceptive
     and IUD use and endometrial cancer: a population-               Tung KH, Wilkens LR, Wu AH, et al. Effect of
     based case-control study in Shanghai, China. Int J              anovulation factors on pre- and postmenopausal
     Cancer. 2006;119(9):2142-7. PMID: 16823853.                     ovarian cancer risk: revisiting the incessant ovulation
                                                                     hypothesis. Am J Epidemiol. 2005;161(4):321-9.
     Tavani A, Bosetti C, Dal Maso L, et al. Influence of
                                                                     PMID: 15692075.
     selected hormonal and lifestyle factors on familial
     propensity to ovarian cancer. Gynecol Oncol.                    Tworoger SS, Fairfield KM, Colditz GA, et al.
     2004;92(3):922-6. PMID: 14984961.                               Association of oral contraceptive use, other
                                                                     contraceptive methods, and infertility with ovarian
     Tavani A, Negri E, Franceschi S, et al. Risk factors
                                                                     cancer risk. Am J Epidemiol. 2007;166(8):894-901.
     for epithelial ovarian cancer in women under age 45.
                                                                     PMID: 17656616.
     Eur J Cancer. 1993;29A(9):1297-301. PMID:
     8343272.                                                        Tzourio C, Tehindrazanarivelo A, Iglesias S, et al.
                                                                     Case-control study of migraine and risk of ischaemic
     Tavani A, Ricci E, La Vecchia C, et al. Influence of
                                                                     stroke in young women. BMJ. 1995;310(6983):830-
     menstrual and reproductive factors on ovarian cancer
                                                                     3. PMID: 7711619.
     risk in women with and without family history of
     breast or ovarian cancer. Int J Epidemiol.                      Urban M, Banks E, Egger S, et al. Injectable and oral
     2000;29(5):799-802. PMID: 11034959.                             contraceptive use and cancers of the breast, cervix,
                                                                     ovary, and endometrium in black South African
     Thomas DB. The WHO Collaborative Study of
                                                                     women: case-control study. PLoS Med.
     Neoplasia and Steroid Contraceptives: the influence
                                                                     2012;9(3):el001182. PMID: 22412354.
     of combined oral contraceptives on risk of neoplasms
     in developing and developed countries.                          Van Hoften C, Burger H, Peeters PH, et al. Long-
     Contraception. 1991;43(6):695-710. PMID: 1868738.               term oral contraceptive use increases breast cancer
                                                                     risk in women over 55 years of age: the DOM cohort.
     Todd J, Lawrenson R, Farmer RD, et al. Venous
                                                                     Int J Cancer. 2000;87(4):591-4. PMID: 10918202.
     thromboembolic disease and combined oral
     contraceptives: A re-analysis of the MediPlus                   VanHylckama Vlieg A, HelmerhorstFM,
     database. HumReprod. 1999;14(6):1500-5. PMID:                   Vandenbroucke JP, et al. The venous thrombotic risk
     10357966.                                                       of oral contraceptives, effects of oestrogen dose and
                                                                     progestogen type: Results of the MEGA case-control
     Trivers KF, Gammon MD, Abrahamson PE, et al.
                                                                     study. BMJ. 2009;339(7720):561.
     Oral contraceptives and survival in breast cancer
     patients aged 20 to 54 years. Cancer Epidemiol                  van Vlijmen EF, Brouwer JL, Veeger NJ, et al. Oral
     Biomarkers Prev. 2007;16(9): 1822-7. PMID:                      contraceptives and the absolute risk of venous
     17855700.                                                       thromboembolism in women with single or multiple
                                                                     thrombophilic defects: results from a retrospective
     Tryggvadottir L, Tulinius H, Eyfjord JE, et al. Breast
                                                                     family cohort study. Arch Intern Med.
     cancer risk factors and age at diagnosis: an Icelandic
                                                                     2007;167(3):282-9. PMID: 17296885.
     cohort study. Int J Cancer. 2002;98(4):604-8. PMID:
     11920622.                                                       van Vlijmen EF, Veeger NJ, Middeldorp S, et al.
                                                                     Thrombotic risk during oral contraceptive use and
     Tsilidis KK, Allen NE, Key TJ, et al. Oral
                                                                     pregnancy in women with factor V Leiden or
     contraceptive use and reproductive factors and risk of
                                                                     prothrombin mutation: a rational approach to
     ovarian cancer in the European Prospective
                                                                     contraception. Blood. 2011;118(8):2055-61; quiz
     Investigation into Cancer and Nutrition. Br J Cancer.
                                                                     2375. PMID: 21659542.
     2011;105(9):1436-42. PMID: 21915124.
                                                                     Vanakankovit N and Taneepanichskul S. Effect of
     Tsilidis KK, Allen NE, Key TJ, et al. Oral
                                                                     oral contraceptives on risk of cervical cancer. J Med
     contraceptives, reproductive history and risk of
                                                                     Assoc Thai. 2008;91(1):7-12. PMID: 18386537.
     colorectal cancer in the European Prospective
     Investigation into Cancer and Nutrition. Br J Cancer.           Vessey Mand Painter R. Oral contraceptive use and
     2010;103(11):1755-9. PMID: 21045829.                            cancer. Findings in a large cohort study, 1968-2004.
                                                                     Br J Cancer. 2006;95(3):385-9. PMID: 16819539.
     Tung KH, Goodman MT, Wu AH, et al.
     Reproductive factors and epithelial ovarian cancer



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Exhibit 163                                                                                                           JA-0003151
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     Vessey M, Painter R and Yeates D. Mortality in                   Wilailak S, Vipupinyo C, Suraseranivong V, et al.
     relation to oral contraceptive use and cigarette                 Depot medroxyprogesterone acetate and epithelial
     smoking. Lancet. 2003;362(9379):185-91. PMID:                    ovarian cancer: a multicentre case-control study.
     12885478.                                                        BJOG. 2012;119(6):672-7. PMID: 22489761.
     Vessey M, Yeates D and Flynn S. Factors affecting                Wingo PA, Austin H, Marchbanks PA, et al. Oral
     mortality in a large cohort study with special                   contraceptives and the risk of death from breast
     reference to oral contraceptive use. Contraception.              cancer. Obstet Gynecol. 2007;110(4):793-800.
     2010;82(3):221-9. PMID: 20705149.                                PMID: 17906011.
     Vessey MP and Painter R. Endometrial and ovarian                 Wittenberg J, Cook LS, Rossing MA, et al.
     cancer and oral contraceptives--findings in a large              Reproductive risk factors for mucinous and non-
     cohort study. Br J Cancer. 1995;71(6):1340-2. PMID:              mucinous epithelial ovarian cancer. Epidemiology.
     7779735.                                                         1999;10(6):761-3. PMID: 10535792.
     Walker GR, Schlesselman JJ and Ness RB. Family                   Wrensch M, Chew T, Farren G, et al. Risk factors for
     history of cancer, oral contraceptive use, and ovarian           breast cancer in a population with high incidence
     cancer risk. Am J Obstet Gynecol. 2002;186(1):8-14.              rates. Breast Cancer Res. 2003;5(4):R88-102. PMID:
     PMID: 11810077.                                                  12817999.
     Wang C, Li Y, Li H, et al. Increased risk of stroke in           Xu WH, Shu XO, Long J, et al. Relation of FGFR2
     oral contraceptive users carried replicated genetic              genetic polymoiphisms to the association between
     variants: a population-based case-control study in               oral contraceptive use and the risk of breast cancer in
     China. Hum Genet. 2012. PMID: 22476622.                          Chinese women. Am J Epidemiol. 2011;173(8):923-
                                                                      31. PMID: 21382839.
     Wernli KJ, Ray RM, Gao DL, et al. Menstrual and
     reproductive factors in relation to risk of endometrial          Yang HP, Trabert B, Murphy MA, et al. Ovarian
     cancer in Chinese women. Cancer Causes Control.                  cancer risk factors by histologic subtypes in the NIH-
     2006;17(7):949-55. PMID: 16841262.                               AARP diet and health study. International Journal of
                                                                      Cancer. 2012;131(4):938-948. PMID: 2012349954.
     Whittemore AS, Balise RR, Pharoah PD, et al. Oral
     contraceptive use and ovarian cancer risk among                  Yang L, Kuper H, Sandin S, et al. Reproductive
     carriers ofBRCAl orBRCA2 mutations. Br J                         history, oral contraceptive use, and the risk of
     Cancer. 2004;91(11):1911-5. PMID: 15545966.                      ischemic and hemorrhagic stoke in a cohort study of
                                                                      middle-aged Swedish women. Stroke.
     Whittemore AS, Harris R and Itnyre J.
                                                                      2009;40(4):1050-8. PMID: 19211494.
     Characteristics relating to ovarian cancer risk:
     collaborative analysis of 12 US case-control studies.
     II. Invasive epithelial ovarian cancers in white
     women. Collaborative Ovarian Cancer Group. Am J
     Epidemiol. 1992;136(10):1184-203. PMID: 1476141.




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Exhibit 163                                                                                                            JA-0003152
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     Study Groupings
     Table C-1. Primary articles and companion articles grouped by study name (alphabetical)

                      Study Name                     Primary Abstracted Article        Companion Articles*

                                                    Gross, 1992'
       Cancer and Steroid Hormone (CASH)            Gwinn, 1990L
       Study
                                                    Maxwell, 2006"
                                                                       4
                                                    Schildkraut, 2002
                                                    Harris, 1992°                 Steinberg, 1997°
       Collaborative Ovarian Cancer Group Study     Hartqe, 1994'u                                 7
                                                                                  Whittemore, 1992
                                                                                                   8
                                                    Horn-Ross, 1992               Whittemore, 1992 *
                                                                                                   9
                                                    John, 1993 'L                 Whittemore, 1992 *
                                                    Dossus, 2010'"
       European Prospective Investigation Into                     14
                                                    Tsilidis, 2010
       Cancer and Nutrition
                                                    Tsilidis, 2011 '~
                                                                    10
                                                    Moreno, 2002
       International Agency for Research on
                                                    Hammouda, 2005·11
       Cancer (IARC) Multicentric Case-Control
       Study
                                                                      10
                                                    Antoniou, 2009
       International BRCA1/2 Carrier Cohort
                                                    Brohet, 2007 ~
       Study
                                                    Bloemenkamp, 1995Lu
       Leiden Thrombophilia Study
                                                    Bloemenkamp, 2000L'
                                                    Huusom, 2006 LL
       Malignant Ovarian (MALOVA) Cancer                           23
                                                    Soegaard, 2007
       Study
                                                                 4
                                                    Dunn, 1999"
       Myocardial Infarction Causality (MICA)       Dunn, 1999L~
       Study
                                                    Dunn, 2001 Lo
                                                                  1
                                                    Kumle, 2004"
       Norwegian-Swedish Women's Lifestyle and
                                                    Kumle, 2004L 0
       Health Cohort Study
                                                    Hankinson, 1995L~             Colditz, 1994°u
       Nurses' Health Study
                                                    Grodstein, 1996°'
                                                    Tworoqer, 2007""
                                                                0
                                                    Mant, 1998°
       Oxford Family Planning Association                         4
                                                    Vessey, 1995°
       (Oxford-FPA) Contraceptive Study                           0
                                                    Vessey, 2006"
                                                    Vessev, 2010°u                Vessev, 2003°'
                                                                      0
                                                    Kemmeren, 2002°
       Risk of Arterial Thrombosis in Relation to
       Oral Contraceptives (RATIO) Study            Tanis, 2001°~
                                                    Hannaford, 1998 4 u
       Royal College of General Practitioners'      Hannaford, 2007 4 .1                             4
                                                                                  Hannaford, 2005        "
       Oral Contraceptive Study                                      40                        44
                                                    Hannaford, 2010               Bera I, 1999
                                                                 40
                                                    Fowke, 2004
       Shanghai Breast Cancer Study                          40
                                                    Xu, 2011
                                                                     4
                                                    Rosenblatt, 2004 '
       Shanghai Textile Workers Study                                40
                                                    Rosenblatt, 2009              Wernli, 2006 4 ~
                                                    Gallaqher, 2011 ou




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                                                                                                               00803611
Exhibit 163                                                                                                  JA-0003153
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                       Study Name                          Primary Abstracted Article             Companion Articles*

                                                          Greer, 2005°'
       Study of Health and Reproduction (SHARE)
                                                          Greer, 2005°"
                                                          Modugno, 2001 ~0                   Ness, 2000~~
                                                                                                        55
                                                                                             Ness, 2000
                                                                                                        56
                                                                                             Ness, 2001
                                                          Ness, 2000JJ                       Ness, 2000J~
                                                                                                        56
                                                                                             Ness, 2001
                                                                                                           53
                                                                                             Modugno, 2001
                                                                                                         0
                                                          Ness, 2001 ob                      Ness, 2000°
                                                                                                           53
                                                                                             Modugno, 2001
                                                                                                        54
                                                                                             Ness, 2000
                                                                          1
                                                         Walker, 2002°
                                                         Heinemann, 1997~0                   Heinemann, 1998~~
       Transnational Study on Oral                                                                        60
                                                                                             Spitzer, 1993 *
       Contraceptives and the Health of Young
                                                          Heinemann, 1999°'
       Women                                                                                               0
                                                          Lewis, 1999°L                      Lewis, 1996°
                                                                                                         64
                                                                                             Lewis, 1996
                                                                                                         65
                                                                                             Lewis, 1997
                                                                                                         66
                                                                                             Lewis, 1999
                                                                                                            0
                                                          Suissa, 199T                       Spitzer, 1996°
                                                          Suissa, 2000°~
                                                          Figueiredo, 2008 1 u
       Women's Environment, Cancer, and                                    1
                                                          Figueiredo, 2010 '
       Radiation Epidemiology (WECARE) Study
                                                          Folqer, 2007 L
       Women's Contraceptive and Reproductive                       10
                                                          Ma, 2010
       Experiences (CARE) Study                                             14                                   10
                                                          Marchbanks, 2002                   Marchbanks, 2002 *
                                                                         1
                                                          Norman, 2003 b
                                                          Marchbanks, 2012"                  Marchbanks, 2002'~
                                                                   10
                                                          Lu, 2011
                                                          (Presents data from both
                                                          CARE and the California
                                                          Teachers Study [CTS],
                                                          analyzed separately)
                                                          Lee, 2008 1 ~
       Women's Learning the Influence of Family           Ma, 2006°u
       and Environment (LIFE) Study
                                                          Anonymous, 1995°'                  Anonymous, 1995°L*
       World Health Organization Collaborative                               0
                                                          Anonymous, 1995°
       Study of Cardiovascular Disease and
                                                          Anonymous, 1996M
       Steroid Hormone Contraception
                                                          Anonymous, 1996°~
                                                                             0
                                                          Anonymous, 1997°
                                                          Anonymous, 1998~ 1
                                                                       0
                                                          Chanq, 1999°
                                                          Rosenblatt, 1992°~
      World Health Organization Collaborative             Thomas, 1991 ~u
      Study of Neoplasia and Steroid
      Contraceptives
                                                              ..
     *Compamon articles marked with an astensk did not mdividually meet cntena for mclusion but were considered for
     supplemental information (e.g., methods data pertinent to an included study).




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                                                                                                                        00803612
Exhibit 163                                                                                                           JA-0003154
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     Table C-2. Primary articles and companion articles grouped by author (study name not applicable)


                             Author                             Primary Abstracted Article              Companion Articles*

       Althuis, 2003                                         Althuis, 2003~-,                       Brinton, 1995~"*
                                                             Althuis, 2003~ 0
       Badawv, 1992                                          Badawv, 1992~4                         Badawv, 1992~0 *
       Chiaffarino, 2001                                     Chiaffarino, 2001 ~b
                                                             Tavani, 2004~'
       Jick, 2000                                            Jick, 2000~ 0                          Jick, 1995~~
                                                             Farmer, 2000·,uu
       Le Gal, 2010                                          Le Gal, 2010'u'                        Rodaer, 2008 ,uL*
       Legnani, 2002                                         Legnani, 2002 1u0
                                                             Legnani, 2004'u 4
       Lidegaard, 2012                                       Lidegaard, 2012'UJ                     Lidegaard,     2002·,ub
                                                                                                                         107
                                                                                                    Lideaaard,     1998
                                                             Lideaaard, 2011 ,vu                    Lideaaard,     2009 ,u~
                                                             Lidegaard, 2002' ,u                    Lidegaard,     1998' ' '
                                                             Lidegaard, 1998''"                     Lidegaard,     1999' '.,
                                                                                                                         114
                                                                                                    Lidegaard,     1995
                                                                                                                         107
                                                                                                    Lidegaard,     1998
                                                                                   1 10                                  1 10
       Newcomer, 2003                                        Newcomer, 2003                         Newcomb,       1994 *
                                                                               111
       Parazzini, 1991                                       Parazzini, 1991
                                                             Parazzini, 2000' ' 0
                                                             Tavani, 2000 1 1~
       Riman, 2001                                           Riman, 2001 '"u
                                                             Riman, 2002 L
       Risch, 1996                                           Risch, 1996 ,a                         Risch, 1994 ,Lo
                                                                                                               124
                                                                                                    Risch, 1994 *
       Sanderson, 2000                                       Sanderson, 2000 ILO
                                                             Wittenberg, 1999'"b
       Siskind, 2000                                         Naale, 2008 >LI
                                                             Siskind, 2000'L 0                      Purdie, 2001 '~   0




       Tryggvad6ttir, 2002                                   Tryggvad6ttir, 2002 '.,u               Tryggvad6ttir, 2001 '.,'*
       Tung, 2003                                            Lurie, 2007' L0
                                                                                                    Goodman, 2005' 00
                                                                                                                     34
                                                                                                    Goodman, 200i
                                                                           0
                                                             Lurie, 2008 '     J


                                                             Tung, 2003 ' 00
                                                             Tung, 2005 1., 1
      van Vliimen, 2007                                      van Vliimen, 200?°'.,~                 Brouwer, 2006-,.,~*
      Wang,2012                                              Wana, 2012 ,~u                         Li, 2006'~'
                                                             Li, 2010 14L
     *Companion articles marked with an asterisk did not individually meet criteria for inclusion but were considered for
     supplemental information (e.g., methods data pertinent to an included study).



     References for Study Groupings

                                                                                      ovarian cancer. J Clin Epidemiol.
     1.       Gross TP, Schlesselman JJ, Stadel BV, et al.
                                                                                      1990;43(6):559-68. PMlD: 2348208.
              The risk of epithelial ovarian cancer in short-
              term users of oral contraceptives. Am J                      3.         Maxwell GL, Schildkraut JM, Calingaert B, et
              Epidemiol. 1992;136(1):46-53. PMID:                                     al. Progestin and estrogen potency of
              1415131.                                                                combination oral contraceptives and
                                                                                      endometrial cancer risk. Gynecol Oncol.
     2.       Gwinn ML, Lee NC, Rhodes PH, et al.
                                                                                      2006;103(2):535-40. PMID: 16740300.
              Pregnancy, breast feeding, and oral
              contraceptives and the risk of epithelial



                                                                  C-15




                                                                                                                                  00803613
Exhibit 163                                                                                                                     JA-0003155
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     4.       Schildkraut JM, Calingaert B, Marchbanks                  12.   John EM, Whittemore AS, Harris R, et al.
              PA, et al. Impact of progestin and estrogen                     Characteristics relating to ovarian cancer risk:
              potency in oral contraceptives on ovarian                       collaborative analysis of seven U.S. case-
              cancer risk. J Natl Cancer Inst. 2002;94(1):32-                 control studies. Epithelial ovarian cancer in
              8. PMID: 11773280.                                              black women. Collaborative Ovarian Cancer
                                                                              Group. J Natl Cancer Inst. 1993;85(2):142-7.
     5.       Harris R, Whittemore AS, Itnyre J.
                                                                              PMID: 8418303.
              Characteristics relating to ovarian cancer risk:
              collaborative analysis of 12 US case-control              13.   Dossus L, Allen N, Kaaks R, et al.
              studies. III. Epithelial tumors of low malignant                Reproductive risk factors and endometrial
              potential in white women. Collaborative                         cancer: the European Prospective Investigation
              Ovarian Cancer Group. Am J Epidemiol.                           into Cancer and Nutrition. Int J Cancer.
              1992;136(10):1204-11. PMID: 1476142.                            2010;127(2):442-51. PMID: 19924816.
     6.       Steinberg KK, Smith SJ, Stroup DF, et al.                 14.   Tsilidis KK, Allen NE, Key TJ, et al. Oral
              Comparison of effect estimates from a meta-                     contraceptives, reproductive history and risk of
              analysis of summary data from published                         colorectal cancer in the European Prospective
              studies and from a meta-analysis using                          Investigation into Cancer and Nutrition. Br J
              individual patient data for ovarian cancer                      Cancer. 2010;103(11):1755-9. PMID:
              studies. Am J Epidemiol. 1997;145(10):917-                      21045829.
              25. PMID: 9149663.
                                                                        15.   Tsilidis KK, Allen NE, Key TJ, et al. Oral
     7.       Whittemore AS, Harris R, Itnyre J.                              contraceptive use and reproductive factors and
              Characteristics relating to ovarian cancer risk:                risk of ovarian cancer in the European
              collaborative analysis of 12 US case-control                    Prospective Investigation into Cancer and
              studies. II. Invasive epithelial ovarian cancers                Nutrition. Br J Cancer. 2011;105(9):1436-42.
              in white women. Collaborative Ovarian                           PMID: 21915124.
              Cancer Group. Am J Epidemiol.
                                                                        16.   Moreno V, Bosch FX, Munoz N, et al. Effect
              1992;136(10):1184-203. PMID: 1476141.
                                                                              of oral contraceptives on risk of cervical
     8.       Whittemore AS, Harris R, Itnyre J.                              cancer in women with human papillomavims
              Characteristics relating to ovarian cancer risk:                infection: the IARC multicentric case-control
              collaborative analysis of 12 US case-control                    study. Lancet. 2002;359(9312): 1085-92.
              studies. IV. The pathogenesis of epithelial                     PMID: 11943255.
              ovarian cancer. Collaborative Ovarian Cancer
                                                                        17.   Hammouda D, Munoz N, Herrero R, et al.
              Group. AmJEpidemiol. 1992;136(10):1212-
                                                                              Cervical carcinoma in Algiers, Algeria: human
              20. PMID: 1476143.
                                                                              papillomavims and lifestyle risk factors. Int J
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              Characteristics relating to ovarian cancer risk:
                                                                        18.   Antoniou AC, Rookus M, Andrieu N, et al.
              collaborative analysis of 12 US case-control
                                                                              Reproductive and hormonal factors, and
              studies. I. Methods. Collaborative Ovarian
                                                                              ovarian cancer risk for BRCAl and BRCA2
              Cancer Group. Am J Epidemiol.
                                                                              mutation carriers: results from the
              1992;136(10):1175-83. PMID: 1476140.
                                                                              International BRCAl/2 Carrier Cohort Study.
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              and risks of ovarian cancer in subgroups of                     2009;18(2):601-10. PMID: 19190154.
              white women in the United States. The
                                                                        19.   Brohet RM, Goldgar DE, Easton DF, et al.
              Collaborative Ovarian Cancer Group. Obstet
                                                                              Oral contraceptives and breast cancer risk in
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                                                                              the international BRCAl/2 carrier cohort
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                                                                        20.   Bloemenkamp KW, Rosendaal FR,
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                                                                              V Leiden mutation of risk of deep-vein
                                                                              thrombosis associated with oral contraceptives


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                                                                                                                           00803614
Exhibit 163                                                                                                              JA-0003156
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              containing a third-generation progestagen.                      and risk of epithelial ovarian cancer. Cancer.
              Lancet. 1995;346(8990):1593-6. PMID:                            1995;76(2):284-90. PMlD: 8625104.
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     21.      Bloemenkamp KW, Rosendaal FR,                                   mortality during 12 years of follow-up: the
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                                                                        31.   Grodstein F, Stampfer MJ, Goldhaber SZ, et
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                                                                              al. Prospective study of exogenous hormones
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                                                                              and risk of pulmonary embolism in women.
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                                                                        32.   Tworoger SS, Fairfield KM, Colditz GA, et al.
              with the risk of ovarian borderline tumors: a
                                                                              Association of oral contraceptive use, other
              Danish case-control study. Cancer Causes
                                                                              contraceptive methods, and infertility with
              Control. 2006;17(6):821-9. PMID: 16783610.
                                                                              ovarian cancer risk. Am J Epidemiol.
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              nonmucinous ovarian cancer: results from the
                                                                              myocardial infarction, angina and stroke in
              Danish MALOYA study. Cancer Epidemiol
                                                                              users of oral contraceptives: an updated
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                                                                              analysis of a cohort study. Br J Ob stet
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                                                                              Gynaecol. 1998;105(8):890-6. PMID:
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                                                                              ovarian cancer and oral contraceptives--
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                                                                              findings in a large cohort study. Br J Cancer.
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                                                                        35.   Vessey M, Painter R. Oral contraceptive use
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                                                                              1968-2004. Br J Cancer. 2006;95(3):385-9.
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                                                                        36.   Vessey M, Yeates D, Flynn S. Factors
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                                                                              affecting mortality in a large cohort study with
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                                                                              special reference to oral contraceptive use.
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                                                                              Contraception. 2010;82(3):221-9. PMID:
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                                                                              20705149.
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                                                                        37.   Vessey M, Painter R, Yeates D. Mortality in
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                                                                              relation to oral contraceptive use and cigarette
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                                                                              smoking. Lancet. 2003;362(9379):185-91.
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                                                                              PMID: 12885478.
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                                                                              contraceptives and the risk of ischemic stroke.
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                                                                                                                            00803615
Exhibit 163                                                                                                             JA-0003157
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              evidence from the RCGP's oral contraceptive                    endometrial cancer in Chinese women. Cancer
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                                                                       53.   Modugno F, Ness RB, Wheeler JE.
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                                                                             Reproductive risk factors for epithelial ovarian
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              20223876.
                                                                             invasiveness. Ann Epidemiol. 2001; 11 (8): 568-
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                                                                       54.   Ness RB, Grisso JA, Cottreau C, et al. Factors
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                                                                             related to inflammation of the ovarian
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                                                                             epithelium and risk of ovarian cancer.
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                                                                             Epidemiology. 2000;11(2):111-7. PMID:
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                                                                             11021606.
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                                                                       55.   Ness RB, Grisso JA, Klapper J, et al. Risk of
              contraceptive use and breast cancer risk:
                                                                             ovarian cancer in relation to estrogen and
              modification by NAD(P)H:quinone
                                                                             progestin dose and use characteristics of oral
              oxoreductase (NQO 1) genetic polymorphisms.
                                                                             contraceptives. SHARE Study Group. Steroid
              Cancer Epidemiol Biomarkers Prev.
                                                                             Hormones and Reproductions. Am J
              2004;13(8):1308-15. PMID: 15298951.
                                                                             Epidemiol. 2000;152(3):233-41. PMID:
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              FGFR2 genetic polymorphisms to the
                                                                       56.   Ness RB, Grisso JA, Vergona R, et al. Oral
              association between oral contraceptive use and
                                                                             contraceptives, other methods of
              the risk of breast cancer in Chinese women.
                                                                             contraception, and risk reduction for ovarian
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                                                                             cancer. Epidemiology. 2001;12(3):307-12.
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                                                                             PMID: 11337604.
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                                                                       57.   Walker GR, Schlesselman JJ, Ness RB.
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                                                                             Family history of cancer, oral contraceptive
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                                                                             use, and ovarian cancer risk. Am J Obstet
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                                                                             Gynecol. 2002;186(1):8-14. PMID: 11810077.
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                                                                       58.   Heinemann LA, Lewis MA, Thorogood M, et
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                                                                             al. Case-control study of oral contraceptives
              contraceptives and the risk of all cancers
                                                                             and risk ofthromboembolic stroke: results
              combined and site-specific cancers in
                                                                             from International Study on Oral
              Shanghai. Cancer Causes Control.
                                                                             Contraceptives and Health of Young Women.
              2009;20(1):27-34. PMID: 18704712.
                                                                             BMJ. 1997;315(7121):1502-4. PMID:
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              and reproductive factors in relation to risk of



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Exhibit 163                                                                                                           JA-0003158
        Case 2:17-cv-04540-WB Document 210-4 Filed 06/14/19 Page 81 of 184




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                                                                         68.   Spitzer WO, Lewis MA, Heinemann LA, et al.
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                                                                               Third generation oral contraceptives and risk
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                                                                               of venous thromboembolic disorders: an
              Young Women. Contraception. 1998;57(1):29-
                                                                               international case-control study. Transnational
              37. PMID: 9554248.
                                                                               Research Group on Oral Contraceptives and
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                                                                         69.   Suissa S, Spitzer WO, Rainville B, et al.
              Pharmacoepidemiology and drug safety.
                                                                               Recurrent use of newer oral contraceptives and
              1993;2:21-31. PMID:
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     61.      Heinemann LA, Assmann A, DoMinh T, et al.                        Reprod. 2000;15(4):817-21. PMID: 10739826.
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                                                                         70.   Figueiredo JC, Bernstein L, Capanu M, et al.
              cardiovascular risk: results from the
                                                                               Oral contraceptives, postmenopausal
              Transnational Study on Oral Contraceptives
                                                                               hormones, and risk of asynchronous bilateral
              and the Health of Young Women. Eur J
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              Contracept Reprod Health Care. 1999;4(2):67-
                                                                               ClinOncol. 2008;26(9):1411-8. PMID:
              73. PMID: 10427481.
                                                                               18250348.
     62.      Lewis MA The Transnational Study on Oral
                                                                         71.   Figueiredo JC, Haile RW, Bernstein L, et al.
              Contraceptives and the Health of Young
                                                                               Oral contraceptives and postmenopausal
              Women. Methods, results, new analyses and
                                                                               hormones and risk of contralateral breast
              the healthy user effect. Hum Reprod Update.
                                                                               cancer among BRCAl and BRCA2 mutation
              1999;5(6):707-20. PMID: 10652980.
                                                                               carriers and noncarriers: the WECARE Study.
     63.      Lewis MA, Heinemann LA, MacRae KD, et                            Breast Cancer Res Treat. 2010;120(1):175-83.
              al. The increased risk of venous                                 PMID: 19597986.
              thromboembolism and the use of third
                                                                         72.   Folger SG, Marchbanks PA, McDonald JA, et
              generation progestagens: role of bias in
                                                                               al. Risk of breast cancer associated with short-
              observational research. The Transnational
                                                                               term use of oral contraceptives. Cancer Causes
              Research Group on Oral Contraceptives and
                                                                               Control. 2007;18(2):189-98. PMID: 17216547.
              the Health of Young Women. Contraception.
              1996;54(1):5-13. PMID: 8804801.                            73.   Ma H, Wang Y, Sullivan-Halley J, et al. Use
                                                                               of four biomarkers to evaluate the risk of
     64.      Lewis MA, Spitzer WO, Heinemann LA, et al.
                                                                               breast cancer subtypes in the women's
              Third generation oral contraceptives and risk
                                                                               contraceptive and reproductive experiences
              of myocardial infarction: an international case-
                                                                               study. Cancer Res. 2010;70(2):575-87. PMID:
              control study. Transnational Research Group
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              Young Women. BMJ. 1996;312(7023):88-90.                    74.   Marchbanks PA, McDonald JA, Wilson HG,
              PMID: 8555936.                                                   et al. Oral contraceptives and the risk of breast
                                                                               cancer. N Engl J Med. 2002;346(26):2025-32.
     65.      Lewis MA, Heinemann LA, Spitzer WO, et al.
                                                                               PMID: 12087137.
              The use of oral contraceptives and the
              occurrence of acute myocardial infarction in               75.   Marchbanks PA, McDonald JA, Wilson HG,
              young women. Results from the Transnational                      et al. The NICHD Women's Contraceptive and
              Study on Oral Contraceptives and the Health                      Reproductive Experiences Study: methods and
              of Young Women. Contraception.                                   operational results. Ann Epidemiol.
              1997;56(3):129-40. PMID: 9347202.                                2002;12(4):213-21. PMID: 11988408.
     66.      Lewis MA, MacRae KD, Kuhl-Habichl D, et                    76.   Norman SA, Berlin JA, Weber AL, et al.
              al. The differential risk of oral contraceptives:                Combined effect of oral contraceptive use and
              the impact of full exposure history. Hum                         hormone replacement therapy on breast cancer
              Reprod. 1999;14(6):1493-9. PMID: 10359554.                       risk in postmenopausal women. Cancer Causes
                                                                               Control. 2003;14(10):933-43. PMID:
     67.      Suissa S, Blais L, Spitzer WO, et al. First-time
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              al. Oral contraceptive formulation and risk of                   control study. WHO Collaborative Study of
              breast cancer. Contraception. 2012;85(4):342-                    Cardiovascular Disease and Steroid Hormone
              350. PMID: 2012157299.                                           Contraception. Lancet. 1996;348(9026):505-
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     78.      Lu Y, Ma H, Malone KE, et al. Oral
              contraceptive use and survival in women with               86.   Anonymous. Acute myocardial infarction and
              invasive breast cancer. Cancer Epidemiol                         combined oral contraceptives: results of an
              BiomarkersPrev. 2011;20(7):1391-7. PMID:                         international multicentre case-control study.
              21551244.                                                        WHO Collaborative Study of Cardiovascular
                                                                               Disease and Steroid Hormone Contraception.
     79.      Lee E, Ma H, McKean-Cowdin R, et al. Effect
                                                                               Lancet. 1997;349(9060):1202-9. PMID:
              of reproductive factors and oral contraceptives
                                                                               9130941.
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              carriers and noncarriers: results from a                   87.   Anonymous. Cardiovascular disease and use
              population-based study. Cancer Epidemiol                         of oral and injectable progestogen-only
              Biomarkers Prev. 2008;17(11):3170-8. PMID:                       contraceptives and combined injectable
              18990759.                                                        contraceptives. Results of an international,
                                                                               multicenter, case-control study. World Health
     80.      Ma H, Bernstein L, Ross RK, et al. Hormone-
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              related risk factors for breast cancer in women
                                                                               Cardiovascular Disease and Steroid Hormone
              under age 50 years by estrogen and
                                                                               Contraception. Contraception. 1998;57(5):315-
              progesterone receptor status: Results from a
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              case-control and a case-case comparison.
              Breast Cancer Research. 2006;8(4). PMID:                   88.   Chang CL, Donaghy M, Poulter N. Migraine
                                                                               and stroke in young women: case-control
     81.      Anonymous. Venous thromboembolic disease
                                                                               study. The World Health Organisation
              and combined oral contraceptives: results of
                                                                               Collaborative Study of Cardiovascular Disease
              international multicentre case-control study.
                                                                               and Steroid Hormone Contraception. BMJ.
              World Health Organization Collaborative
                                                                               1999;318(7175):13-8. PMID: 9872876.
              Study of Cardiovascular Disease and Steroid
              Hormone Contraception. Lancet.                             89.   Rosenblatt KA, Thomas DB, Noonan EA
              1995;346(8990):1575-82. PMlD: 7500748.                           High-dose and low-dose combined oral
                                                                               contraceptives: protection against epithelial
     82.      Anonymous. A multinational case-control
                                                                               ovarian cancer and the length of the protective
              study of cardiovascular disease and steroid
                                                                               effect. The WHO Collaborative Study of
              hormone contraceptives. Description and
                                                                               Neoplasia and Steroid Contraceptives. Eur J
              validation of methods. World Health
                                                                               Cancer. 1992;28A(ll):1872-6. PMID:
              Organization Collaborative Study of
                                                                               1389530.
              Cardiovascular and Steroid Hormone
              Contraception. J Clin Epidemiol.                           90.   Thomas DB. The WHO Collaborative Study
              1995;48(12):1513-47. PMID: 8543965.                              ofNeoplasia and Steroid Contraceptives: the
                                                                               influence of combined oral contraceptives on
     83.      Anonymous. Effect of different progestagens
                                                                               risk of neoplasms in developing and developed
              in low oestrogen oral contraceptives on venous
                                                                               countries. Contraception. 1991;43(6):695-710.
              thromboembolic disease. World Health
                                                                               PMID: 1868738.
              Organization Collaborative Study of
              Cardiovascular Disease and Steroid Hormone                 91.   Althuis MD, Brogan DR, Coates RJ, et al.
              Contraception. Lancet. 1995;346(8990):1582-                      Hormonal content and potency of oral
              8. PMID: 7500749.                                                contraceptives and breast cancer risk among
                                                                               young women. Br J Cancer. 2003;88(1):50-7.
     84.      Anonymous. Ischaemic stroke and combined
                                                                               PMID: 12556959.
              oral contraceptives: results of an international,
              multicentre, case-control study. WHO                       92.   Brinton LA, Daling JR, Liff JM, et al. Oral
              Collaborative Study of Cardiovascular Disease                    contraceptives and breast cancer risk among
              and Steroid Hormone Contraception. Lancet.                       younger women. J Natl Cancer Inst.
              1996;348(9026):498-505. PMID: 8757151.                           1995;87(11):827-35. PMID: 7791232.
     85.      Anonymous. Haemorrhagic stroke, overall                    93.   Althuis MD, Brogan DD, Coates RJ, et al.
              stroke risk, and combined oral contraceptives:                   Breast cancers among very young


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              premenopausal women (United States). Cancer             103. Legnani C, Palareti G, Guazzaloca G, et al.
              Causes Control. 2003;14(2):151-60. PMID:                     Venous thromboembolism in young women;
              12749720.                                                    role ofthrombophilic mutations and oral
                                                                           contraceptive use. Eur Heart J.
     94.      Badawy YA, Bayourni DM. An epiderniologic
                                                                           2002;23(12):984-90. PMID: 12069454.
              study of ovarian cancer. Part 11: Oral
              contraceptive use and menstrual events. J               104. Legnani C, Cini M, Cosrni B, et al. Risk of
              Egypt Public Health Assoc. 1992;67(5-6):579-                 deep vein thrombosis: interaction between oral
              91. PMID: 1294683.                                           contraceptives and high factor VIII levels.
                                                                           Haematologica. 2004;89(11):1347-51. PMID:
     95.      Badawy YA, Bayourni DM. An epiderniologic
                                                                           15531457.
              study of ovarian cancer. Part 1: Reproductive
              and social factors. J Egypt Public Health               105. Lidegaard 0, Lokkegaard E, Jensen A, et al.
              Assoc. 1992;67(3-4):465-77. PMID: 1296973.                   Thrombotic stroke and myocardial infarction
                                                                           with hormonal contraception. N Engl J Med.
     96.      Chiaffarino F, Pelucchi C, Parazzini F, et al.
                                                                           2012;366(24):2257-66. PMlD: 22693997.
              Reproductive and hormonal factors and
              ovarian cancer. Ann Oncol. 2001;12(3):337-              106. Lidegaard 0, Kreiner S. Contraceptives and
              41. PMID: 11332145.                                          cerebral thrombosis: a five-year national case-
                                                                           control study. Contraception. 2002;65(3):197-
     97.      Tavani A, Bosetti C, Dal Maso L, et al.
                                                                           205. PMID: 11929641.
              Influence of selected hormonal and lifestyle
              factors on familial propensity to ovarian               107. Lidegaard 0, Kreiner S. Cerebral thrombosis
              cancer. Gynecol Oncol. 2004;92(3):922-6.                     and oral contraceptives. A case-control study.
              PMID: 14984961.                                              Contraception. 1998;57(5):303-14. PMID:
                                                                           9673837.
     98.      Jick H, Kaye JA, Vasilakis-Scaramozza C, et
              al. Risk of venous thromboembolism among                108. Lidegaard 0, Nielsen LH, Skovlund CW, et al.
              users of third generation oral contraceptives                Risk of venous thromboembolism from use of
              compared with users of oral contraceptives                   oral contraceptives containing different
              with levonorgestrel before and after 1995:                   progestogens and oestrogen doses: Danish
              cohort and case-control analysis. BMJ.                       cohort study, 2001-9. BMJ. 2011;343:d6423.
              2000;321(7270):1190-5. PMID: 11073511.                       PMID: 22027398.
     99.      Jick H, Jick SS, Gurewich V, et al. Risk of             109. Lidegaard 0, Lokkegaard E, Svendsen AL, et
              idiopathic cardiovascular death and nonfatal                 al. Hormonal contraception and risk of venous
              venous thromboembolism in women using oral                   thromboembolism: national follow-up study.
              contraceptives with differing progestagen                    BMJ. 2009;339:b2890. PMID: 19679613.
              components. Lancet. 1995;346(8990): 1589-93.
                                                                      110. Lidegaard 0, Edstrom B, Kreiner S. Oral
              PMID: 7500750.
                                                                           contraceptives and venous thromboembolism:
     100. Farmer RD, Lawrenson RA, Todd JC, et al. A                       a five-year national case-control study.
          comparison of the risks of venous                                Contraception. 2002;65(3):187-96. PMID:
          thromboembolic disease in association with                       11929640.
          different combined oral contraceptives. Br J
                                                                      111. Lidegaard 0, Edstrom B, Kreiner S. Oral
          Clin Pharmacol. 2000;49(6):580-90. PMID:
                                                                           contraceptives and venous thromboembolism.
          10848722.
                                                                           A case-control study. Contraception.
     101. Le Gal G, Kovacs MJ, Carrier M, et al. Risk of                   1998;57(5):291-301. PMID: 9673836.
          recurrent venous thromboembolism after a
                                                                      112. Lidegaard 0. Thrombotic diseases in young
          first oestrogen-associated episode. Data from
                                                                           women and the influence of oral
          the REVERSE cohort study. Thromb
                                                                           contraceptives. Am J Obstet Gynecol.
          Haemost. 2010;104(3):498-503. PMID:
                                                                           1998;179(3 Pt 2):S62-7. PMID: 9753312.
          20539910.
                                                                      113. Lidegaard 0. Smoking and use of oral
     102. Rodger MA, Kahn SR, Wells PS, et al.
                                                                           contraceptives: impact on thrombotic diseases.
          Identifying unprovoked thromboembolism
                                                                           Am J Obstet Gynecol. 1999;180(6 Pt 2):S357-
          patients at low risk for recurrence who can
                                                                           63. PMID: 10368521.
          discontinue anticoagulant therapy. CMAJ.
          2008;179(5):417-26. PMID: 18725614.



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Exhibit 163                                                                                                         JA-0003161
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     114.     Lidegaard 0. Oral contraceptives, pregnancy                       Ontario (Canada). Cancer Causes Control.
              and the risk of cerebral thromboembolism: the                     1994;5(6):540-8. PMID: 7827241.
              influence of diabetes, hypertension, migraine
                                                                         125.   Sanderson M, Williams MA, Weiss NS, et al.
              and previous thrombotic disease. Br J Obstet
                                                                                Oral contraceptives and epithelial ovarian
              Gynaecol. 1995;102(2):153-9. PMID:
                                                                                cancer. Does dose matter? J Reprod Med.
              7756208.
                                                                                2000;45(9):720-6. PMID: 11027080.
     115.     Newcomer LM, Newcomb PA, Trentham-
                                                                         126.   Wittenberg J, Cook LS, Rossing MA, et al.
              Dietz A, et al. Oral contraceptive use and risk
                                                                                Reproductive risk factors for mucinous and
              of breast cancer by histologic type. Int J
                                                                                non-mucinous epithelial ovarian cancer.
              Cancer. 2003;106(6):961-4. PMID: 12918077.
                                                                                Epidemiology. 1999;10(6):761-3. PMID:
     116.     Newcomb PA, Storer BE, Longnecker MP, et                          10535792.
              al. Lactation and a reduced risk of
                                                                         127.   Nagle CM, Bain CJ, Green AC, et al. The
              premenopausal breast cancer. N Engl J Med.
                                                                                influence of reproductive and hormonal factors
              1994;330(2):81-7. PMID: 8259187.
                                                                                on ovarian cancer survival. Int J Gynecol
     117.     Parazzini F, La Vecchia C, Negri E, et al. Oral                   Cancer. 2008;18(3):407-13. PMID: 17645507.
              contraceptive use and the risk of ovarian
                                                                         128.   Siskind V, Green A, Bain C, et al. Beyond
              cancer: an Italian case-control study. Eur J
                                                                                ovulation: oral contraceptives and epithelial
              Cancer. 1991;27(5):594-8. PMID: 1828969.
                                                                                ovarian cancer. Epidemiology.
     118.     Parazzini F, Chatenoud L, Chiantera V, et al.                     2000;11(2):106-10. PMlD: 11021605.
              Population attributable risk for ovarian cancer.
                                                                         129.   Purdie DM, Siskind V, Bain CJ, et al.
              Eur J Cancer. 2000;36(4):520-4. PMID:
                                                                                Reproduction-related risk factors for mucinous
              10717530.
                                                                                and nonmucinous epithelial ovarian cancer.
     119.     Tavani A, Ricci E, La Vecchia C, et al.                           Am J Epidemiol. 2001;153(9):860-4. PMID:
              Influence of menstrual and reproductive                           11323316.
              factors on ovarian cancer risk in women with
                                                                         130.   Tryggvadottir L, Tulinius H, Eyfjord JE, et al.
              and without family history of breast or ovarian
                                                                                Breast cancer risk factors and age at diagnosis:
              cancer. Int J Epidemiol. 2000;29(5):799-802.
                                                                                an Icelandic cohort study. Int J Cancer.
              PMID: 11034959.
                                                                                2002;98(4):604-8. PMID: 11920622.
     120.     Riman T, Dickman PW, Nilsson S, et al. Risk
                                                                         131.   Tryggvadottir L, Tulinius H, Eyfjord JE, et al.
              factors for epithelial borderline ovarian
                                                                                Breastfeeding and reduced risk of breast
              tumors: results of a Swedish case-control
                                                                                cancer in an Icelandic cohort study. Am J
              study. Gynecol Oncol. 2001;83(3):575-85.
                                                                                Epidemiol. 2001;154(1):37-42. PMID:
              PMID: 11733975.
                                                                                11427403.
     121.     Riman T, Dickman PW, Nilsson S, et al. Risk
                                                                         132.   Lurie G, Thompson P, McDuffie KE, et al.
              factors for invasive epithelial ovarian cancer:
                                                                                Association of estrogen and progestin potency
              results from a Swedish case-control study. Am
                                                                                of oral contraceptives with ovarian carcinoma
              J Epidemiol. 2002;156(4):363-73. PMID:
                                                                                risk. Obstet Gynecol. 2007;109(3):597-607.
              12181107.
                                                                                PMID: 17329510.
     122.     Risch HA, Marrett LD, Jain M, et al.
                                                                         133.   Goodman MT, Ferrell R, McDuffie K, et al.
              Differences in risk factors for epithelial
                                                                                Calcitonin gene polymorphism CALCA-624
              ovarian cancer by histologic type. Results of a
                                                                                (T/C) and ovarian cancer. Environ Mol
              case-control study. Am J Epidemiol.
                                                                                Mutagen. 2005;46(1):53-8. PMID: 15880427.
              1996;144(4):363-72. PMID: 8712193.
                                                                         134.   Goodman MT, Wu AH, Tung KH, et al.
     123.     Risch HA, Marrett LD, Howe GR. Parity,
                                                                                Association of galactose-1-phosphate
              contraception, infertility, and the risk of
                                                                                uridyltransferase activity and N314D genotype
              epithelial ovarian cancer. Am J Epidemiol.
                                                                                with the risk of ovarian cancer. Am J
              1994;140(7):585-97. PMID: 7942759.
                                                                                Epidemiol. 2002;156(8):693-701. PMID:
     124.     Risch HA, Jain M, Marrett LD, et al. Dietary                      12370157.
              lactose intake, lactose intolerance, and the risk
                                                                         135.   Lurie G, Wilkens LR, Thompson PJ, et al.
              of epithelial ovarian cancer in southern
                                                                                Combined oral contraceptive use and epithelial



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              ovarian cancer risk: time-related effects.              139.   Brouwer JL, Veeger NJ, Kluin-Nelemans HC,
              Epidemiology. 2008;19(2):237-43. PMID:                         et al. The pathogenesis of venous
              18223481.                                                      thromboembolism: evidence for multiple
                                                                             interrelated causes. Ann Intern Med.
     136.     Tung KH, Goodman MT, Wu AH, et al.
                                                                             2006;145(11):807-15. PMID: 17146065.
              Reproductive factors and epithelial ovarian
              cancer risk by histologic type: a multiethnic           140.   Wang C, Li Y, Li H, et al. Increased risk of
              case-control study. Am J Epidemiol.                            stroke in oral contraceptive users carried
              2003;158(7):629-38. PMID: 14507598.                            replicated genetic variants: a population-based
                                                                             case-control study in China. Hum Genet. 2012.
     137.     Tung KH, Wilkens LR, Wu AH, et al. Effect
                                                                             PMID: 22476622.
              of anovulation factors on pre- and
              postmenopausal ovarian cancer risk: revisiting          141.   Li Y, Zhou L, Coulter D, et al. Prospective
              the incessant ovulation hypothesis. Am J                       cohort study of the association between use of
              Epidemiol. 2005;161(4):321-9. PMID:                            low-dose oral contraceptives and stroke in
              15692075.                                                      Chinese women. Pharmacoepidemiol Drug
                                                                             Saf. 2006;15(10):726-34. PMID: 16761299.
     138.     van Vlijmen EF, Brouwer JL, Veeger NJ, et al.
              Oral contraceptives and the absolute risk of            142.   Li Y, Chen F, Zhou L, et al. COC use,
              venous thromboembolism in women with                           ACE/AGT gene polymorphisms, and risk of
              single or multiple thrombophilic defects:                      stroke. Pharmacogenet Genomics.
              results from a retrospective family cohort                     2010;20(5):298-306. PMID: 20300047.
              study. Arch Intern Med. 2007;167(3):282-9.
              PMID: 17296885.




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Exhibit 163                                                                                                           JA-0003163
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                                Appendix D. Excluded Studies
         All studies listed below were reviewed in their full-text version and excluded for the reason
     shown in bold. Reasons for exclusion signify only the usefulness of the articles for this study and
     are not intended as criticisms of the articles.

                                                                       Dinger J, Assmann A and Moehner S. Oral
     Abstract only or full text                                        contraceptives and the risk ofVTE: Reanalysis of the
     unobtainable                                                      EURAS/LASS study. Pharmacoepidemiology and
                                                                       Drug Safety. 2011;20 SUPPL. 1:S74-S75.
     AlHilli MM, Dowdy SC, Weaver A, et al. Factors
     associated with synchronous ovarian and endometrial               Dinger J, Bardenheuer Kand Assmann A. Safety and
     cancer: A population-based case control study.                    effectiveness of oral contraceptives in obese women.
     Journal of Clinical Oncology. 2011;29(15):2011-06 ..              Pharmacoepidemiology and Drug Safety. 2011;20
                                                                       SUPPL. l:Sl5-Sl6.
     Anonymous. The safety and contraceptive efficacy of
     a 24-day low-dose oral contraceptive regimen                      Dinger J, Bardenheuer Kand Franke C. The risk of
     containing gestodene 60 microg and ethinylestradiol               VTE in users of a 24-day regimen of a combined oral
     15 microg. Eur J Contracept Reprod Health Care.                   contraceptive compared to conventional 21-day OC
     1999;4 Suppl 2(9-15. PMID: 14677620.                              regimens: Results from the INASOC study.
                                                                       Pharmacoepidemiology and Drug Safety. 2011;20
     Aung MT, Soe MY and Mya WW. Study on risk                         SUPPL. 1:Sl31.
     factors for cervical carcinoma at Central Womens
     Hospital, Yangon, Myanmar. BJOG: An International                 Dinger J, Moehner S and Do Minh T. Early use
     Journal of Obstetrics and Gynaecology. 2012;119                   effects on the risk of venous thromboembolism after
     SUPPL. 1:124.                                                     initiation of oral contraceptive use. Eur J Contracept
                                                                       Reprod Health Care. 2010;94(4 Suppl l):S3.
     Carney M, Goodman M, Lurie G, et al. NSAIDS do
     not prevent ovarian cancer. Gynecologic Oncology.                 Dinger J, Moehner Sand Do Minh T. The risk of
     2012;125 SUPPL. 1:S97.                                            venous thromboembolism in users of an
                                                                       etonogestrel/ethinylestradiol containing vaginal ring -
     Cea-Soriano L, Blenk T, M.-A AW, et al. Hormonal                  Interim results from the tasc study. Fertility and
     therapies and meningioma: A UK primary care study.                Sterility. 2011;96(3 SUPPL. l):S36.
     Pharmacoepidemiology and Drug Safety. 2011;20
     SUPPL. 1:S240-S241.                                               Driak D, Sehnal B, Hurt K, et al. Influence of
                                                                       combined oral contraception with progestin
     Coutinho Nunes F, Caetano C, Figueiredo Dias M, et                dominancy on uterine fibroid development. European
     al. Oral contraception and breast cancer. European                Journal of Contraception and Reproductive Health
     Journal of Contraception and Reproductive Health                  Care. 2012;17 SUPPL. 1:S96-S97.
     Care. 2012;17 SUPPL. 1:Sl37.
                                                                       Farhat GN, LaCroix A, Grady D, et al. Hot flashes,
     CramerDW, Titus-ErnstoffL and Vitonis AF.                         hormone therapy, and breast cancer risk: The
     Genital talc use and ovarian cancer: Influence of                 Women's Health Initiative Clinical Trials. Cancer
     histologic type and menopausal status on strength and             Prevention Research. 2010;3(12):2010-11.
     dose response of the association. Cancer Research.
     2011;71(8):2011-04.                                               Feldman L, Goldstein L, Ouyang B, et al. Oral
                                                                       contraceptive and hormone replacement therapy in
     Dentali F, Poli D, Scoditti U, et al. Clinical history of         women with cerebral aneurysms. Journal of
     patients with cerebral vein thrombosis: Results of a              Neurolnterventional Surgery. 2010;2 SUPPL. l:Al3-
     large multicenter international cohort study. Journal             Al4.
     of Thrombosis and Haemostasis. 2011 ;9 SUPPL.
     2:763.                                                            Gold EB, Crawford SL, Avis N, et al. Factors
                                                                       longitudinally related to age at menopause. American
     De Vries M, Agnihotram RV, Koushik A, et al. The                  Journal of Epidemiology. 2011;173 SUPPL. ll:Sl52.
     role of environmental cofactors in the progression of
     cervical precancerous lesions. American Journal of                Haque R, Inzhakova G, Shi JM, et al. The new
     Epidemiology. 2011;173 SUPPL. ll:Sl69.                            generation of combined hormone contraceptives and




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Exhibit 163                                                                                                         JA-0003165
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Exhibit 163                                                                                                            JA-0003166
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Exhibit 163                                                                                                           JA-0003167
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Exhibit 163                                                                                                            JA-0003168
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Exhibit 163                                                                                                           JA-0003169
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Exhibit 163                                                                                                            JA-0003174
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Exhibit 163                                                                                                           JA-0003175
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Exhibit 163                                                                                                            JA-0003176
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Exhibit 163                                                                                                           JA-0003177
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Exhibit 163                                                                                                          JA-0003178
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Exhibit 163                                                                                                          JA-0003179
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Exhibit 163                                                                                                            JA-0003180
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Exhibit 163                                                                                                          JA-0003183
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Exhibit 163                                                                                                           JA-0003184
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Exhibit 163                                                                                                           JA-0003185
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Exhibit 163                                                                                                               JA-0003186
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Exhibit 163                                                                                                              JA-0003187
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Exhibit 163                                                                                                          JA-0003190
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Exhibit 163                                                                                                          JA-0003191
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Exhibit 163                                                                                                         JA-0003193
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Exhibit 163                                                                                                          JA-0003197
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Exhibit 163                                                                                                              JA-0003198
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Exhibit 163                                                                                                           JA-0003200
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Exhibit 163                                                                                                            JA-0003201
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                                                                      Reproductive factors and colorectal cancer risk



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Exhibit 163                                                                                                            JA-0003202
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Exhibit 163                                                                                                           JA-0003203
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Exhibit 163                                                                                                          JA-0003204
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Exhibit 163                                                                                                           JA-0003205
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Exhibit 163                                                                                                             JA-0003206
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Exhibit 163                                                                                                             JA-0003207
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Exhibit 163                                                                                                             JA-0003208
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Exhibit 163                                                                                                            JA-0003209
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Exhibit 163                                                                                                           JA-0003210
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Exhibit 163                                                                                                          JA-0003211
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Exhibit 163                                                                                                        JA-0003212
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Exhibit 163                                                                                                          JA-0003213
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Exhibit 163                                                                                                           JA-0003214
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Exhibit 163                                                                                                           JA-0003215
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Exhibit 163                                                                                                          JA-0003216
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Exhibit 163                                                                                                           JA-0003217
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Exhibit 163                                                                                                             JA-0003218
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Exhibit 163                                                                                                            JA-0003219
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Exhibit 163                                                                                                            JA-0003220
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Exhibit 163                                                                                                          JA-0003221
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Exhibit 163                                                                                                             JA-0003222
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Exhibit 163                                                                                                          JA-0003223
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Exhibit 163                                                                                                            JA-0003227
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Exhibit 163                                                                                                            JA-0003228
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Exhibit 163                                                                                                            JA-0003229
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Exhibit 163                                                                                                          JA-0003230
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Exhibit 163                                                                                                              JA-0003231
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Exhibit 163                                                                                                          JA-0003232
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Exhibit 163                                                                                                            JA-0003233
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Exhibit 163                                                                                                           JA-0003234
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Exhibit 163                                                                                                           JA-0003235
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Exhibit 163                                                                                                           JA-0003236
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Exhibit 163                                                                                                          JA-0003237
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Exhibit 163                                                                                                            JA-0003238
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Exhibit 163                                                                                                           JA-0003239
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Exhibit 163                                                                                                         JA-0003240
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Exhibit 163                                                                                                         JA-0003241
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Exhibit 163                                                                                                         JA-0003242
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Exhibit 163                                                                                                             JA-0003243
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Exhibit 163                                                                                                          JA-0003244
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Exhibit 163                                                                                                           JA-0003245
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     2011;103(10):826-34. PMID: 21447807.



     Nonrandomized study <100
     subjects
     Mok CC, Lau CS and Wong RW. Use of exogenous
     estrogens in systemic lupus erythematosus. Semin
     Arthritis Rheum. 2001;30(6):426-35. PMID:
     11404826.

     Tepper NK, Paulen ME, Marchbanks PA, et al.
     Safety of contraceptive use among women with
     peripartum cardiomyopathy: a systematic review.
     Contraception. 2010;82(1):95-101. PMID: 20682147.




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                                                                         00803704
Exhibit 163                                                            JA-0003246
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         Appendix E. Analyses of Potential Publication Bias
         We used Comprehensive Meta-Analysis Version 2 (Borenstein M, Hedges L, Higgins J,
     Rothstein H. Comprehensive Meta-analysis Version 2, Biostat, Englewood NJ [2005]) to test for
     potential publication bias for the outcomes described below. Figures E-1 to E-5 show the
     resulting funnel plot for each outcome. Note that there is no asymmetry in any of the plots.

     Ovarian Cancer Incidence

     Figure E-1. Funnel plot for ovarian cancer incidence



                                     Funnel Plot of Standard Error by Log odds ratio
                     0.0 - - - - - - - - - ~ - - - - - - - - - - - - - -




                                                                              0

                     0.2
                                                                                      ~

                                             0                          0


                                                    0                             0
               g     0.4
              w
              "Ecu
              "C
               C:
               cu
              in

                     0.6




                     0.8 ~ - - - - - - - 4 - - - - - + - - - - - + - - - - + 0 _ 0 _ - + - - - - - + - - - - + - - ~ - c - - - ~


                           -2.0     -1.5         -1.0         -0.5          0.0           0.5       1.0          1.5          2.0


                                                                     Log odds ratio




                                                                            E-1




                                                                                                                                      00803705
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     Breast Cancer Incidence
     Figure E-2. Funnel plot for breast cancer incidence


                                   Funnel Plot of Standard Error by Log odds ratio
                     0.0 - - - - - - - - - - - - - - - - - - - - - - - - ~




                     0.1

                                                                        0   0

                                                                            0
                                                                            0
               g     0.2
              w
              "Ecu
              "C                                                                      0
               C:
               cu                                0
              in

                     0.3                                                                  0




                     0.4     ~---+-----+--~--+--------+-'•-----+--~---+---+---~




                           -2.0   -1.5    -1.0       -0.5         0.0           0.5           1.0   1.5   2.0


                                                            Log odds ratio




                                                                 E-2




                                                                                                                  00803706
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     Cervical Cancer Incidence
     Figure E-3. Funnel plot for cervical cancer incidence


                                Funnel Plot of Standard Error by Log odds ratio
                     0.0 - - - - - - - - - - - - ~ - - - - - - - - - - ~



                                                             0

                     0.2                                 0


                                                                 0


                     0.4                                             0


               g                                                          0
              w
              "Ecu
              "C     0.6
               C:
               cu
              in


                     0.8




                     1.0   ~--~!---L------+-----<>+L------+------+----~




                           -3     -2          -1             0                    2   3


                                                    Log odds ratio




                                                         E-3




                                                                                            00803707
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     Colorectal Cancer Incidence

     Figure E-4. Funnel plot for colorectal cancer incidence


                                   Funnel Plot of Standard Error by Log odds ratio
                     0.0 ~ - - - - - - - - - - ~ - - - - - - - - - - - ~




                                                          0 O
                     0.1




                                                               0
               g     0.2
              w
              "Ecu
              "C
               C:
               cu
              in

                     0.3




                     0.4     ~--c----+----+---~~--+-----+-~----+------+---~




                           -2.0   -1.5    -1.0     -0.5         0.0        0.5   1.0   1.5   2.0


                                                          Log odds ratio




                                                               E-4




                                                                                                     00803708
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     Endometrial Cancer Incidence

     Figure E-5. Funnel plot for endometrial cancer incidence


                                    Funnel Plot of Standard Error by Log odds ratio
                     0.0 ~ - - - - - - - - ~ - - - - - - - - - - - - - - - ~




                                                         0
                     0.1



                                              0      0

               g     0.2
              w                                              0
              "Ecu
              "C
               C:
               cu
              in
                                          0
                     0.3
                                                                        0




                     0.4     ~---+-~---+----<>-+-----+----+----+---+-----+---~




                           -2.0    -1.5       -1.0   -0.5              0.0           0.5        1.0   1.5   2.0


                                                                 Log odds ratio




         We also computed Begg and Mazumdar' s correlation test for publication bias for each cancer
     incidence (Table E-1). None of the correlations were significant although breast cancer incidence
     was marginal.

     Table 1. Begg and Mazumdar's correlation test for publication bias

                           Cancer Incidence                                       Correlation               p-value
       Ovarian                                                                      -0.055                  0.6458
       Breast                                                                        0.289                  0.0539
       Cervical                                                                      0.278                  0.2972
       Colorectal                                                                    0.000                  1.0000
       Endometrial                                                                  -0.048                  0.8806


          Overall, there was no evidence of publication bias in the meta-analyses.




                                                                      E-5




                                                                                                                        00803709
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              Appendix F. Model Description and Parameters

     General Considerations
         We previously developed a simulation model for the natural history of ovarian cancer at the
     population level, which has provided insights into the potential effectiveness of screening as a
     strategy for reducing ovarian cancer morbidity and mortality, 1' 2 and many of the basic parameters
     and model structure used in that model are used here. However, the ovarian cancer screening
     model-while including such relevant parameters as age-specific oophorectomy rates, age-
     specific ovarian cancer incidence, stage-specific survival, between-stage transition rates derived
     from the observed incidence and survival data, and the potential effect of known risk factors such
     as BRCA mutation status-focuses primarily on ovarian cancer mortality. For the purposes of
     quantifying the potential tradeoffs of benefits and harms for primary prevention of ovarian
     cancer through the use of oral contraceptives (QCs), there were three additional major
     considerations for the model:

          1. The eight additional outcomes (breast, cervical, colorectal, endometrial cancers; and
             DVT, PE, MI, and stroke) needed to be included.

          2. Specific characteristics of QC use, including ages at first and last use and duration of use,
             may affect the association between QCs and any of the relevant outcomes; so the model
             needed to incorporate a mechanism for including as many aspects of QC use as possible.

          3. Many aspects of reproductive history-age at menarche, age at first pregnancy, numbers
             of pregnancies, breast feeding history, age at menarche, number of ovulatory cycles-are
             related to both QC use and the risk of ovarian cancer and many of the other outcomes of
             interest, either as confounders or effect modifiers. The balance of benefits and harms of
             QC use for primary prevention of ovarian cancer for specific women may well vary based
             on these other factors. Therefore, ultimately, a model that incorporates a mechanism for
             including relevant reproductive factors and their effect on ovarian cancer risk
             independent of QC use may prove quite useful (as well as have applications for other
             areas of reproductive health).


         We initially developed a model that starts at age 10 and runs through age 100, and which
     includes age-specific and race/ethnicity-specific probabilities of menarche (including
     postmenarchal anovulatory cycles), age at sexual debut, contraceptive method prevalence, age-
     specific fecundity, contraceptive method-specific effectiveness, pregnancy (including age-
     specific miscarriage rates and race/ethnicity-specific probabilities of delivery by gestational age),
     lactation, and hysterectomy and oophorectomy rates as well as incidence and mortality from the
     nine conditions of interest. Although the model generated estimates of incidence and mortality
     that were consistent with observed data, we ultimately opted to simplify the reproductive
     components of the model for the following reasons:




                                                      F-1




                                                                                                       00803710
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          •   The studies included in the meta-analyses almost always provided risk estimates for the
              association of QC use and outcomes, particularly for reproductive cancers that were
              adjusted for most, if not all, of the potentially relevant factors such as age at menarche
              and menopause. Without data on the separate parameter estimates (for example, the odds
              ratio for parity derived from a logistic regression model that also included QC use),
              modeling the joint effects was impossible.

          •   Even if these separate estimates were reported, there was wide disparity in how the
              parameters were described (categorical versus continuous, choice of categories, etc.),
              again making modeling difficult.

          •   The review of those studies which did assess joint effects of other reproductive factors
              did not detect significant differences.

          •   Although there are population-based data on the age- , race/ethnicity-, and parity-specific
              prevalence of the use of different contraceptive methods, as well as reasonable data on
              short-term method discontinuation rates, there are almost no data available for estimating
              the dynamics of contraceptive method switching. Because the only available data on
              duration of QC use did not provide data on patterns of intermittent use, we, like others,
              assumed that, once QC use began, women used it continuously for the specified duration
              (either assigned by the model or drawn from a distribution).

          •   Therefore,

              o   We needed to assume continuous use of QCs.

              o   The majority of the literature reviewed compared QC users with nonusers who used a
                  mix of other available contraceptive methods (including no methods).

              o   We found a paucity of data on the effect of contraceptive methods other than QCs and
                  tubal ligation on ovarian cancer, our primary outcome of interest.

              o   There were relatively small but noticeable effects of differential pregnancy rates
                  (resulting from different contraceptive effectiveness) on outcome rates in early
                  versions of the model, likely due to a competing risk effect; while further exploration
                  of the implications of this effect of model structural assumptions on model output is
                  definitely worthwhile, it was well outside the scope of work for this project.


        We elected to simplify the model to just three "reproductive" states-QC users, QC
     nonusers, and tubal ligation for the purposes of this report. We plan further work on integrating a
     more detailed reproductive history into the model in future versions.




                                                      F-2




                                                                                                         00803711
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     Model Structure
        The model is a semi-Markov state-transition model (Figure F-1); transition probabilities are
     conditioned on both the current state and time (i.e., age).


     Figure F-1. Model structure

                                                                                           Ovarian cancer

                                                                                            Breast Cancer

                                                                                            Cervical cancer
                                                                                                                 Cause-specific
                                                                                                                    death
                                                                                            Colorectal cancer

                                                                                            Endometrial Cancer
                                                                                                                 Survivor
                                                                                            Ml

                                                                                           DVT/PE

                                                                                            Stroke


                                                                                           Other cause death




               Transition probabilities modified by hysterectomy and oophorectomy status


         We have used Markov models extensively for analysis of clinical and policy decisions
     involving ovarian and cervical cancer, pregnancy, and other reproductive conditions, with
     transition probabilities modified by time (including age and time in state for cancer diagnoses)
     and current state. One limitation of the "standard" Markov model, particularly when run as a
     deterministic model, is the inability to readily modify transition probabilities based on past
     events (for example, number of prior pregnancies). Because the ability to modify the probability
     of the relevant outcomes based on past events is a critical requirement of the model, we used
     microsimulation, which allows further conditioning of transition probabilities on events prior to
     the current cycle.

     Software
         The model was built in TreeAge Pro 2012 (Williamstown, MA: TreeAge, Inc.). Our decision
     to use TreeAge was based on our familiarity with it; most of our previous models were built
     using this program, which facilitated incorporating major portions of the relevant models.
     Iterative model building and modification, tree structure, updating parameters, using
     distributions, and model debugging are all relatively easy, and, given its widespread use among
     decision analysts, sharing of the model for purposes ofreview or collaboration is also
     straightforward. The major disadvantage of TreeAge is the relatively high computing resource
     requirements for complex stochastic simulations-some of the longer, more complex simulation


                                                                     F-3




                                                                                                                    00803712
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     took more than 48 hours, even on a computer optimized for simulations. Given many of the
     uncertainties involved in this project, we prioritized flexibility in model building and revision
     over computational time. Ultimately, after a "final" structure has been identified, efficiency
     could be gained by recreating the model in a more efficient computing language.

     Simulation Method
          The model is run as a microsimulation of U.S. females, starting at a uniform age of 10 and
     drawing from the current U.S. racial/ethnic distribution (defined as non-Hispanic white, African-
     American, Hispanic, and other). By performing a microsimulation, we can use TreeAge' s
     "tracker variable" capacity to allow the model to have "memory" of past events (e.g., time since
     last use of QCs, or age at menarche) in order to modify appropriate transition probabilities.
     Microsimulation also facilitates techniques such as value-of-information analysis for identifying
     future research priorities.

     Cycle Length
        The model has cycles of 1 month duration, with all transition probabilities adjusted
     appropriately (e.g., annual cancer incidences are converted to monthly probabilities).

     Model States, Allowed Transitions, and Probabilities
          Through the descriptions below, we refer to sources for parameter estimates, such as age- and
     race-specific rates, race-specific distributions of age, etc. In general, wherever possible, these
     data were used to define specific conditional probabilities based on age, race, or other relevant
     factors. For example, we used data on age- and race-specific prevalence of ever use of QCs to
     generate estimates of the monthly probability of starting QCs, given no prior use for each age
     and racial/ethnic category.
          At the time of initial model building, the most recent available population data for many of
     our parameters at the time of initial model construction was from 2007. Unless otherwise noted,
     all values reflect estimates from that year. Subsequent versions of the model can be readily
     updated. When possible, we used point estimates and distributions defined by the data as
     described below.
          The main report describes methods and sources for estimates of the relative risk of outcomes
     conditional on QC exposure, as well as the methods used to estimate incidence in exposed and
     unexposed women based on relative risk, prevalence of exposure, and overall incidence.

     Demographic Variables
     Race/ethnicity. We used U.S. Census estimates of the 10- to 14-year-old female population in
     2007 (http://www.census.gov/popest/data/intercensal/nati onal/nat2010 .html), divided into 4
     mutually exclusive categories: non-Hispanic whites (56.9%), non-Hispanic blacks (14.9%),
     Hispanic (20.3%), and non-Hispanic other race (7.9%). Because the errors around these
     estimates are so small, we did not model these as distributions.
     General states: For the purpose of estimating the overall balance of benefits and harms, nine
     health states potentially affected by QC use are included, in addition to other-cause mortality.




                                                     F-4




                                                                                                         00803713
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     Other-cause mortality. During every cycle, individuals are at risk for age- and race-specific
     mortality for females. Once any of the potentially fatal states related to OCs become possible,
     other cause mortality is defined as age- and race-specific mortality for females minus cause-
     specific mortality for the five cancers, the four acute vascular events (DVT, PE, MI, and stroke),
     and pregnancy-related mortality.
          Age-specific and race/ethnicity-specific all-cause mortality for females for 2007 was
     obtained from death certificate data maintained by the National Center for Health Statistics,
     accessed through the CDC's WONDER Web portal. We then subtracted the number of deaths
     attributed to malignancies of the ovary (C56), breast (C50), cervix (ICD-10 code C53), colon and
     rectum (Cl8-20), and uterine corpus (C54-55) as well as deep venous thrombosi (182.8-182.9),
     pulmonary embolism (126), ischemic stroke (163), and acute myocardial infarction (121) from the
     total.
          The monthly age- and race-specific probability of other cause mortality was then estimated
     by dividing the annual number of deaths in a given age/race/ethnicity stratum by the total
     number of women in that stratum in the Census data; this annual rate was then converted to a
     monthly probability by using the following formula:

          Probability = 1 -   ttate*Time

         In order to facilitate simulations, we elected not to model these probabilities as a distribution
     for the purposes of the analyses presented here, but they could readily be transformed into beta
     distributions.
     Table F-1. Deaths from causes other than ovarian, breast, cervical, colorectal, or endometrial
     cancers, or deep venous thrombosis, pulmonary embolism, stroke, or acute myocardial infarction,
     by age and race/ethnicity, U.S. females, 2007

                                                             Race/Ethnicity
              Age Group
                                White                Black                 Hispanic           other
       5-9                               647                   235                     251              49
       10-14                             760                   291                     239              63
       15-19                            2404                   630                     485             163
       20-24                            2985                   926                     665             223
       25-29                            3315                  1216                     698             237
       30-34                            3744                  1415                     721             280
       35-39                            5845                  2154                     916             357
       40-44                            9954                  3111                    1175             548
       45-49                           16489                  4772                    1583             738
       50-54                           22347                  6047                    2003             885
       55-59                           29258                  6469                    2405            1198
       60-64                           39267                  6051                    2726            1376
       65-69                           48550                  6658                    3271            1649
       70-74                           66511                  7427                    4245            2076
       75-79                          102413                  7466                    5855            2764
       80-84                          149152                  6942                    7016            3460
       85-89                          174304                  4268                    6319            3184
       90-94                          137341                  2321                    4433            2294
       95-99                           61555                  1623                    2030             854



                                                      F-5




                                                                                                        00803714
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     Cancers: Ovarian, breast, cervical, colorectal, endometrial. For each cancer, the probability
     of transitioning from one of the noncancer states is the age- and race-specific incidence for
     women (based on national registry data), adjusted for reproductive history and use of OCs using
     adjusted odds ratios and/or hazard ratios obtained from the literature review. Key assumptions
     include:

          •   For all nongynecologic cancers, we assume cancer incidences are independent and non-
              mutually exclusive-for example, an endometrial cancer survivor will still be at risk for
              breast cancer at the appropriate age- and race-specific value. Other than BRCA carriers,
              we assume that development of one type of cancer implies an increased risk for certain
              other types.

          •   We include only invasive cancers, not in situ or preinvasive lesions.

          •   We assume that definitive therapies for ovarian, cervical, and endometrial cancer
              eliminate the possibility of developing another cancer of the female genital tract.

          •   Cancer incidences are not adjusted for screening behaviors-SEER incidence statistics,
              for example, represent the weighted average of cancer incidence and stage distribution
              among screened and unscreened populations. Although reproductive history, including
              contraceptive use, may affect screening behavior, we did not attempt to adjust for this.

          •   Cancer survival reflects the weighted age- and race-specific stage distribution-we do
              not separate cancers by stage at this level of the simulation. Although incorporating stage
              distribution in subsequent versions of the model may have value for comparing the
              potential effects of primary prevention of ovarian cancer with OCs to screening,
              modeling stage-specific outcomes would increase the complexity of the model without
              providing significant benefit in terms of the primary questions of interest.

          •   We do not separate specific cancers by histologic subtype ( e.g., epithelial versus germ
              cell tumors of the ovary, or squamous versus adenocarcinomas of the cervix).

          •   After cancer diagnosis, individuals are at risk for cancer-specific mortality for 5 years,
              then assumed to be cured, primarily because of variable data on longer term recurrence
              risk. This may underestimate lifetime mortality for some cancers, particularly breast
              cancer.

     Allowed transitions: Cancer-specific death, cancer survivor, other cancers, other cause mortality,
     menopause

         We obtained estimates of the age-specific (in 5-year age groups) incidence of ovarian, breast,
     cervical, colorectal, and endometrial cancers from two sources: (1) the Surveillance,
     Epidemiology, and End Results (SEER) database maintained by the National Cancer Institute
     (http://seer.cancer.gov/canques/index.html) and (2) the Centers for Disease Control and
     Prevention (CDC) National Program of Cancer Registries
     (http://wonder.cdc.gov/wonder/help/cancempcr-v2009.html). Cancer incidence was modeled in a
     similar fashion to other cause mortality, using the estimated number of cases. We converted
     incidence (a rate), to probabilities as described above, and assumed that the pooled odds ratios
     from the meta-analyses were reasonable estimates of the relative risk. For cancer, we used these


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                                                                                                         00803715
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     numbers and the Census population estimates to beta distributions (which are bounded between 0
     and 1) for probabilistic analyses.
     Table F-2. Number of ovarian cancers by age and race/ethnicity, United States, 2007

                                                           Race/Ethnicity
              Age Group
                              White             Black                  Hispanic            other
       10-14                             30                0                        21                0
       15-19                             62               27                        26                0
       20-24                            114               17                        38                0
       25-29                            131               26                        40                0
       30-34                            191               22                        41               26
       35-39                            369               44                        74               38
       40-44                            676               98                       132               50
       45-49                           1263              139                       156               82
       50-54                           1740              201                       172              107
       55-59                           1948              188                       200               81
       60-64                           2084              210                       140               81
       65-69                           1885              196                       135               51
       70-74                           1759              165                       110               53
       75-79                           1716              148                       107               31
       80-85                           1593              103                        74               27
       85+                             1521              108                        57               22


     Table F-3. Number of breast cancers by age and race/ethnicity, United States, 2007

                                                           Race/Ethnicity
              Age Group
                               White             Black                  Hispanic           other
       10-14                               0                0                         0               0
       15-19                               0                0                         0               0
       20-24                              83               38                        32               0
       25-29                             514              160                       125               0
       30-34                            1485              414                       364              46
       35-39                            4072              994                       760             171
       40-44                            9202             1843                      1393             336
       45-49                           15407             2659                      1788             714
       50-54                           17534             2965                      1741             998
       55-59                           19690             2913                      1576             973
       60-64                           20700             2536                      1484             854
       65-69                           19000             2250                      1285             688
       70-74                           16115             1776                       960             497
       75-79                           15172             1387                       764             355
       80-85                           12543             1072                       513             264
       85+                             10698              874                       360             156




                                                    F-7




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     Table F-4. Number of cervical cancers by age and race/ethnicity, United States, 2007

                                                           Race/Ethnicity
              Age Group
                              White             Black                  Hispanic               other
       10-14                             0                0                         0                    0
       15-19                             0               16                         0                    0
       20-24                            81               66                        26                    0
       25-29                           326              145                       103                    0
       30-34                           597              170                       197                   21
       35-39                           952              225                       295                   72
       40-44                           999              265                       294                   51
       45-49                          1013              218                       254                   73
       50-54                           843              198                       197                   68
       55-59                           739              161                       157                   72
       60-64                           600              135                       125                   62
       65-69                           478              112                        86                   26
       70-74                           349               94                        64                   23
       75-79                           301               63                        55                   19
       80-85                           252               60                        34                   21
       85+                             219                0                        24                    0


     Table F-5. Number of colorectal cancers by age and race/ethnicity, United States, 2007

                                                           Race/Ethnicity
              Age Group
                              White             Black                  Hispanic               other
       10-14                             0                 0                        0                    0
       15-19                            23                 0                        0                    0
       20-24                            49                 0                        0                    0
       25-29                           131                36                       26                    0
       30-34                           245                56                       51                   24
       35-39                           562               150                      120                   40
       40-44                          1213               312                      177                   67
       45-49                          2185               582                      276                  151
       50-54                          3498               943                      452                  261
       55-59                          4220               953                      437                  281
       60-64                          4901               888                      447                  254
       65-69                          5792               945                      475                  270
       70-74                          6504              1015                      429                  289
       75-79                          7935               950                      504                  286
       80-85                          8240               815                      411                  233
       85+                            9799               768                      351                  208




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     Table F-6. Number of endometrial cancers by age and race/ethnicity, United States, 2007

                                                          Race/Ethnicity
              Age Group
                              White             Black                 Hispanic             other
       10-14                             0                0                        0                  0
       15-19                             0                0                        0                  0
       20-24                             0                0                        0                  0
       25-29                            73               17                       55                  0
       30-34                           224               42                       92                 24
       35-39                           539               64                      151                 46
       40-44                          1010              129                      205                 96
       45-49                          2107              219                      211                149
       50-54                          3945              348                      311                250
       55-59                          5401              555                      399                236
       60-64                          5491              683                      382                197
       65-69                          4273              649                      294                135
       70-74                          3276              494                      212                 92
       75-79                          2762              352                      141                 75
       80-85                          2191              199                       98                 25
       85+                            1759              154                       57                  0


         We converted incidence ( a rate), to probabilities as described above, and assumed that the
     pooled odds ratios from the meta-analyses were reasonable estimates of the relative risk. We
     modeled the conditional probability of dying from each cancer for the first 5 years after
     diagnosis by using SEER relative survival data, stratified by age group and race. Survival data
     are stratified only as white versus black, without adjustment for ethnicity. We assumed that
     survival for Hispanics and non-Hispanic other races was identical to whites, and applied the
     estimates for blacks to non-Black Hispanics.
         We used the number of cases at the start of the followup period and the reported relative
     survival rates for each year shown in the tables to generate estimates of the number of patients
     alive and dead at the start of each interval. These numbers were then used to create beta
     distributions for the annual probability of death, which were subsequently converted to monthly
     probabilities.




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Exhibit 163                                                                                        JA-0003260
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     Table F-7. 5-year relative survival by age and race for ovarian cancer

       Race and Age                                  Percent Surviving at End of Interval
       White
                Aqe    Number at Start of Followup             1 year      2 years    3 years    4 years   5 years
                0-44                                    1106      93.90%    87.80%     83.30%     79.50%    74.40%
               45-45                                    1805      91.00%    80.80%     71.60%     65.00%    59.20%
               55-64                                    2197      86.10%    73.70%     61.70%     52.50%    46.10%
               65-74                                    1829      76.00%    60.90%     50.40%     41.70%    34.00%
                75+                                     2568       1.00%      1.20%      1.30%     1.40%     1.50%
       Black
                Age
                0-44                                     171      50.80%    38.70%     31.60%     25.60%    21.70%
               45-45                                     195      87.20%    77.70%     69.70%     66.30%    62.90%
               55-64                                     207      76.90%    62.80%     52.60%     44.70%    38.60%
               65-74                                     174      67.90%    55.70%     41.20%     38.20%    33.10%
                75+                                      169      40.80%    30.40%     22.20%     15.20%    14.40%



     Table F-8. 5-year relative survival by age and race for breast cancer

       Race and Age                                  Percent Surviving at End of Interval

       White
                Age    Number at Start of Followup             1 year      2 years    3 years    4 years   5 years
                0-44                                  11,155    99.00%      96.40%      94.10%    91.90%    89.60%
               45-45                                 21,053     99.00%      97.20%      95.20%    93.60%    92.20%
               55-64                                 21,814     98.30%      96.70%      95.00%    93.40%    91.90%
               65-74                                  16,933    98.10%      96.90%      95.10%    93.40%    92.20%
                75+                                   18,574      0.10%      0.20%       0.30%     0.30%     0.40%
       Black
                Aqe
                0-44                                   2090     96.40%      94.40%      92.90%    91.90%    90.50%
               45-45                                   2943     96.70%      90.00%      83.90%    79.70%    75.90%
               55-64                                   2476     96.60%      90.20%      85.10%    81.10%    77.90%
               65-74                                   1599     95.50%      91.00%      87.00%    82.60%    79.60%
                75+                                    1411     88.40%      83.80%      80.10%    74.50%    72.30%




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Exhibit 163                                                                                                   JA-0003261
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     Table F-9. 5-year relative survival by age and race for cervical cancer

       Race and Age                                    Percent Surviving at End of Interval

       White
                Aqe     Number at Start of Follow-up             1 year        2 years   3 years    4 years    5 years
                0-44                                    2,160     95.90%        90.00%     87.00%    85.60%      84.80%
               45-45                                    1,059     88.40%        79.10%     73.70%    70.10%      66.30%
               55-64                                      686     83.10%        71.40%     66.80%    63.90%      61.00%
               65-74                                      456     77.60%        69.50%     61.60%    57.80%      53.30%
                 75+                                      378         2.00%      2.30%      2.60%     2.70%       3.00%
       Black
                Age
                0-44                                      369     59.00%        45.50%     41.00%    36.00%      30.30%
               45-45                                      218     90.30%        79.70%     75.70%    74.10%      73.30%
               55-64                                      171     85.70%        75.90%     71.60%    65.30%      60.00%
               65-74                                      105     82.10%        71.00%     67.80%    62.50%      59.40%
                75+                                        94     60.00%        43.90%     42.00%    35.60%      28.70%



     Table F-10. 5-year relative survival by age and race for colorectal cancer

         Race and Age                                  Percent Surviving at End of Interval

       White
                 Aqe     Number at Start of Followup            1 year        2 years    3 years    4 years    5 years
                 0-44                                  1,384     93.10%        85.60%     79.30%     75.70%      72.50%
                45-45                                  3,150     92.70%        85.80%     80.90%     76.40%      73.70%
                55-64                                  4,574     90.00%        82.40%     77.30%     73.50%      70.40%
                65-74                                  6,334     85.40%        78.80%     74.30%     71.10%      68.90%
                  75+                              13,107          0.50%         0.60%      0.60%      0.70%      0.80%
       Black
                 Aqe
                 0-44                                   323      74.90%        68.50%     64.60%     62.70%      61.30%
                45-45                                   764      89.00%        76.20%     69.00%     63.80%      63.20%
                55-64                                   952      88.30%        79.90%     73.60%     68.60%      65.70%
                65-74                                   948      85.00%        74.90%     68.80%     65.10%      61.30%
                  75+                                  1246      67.10%        58.50%     52.60%     50.00%      46.80%




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Exhibit 163                                                                                                        JA-0003262
